	
         Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 1 of 174



                                        	UNITED	STATES	DISTRICT	COURT	
                                        EASTERN	DISTRICT	OF	LOUISIANA	
	
	
_________________________________________	                	   	
LASHAWN	JONES,	et	al.,	and		                        	     	   )	
THE	UNITED	STATES	OF	AMERICA,	                            	   )	
		            	            	     	       	          	     	   )					Civil	Action	No.	2:12-cv-00859	
                           PLAINTIFFS,													 	     	   )					Section	I,	Division	5	
																           	     	       			        	     	   )					Judge	Lance	M.	Africk	 			      													
                                 v.	     	          			   	   )						
													 	            	     	       			        	     	   )					Magistrate	Judge	Michael	B.	North	
MARLIN	GUSMAN,	Sheriff,	 	                          	     	   )		
	             	            	     	       	          	     	   )	
	             	            	     	       	          	     	   )	
																													DEFENDANT.	            	     	   )															
_________________________________________	                    )	           	    	
	
	
	
	
                               	Report	No.	9	of	the	Independent	Monitors	
                                             August	29,	2018	
	
	
	

    Margo	L.	Frasier,	J.D.,	C.P.O.,	Lead	
    Monitor	Robert	B.	Greifinger,	M.D.	
    Medical	Monitor	
    Patricia	L.	Hardyman,	Ph.D.,	Classification	Monitor	
    Susan	W.	McCampbell,	M.C.R.P.,	C.J.M.,	Administrative/Correctional	Practice	
    Monitor	Raymond	F.	Patterson,	M.D.,	D.F.A.P.A.,	Mental	Health	Monitor	
    Shane	J.	Poole,	M.S.,	C.JM.,	Environmental	Fire	Life	Safety	Monitor	
    Diane	Skipworth,	M.C.J.,	R.D.N.,	L.D.,	R.S.,	C.C.H.P.,	C.L.L.M.,	Food	Safety	Monitor	
	
    Email:	
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                                   Compliance	Report	#	9	–	August	29,	2018	
	
            Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 2 of 174




                                    Compliance	Report	#	9	
                          LASHAWN	JONES,	et	al.,	and	the	United	States	of	
                                          America	v.	
                                   Marlin	Gusman,	Sheriff	
	
                                         Table	of	Contents	
                                                                             Page	
     I.      Introduction
              A. Summary	of	Compliance                                           i	
              B. Critical	Issues	–	Opportunities	for	Progress                    viii	
              C. Review	Process	of	Monitors’	Compliance	Report	#9                xiii	
              D. Communication	with	Stakeholders                                 xiv	
              E. Recommendations                                                 xiv	
              F. Conclusions	and	Path	Forward                                    xiv	
     II.      Substantive	Provisions
              A. Protection	from	Harm                                             	1	
                  A.1. Use	of	Force	Policies	and	Procedures                       	6	
                  A.2. Use	of	Force	Training                                      	9	
                  A.3. Use	of	Force	Reporting                                   	11	
                  A.4. Early	Intervention	System                                	16	
                  A.5. Safety	and	Supervision                                   	18	
                  A.6. Security	Staffing                                        	24	
                  A.7. Incidents	and	Referrals                                  	29	
                  A.8. Investigations                                           	32	
                  A.9. Pretrial	Placement	in	Alternative	Settings               	35	
                  A.10. Custodial	Placement                                     	36	
                  A.11. Prisoner	Grievance	Process                               	63	
                  A.12. Sexual	Abuse                                            	67	
                  A.13. Access	to	Information                                   	70	
              B. Mental	Health	Care                                             	71	
              C. Medical	Care                                                   	90	
              D. Sanitation	and	Environmental	Conditions                        	97	
              E. Fire	and	Life	Safety                                         		128	
              F. Language	Assistance                                          		141	
              G. Youthful	Prisoners                                           		143	
              H. The	New	Jail	Facility                                        		145	
              I. Compliance	and	Quality	Improvement                           		146	
              J. Reporting	Requirements	and	Right	of	Access                   		148	
     III.     Status	of	Stipulated	Agreements	–	February	11,	2015	and
              April	22,	2015                                                  		150




	
	                                                                                        ii	
		                          Compliance	Report	#	9	–	August	29,	2018	
	
            Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 3 of 174




                                                                                                                         Page	
	
    Tables	
    Table	1	–	Summary	of	Compliance	–	All	Tours	 	          	             	            	            v	
    Table	2	–	Status	of	Compliance	–	Stipulated	Agreements	               	            	            v	
    Table	3	–	Summary	of	Incidents	January	–	June	2018																																													19	                                  		

    Figures	
    Figure	1	–	Rates	and	Completion	Time	of	Initial	Custody	
    Assessments	2017	to	May	2018																																																																																					47          		
    Figure	2	–	Total	and	Guilty	Inmate	Disciplinary	Infraction	
    January	2017	–	May	2018																																																																																																59    		
    Figure	3	–	Rate	of	Disciplinary	Infractions	June	2017	–	May	2018																					60                                      		
    Figure	4	–	Rate	of	Disciplinary	Infractions	Inmates	Found	Guilty	
    January	2017	–	May	2018																																																																																																61    		

 Appendices	
 Appendix	A	-		Summary	Compliance	Findings	by	Section	Compliance	
 Reports	1	–	9                                                                               161		
Appendix	B	–	Summary	of	New	Recommendations																																																		167                                 		




                                                                                                                                      iii	
	
                                       Compliance	Report	#	9	–	August	29,	2018	
	
	
	
         Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 4 of 174




    Introduction	
           This	is	the	ninth	report,	“Compliance	Report	#9”	submitted	by	the	Independent	
    Monitors	of	their	assessment	of	the	Orleans	Parish	Sheriff’s	Office’s	(OPSO)	compliance	
    with	the	Consent	Judgment	of	June	6,	2013.	Report	#	9	reflects	compliance	as	of	June	14,	
    2018;	reviewed	for	this	Report	are	incidents	and	compliance-related	activities	between	
    November	2017	and	July	2018.	
           This	report	is	prepared	during	the	time	OPSO’s	jail	is	under	the	leadership	of	
    Interim	Independent	Compliance	Director	Darnley	R.	Hodge,	Sr.,	who	was	appointed	by	
    the	Court	on	January	29,	2018,	and	who	began	work	on	February	19,	2018.	Interim	
    Director	Hodge	brings	substantial	knowledge	of	jail	operations	and	has	worked	to	gain	
    compliance	with	the	Consent	Judgment.	
           In	summary,	the	Monitors	find	that	safety,	medical	and	mental	health	care,	and	
    environment	conditions	of	inmates	held	in	both	the	Orleans	Justice	Center	(OJC)	and	the	
    Temporary	Detention	Center	(TDC)	has	improved,	marginally,	since	the	assessment	
    provided	to	the	Court	in	January	2018.			The	specific	initiatives	are	addressed	in	this	
    report.	




                             Compliance	Report	#	9	–	August	29,	2018	                           iv	
	
	
            Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 5 of 174




     A. Summary	of	Compliance	
              Achievement	of	compliance	with	Consent	Judgment,	Stipulated	Agreements,	
     and	Stipulated	Order	will	bring	the	Orleans	Parish	Sheriff’s	Office	(OPSO)	and	its	
     correctional	facilities	--	Orleans	Justice	Center	(OJC)	and	the	Temporary	Detention	
     Center	(TDC)	--	closer	to	operating	and	sustaining	a	Constitutional	jail	system.	

	
                  Table	1	–	Summary	of	Compliance	–	All	Compliance	Reports1	
	

             Compliance	     Substantial	  Partial	    Non-	    	         	
            Report/Date	     Compliance	 Compliance	 Compliance	 NA/Other	 Total	
         #1	–	December	2013	      0	         10	         85	        76	     171	
         #2	–	July	2014	          2	         22	        149	         1	     174	
         #3	–	January	2015	       2	         60	        110	         2	     174	
         #4	–	August	2015	       12	        114	         43	        4 2	    173	
         #5	–	February	2016	     10	         96	         63	         4	     173	
         #6	–	Sept	2016	         20	         98	         53	         2	     1733	
         #7	–	March	2017	        17	         99	         55	         2	     173	
         #8	–	November	2017	     23	        104	         44	         2	     173	
         #9	–	June	2018	        26	          99	         46	         2	     173	
	
     The	status	of	compliance	with	the	two	stipulated	agreements	(February	11,	2015	and	
     April	22,	2015)	is	as	follows:	
                       Table	2	–	Status	of	Compliance	with	2015	Stipulated	
                                            Agreements4	
	

     	                     Substantial	          Partial	                Non-	               NA	      Total	
                           Compliance	         Compliance	            Compliance	
         August	2015	          21	                 12	                    1	                  0	        34	
         February	2016	        21	                 12	                    1	                  1	        34	
         September	2016	       26	                  7	                    1	                  0	        34	
         March	2017	           28	                  4	                    1	                  1	        34	
         November	2017	        21	                 11	                    1	                  1	        34	
         June	2018	            23	                  8	                    2	                  1	        34	
	
	

1  See	Appendix	A	for	a	summary	of	historical	compliance	with	each	provision	of	the	Consent	Judgment.	
2  Section	IV.A.6.	of	the	Consent	Agreement	was	broken	out	into	separate	subparagraphs	for	the	purpose	of	
reporting.		This	increased,	therefore,	the	paragraphs	from	171	to	174.	
3 Paragraph	IV.A.6.	Security	Staffing	(a.)	is	in	non-compliance.	In	fairness	to	OPSO,	the	Monitors	evaluated	
the	sub-paragraphs	of	this	section	and	found	that	several	are	in	compliance,	partial	compliance	or	non-	
compliance.	These	findings,	however,	do	not	erase	OPSOs	non-compliance	in	the	critical	issue	of	lack	of	
staffing.	
4 See	page	150	for	details.	




                                                                                                           v	
                              Compliance	Report	#	9	–	August	29,	2018	
		
	
          Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 6 of 174




            For	OPSO	to	demonstrate,	obtain	and	sustain	compliance	with	the	requirements	
     of	the	Consent	Judgment	and	Stipulated	Agreements	(2015),	OPSO	must	develop	an	
     infrastructure	to	support	this	work	including	alignment	of	policies,	procedures,	
     practices.	The	requirements	of	the	Consent	Judgment	represent	accepted	correctional	
     practice,	while	providing	flexibility	to	OPSO	for	the	application	of	the	mandates.	
            Since	2013,	OPSO	has	achieved	compliance	or	partial	compliance	with	more	than	
     70%	of	the	provisions;	and	substantial	compliance	has	been	achieved	for	only	16%	of	the	
     provisions.	Forty-seven	of	the	173	provisions	remain	in	non-compliance.		To	progress	
     from	partial	compliance	to	substantial	compliance	(and	sustain	the	substantial	
     compliance),	OPSO	must	build	on	the	work	it	has	done	to	date.	OPSO	must	consistently	
     implement	policies	and	procedures,	develop	and	provide	the	training	necessary	for	staff	
     to	follow	the	policies	and	procedures,	develop	supervisors	and	mid-	managers	to	lead	
     both	staff	and	operations,	analyze	data	in	a	meaningful	and	useful	manner	to	inform	
     activities,	and	engage	in	root	cause	review	and	self-critical	assessments.	
            The	results	of	this	organizational	and	management	approach	must	then	be	
     reported	to	the	Monitors	in	an	organized,	complete	and	accurate	manner	to	demonstrate	
     compliance.	This	strategy	not	only	will	allow	the	Monitors	to	measure	compliance	but	
     allow	the	leadership	of	OPSO	to	make	the	improvements	necessary	to	operate	the	OPSO	
     correctional	facilities	in	a	Constitutional	manner	which	complies	with	the	Consent	
     Judgment	and	Stipulated	Agreements.	
            One	example	of	how	OPSO’s	compliance	initiatives	require	attention	is	
     documented	in	the	recent	tour	relates	to	the	jail’s	video	camera	system.	There	have	
     been	frequent,	documented	problems	with	the	jail’s	video	camera	system	where,	when	
     supervisors	or	investigators	attempt	to	look	at	the	video	footage	of	an	incident,	the	
     investigators	discover	that	a	particular	camera,	or	cameras,	did	not	record.	In	
     Compliance	Report	#8,	due	to	the	frequency	of	the	problem,	the	Monitors	recommended	
     that	to	ensure	cameras	were	recording,	periodic	review	of	the	cameras’	functioning	be	
     made	part	of	the	inspection	process.	In	preparation	for	the	June	2018	tour,	OPSO	was	
     asked	for	the	“Documentation	and	analysis	regarding	any	incidents	where	the	video	
     system	was	found	to	not	be	working	properly.”	The	response	from	OPSO	was	“[T]here	



                                                                                              vi	
                              Compliance	Report	#	9	–	August	29,	2018	
		
	
           Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 7 of 174



     was	no	analysis	of	this	request	due	the	fact	that	they	have	not	encountered	any	
     incidents	this	reporting	period	where	the	Video	

     Surveillance	array	had	failed	or	individual	cameras	inoperable.”	The	Monitors	are	aware	
     that	the	video	system	failed	multiple	times	during	the	reporting	period	including	for	
     investigative	activities	for	serious	altercations	between	inmates,	uses	of	force,	and	an	
     arson.	
               Another	example	of	compliance	deficiency	relates	to	response	to	the	Monitors’	
     requests	for	data	regarding	discipline	of	staff	members	for	failure	to	comply	with	the	
     use	of	force	policy.	OPSO	asserts	it	is	in	substantial	compliance	as	no	staff	members	
     were	subject	to	discipline	for	failing	to	report	a	use	to	force	during	the	first	five	months	
     of	2018.	While	it	is	acknowledged	that	OPSO	has	made	vast	improvement	in	reporting	
     of	incidents,	including	uses	of	force,	there	are	still	incidents	that	are	not	reported,	or	are	
     not	reported	timely.		The	Monitors	have	received	documentation	of	incidents	where	
     staff	members	failed	to	report	a	use	of	force	or	failed	to	meet	the	time	requirements	set	
     out	in	the	use	of	force	policy	for	reporting	and	reviewing	reports,	but	there	was	no	
     discipline	taken,	despite	a	policy	which	requires	documentation	and	appropriate	
     discipline.	
               These	circumstances	reflect	a	failure	to	adequately	and	accurately	assess	and	
     oversee	compliance-related	activities	in	preparation	for	the	bi-annual	Monitors’	
     assessments	as	well	as	OPSO’s	ability	to	adhere	to	policy	and	engage	in	meaningful	
     self-	criticism.	
               After	five	years	of	insufficient	progress,	the	Monitors	recommend	that	OPSO	
     examine	current	strategies	to	obtain	and	sustain	compliance,	consider	structural	and	
     organizational	changes	necessary	to	achieve	compliance,	review	subject	matter	
     expertise	and	staffing	resources	assigned	to	the	initiative,	develop	accountability	
     systems,	and	implement	a	supportive	and	responsive	infrastructure.	Working	to	
     achieve	compliance	with	the	Consent	Agreement	and	Stipulated	Agreements	is	
     consistent	with	the	actions	needed	to	operate	a	Constitutional	jail.	




                                                                                                   vii	
                                Compliance	Report	#	9	–	August	29,	2018	
		
	
         Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 8 of 174



B.       Critical	Issues	–	Opportunities	for	Progress	
          The	Monitors	summarize	below	the	critical	matters	identified	in	preparation	of	
    this	report	regarding	OPSO’s	compliance	with	the	Consent	Judgment.	These	findings	
    form	the	basis	for	new	recommendations	to	assist	OPSO	to	achieve	and	sustain	
    compliance.	
          1. Foundational	Work	-	The	essential,	core	work	required	to	achieve	
               compliance	includes:	
                   a. Policies	and	Procedures	–	OPSO	completed	drafts	of	the	34	
                      outstanding	policies	and	procedures	by	the	court	deadline	of	January	
                      23,	2018.	Since	that	time,	much	effort	has	gone	into	refining	the	drafts	
                      to	ensure	the	policies	and	procedures	prescribe	how	the	facility	
                      operates	and	assure	inmate	and	safety,	in	accordance	with	the	
                      Consent	Judgment	and	accepted	correctional	practice.	Importantly,	
                      these	policies	include	those	to	guide	emergency	operations	in	the	
                      facilities.	Work	remains	to	review	policies	and	procedures	signed	in	
                      2017	which	did	not	incorporate	the	comments/recommendations	of	
                      the	Monitors,	DOJ,	nor	the	attorneys	for	the	Plaintiff	class,	as	required	
                      by	the	Consent	Judgment.		Additionally,	lesson	plans	must	be	
                      developed,	reviewed,	approved	and	implemented	corresponding	to	
                      the	policies.		OPSO’s	newly	adopted	written	directive	system	will	also	
                      result	in	improvements	to	the	policy/procedure	process,	allowing	
                      organizational	components	to	develop	their	own	specific	operational	
                      practices	that	will	be	reviewed	by	OPSO	administration.	
                   b. Adequate	staffing	–	There	is	inadequate	staffing	in	the	facilities	(OJC	
                      and	TDC),	based	on	OPSO’s	staffing	analysis.	Interim	Independent	
                      Compliance	Director	Hodge	has	addressed	part	of	the	shortage	by	
                      utilization	of	overtime.	Despite	these	efforts,	frequently,	there	are	still	
                      housing	units	and	control	rooms	that	do	not	have	assigned	staffing;	
                      further	assigned	staff	leave	housing	units	and	control	pods	unattended	
                      for	meal	breaks	and	other	duties.	These	deficiencies	include	
                      supervisory,	mid-management,	and	leadership	positions	who,	
	                                                 	                                              viii	

           	             		Compliance	Report	#	9	–	August	29,	2018	
                                              	
	
    Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 9 of 174



                 generally,	do	not	have	sufficient	subject	matter	expertise	to	achieve	
                 and	sustain	compliance.	The	findings	reported	in	Section	IV.A.6,	
                 Security	Staffing,	overview	compliance	issues,	and	provide	specific	
                 recommendations.	One	bright	spot	is	the	emphasis	in	the	human	
                 resources	division	of	OPSO	on	recruitment	efforts,	hiring	
                 requirements,	and	background	investigation	protocols	to	address	the	
                 high	attrition	rate	among	newly	hired	employees.	(See	below	
                 discussion	of	recommendations	of	consultant	for	human	resources.)	
             c. Training	–	Employee	training,	both	pre-service	and	in-service,	requires	
                 attention	to	ensure	consistency	with	OPSO	policies	and	procedures.		
                 The	foundational	work	requires	preparation	of	lesson	plans	to	provide	
                 for	a	consistent	instruction	content,	teaching	by	qualified	individuals,	
                 and	demonstration	and	documentation	of	students’	knowledge	gained.	
                 Recommended	changes	to	the	pre-service	academy	as	far	as	class	size,	
                 screening	of	recruits	for	ability	to	perform	the	essential	functions,	
                 including	physical	requirements	of	the	job,	and	skill-based	training	are	
                 in	the	process	of	being	implemented.		One	of	challenges	for	the	training	
                 academy	is	to	train	all	employees	on	the	newly	implemented	policies	
                 as	having	the	policies	on	paper	will	not	matter	if	staff	are	not	properly	
                 trained.		
             d. Supervision	–	Safe	operation	of	OPSO’s	facilities	requires	adequate	and	
                 sufficient	first-line	and	mid-management	supervision.		Interim	
                 Independent	Compliance	Director	Hodge	has	implemented	the	unit	
                 management	approach	and	provided	training	and	mentoring	for	the	
                 supervisors	performing	these	roles.		Mentoring,	coaching,	and	
                 accountability	for	newly	hired	employees,	as	well	as	fulfilling	the	
                 Consent	Judgment’s	requirements,	is	a	foundational	need.
     2. Medical	and	Mental	Health	Care	–	The	Medical	and	Mental	Health	Monitors	
          report	challenges	remain	in	the	provision	of	basic	case,	staffing,	and	
          recordkeeping	as	well	as	collaboration	with	custody/security	staffing.			Harm	to	
          inmates	continues,	particularly	regarding	mental	health	care.	
	                                           	                                                 ix	

      	            		Compliance	Report	#	9	–	August	29,	2018	
                                        	
	
    Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 10 of 174



     3. Inmate	Safety	and	Protection	from	Harm	-	Providing	a	safe	and	secure	jail	
          continues	to	be	a	challenge.			 	
            a. Unit	Management—As	noted	above,	Interim	Independent	Compliance	
                Director	Hodge	implemented	unit	management	to	supervision	of	the	
                housing	units.		Each	floor	of	the	OJC,	IPC,	and	TDC	have	been	designed	as	
                a	“unit”.	Under	this	strategy,	a	team	is	permanently	assigned	to	each	unit	
                and	responsible	for	all	operations	within	the	unit.		For	example,	for	each	
                floor	at	OJC,	there	is	a	team	consisting	of	a	lieutenant,	sergeants,	and	
                deputies	who	work	that	floor	exclusively.		This	allows	them	to	get	to	
                know	the	inmates,	coordinate	management	of	housing	unit	operations,	
                work	to	insure	consistency	of	work,	and	results	in	greater	accountability	
                for	both	staff	and	the	inmates.		Since	unit	management	has	been	put	in	
                place,	the	medical/mental	health	care	provider	has	begun	to	assign	
                medical	personnel	to	be	part	of	the	teams	and	a	classification	specialist	is	
                also	assigned	to	the	teams.	
            b. Violence	-	The	level	of	violence	within	the	facilities	remains	high	–	
                including	inmate	on	inmate	assaults.		High	levels	of	disorder	and	non-
                compliance	to	the	institutional	rules	result	in	staff’s	over-reliance	on	use	
                of	force	to	gain	control	and	compliance.		No	matter	the	data	used	to	
                review	violence-related	trends,	none	is	sustainability	downward.		
                Incidents	involving	substance	abuse	overdoses	inside	the	facilities,	
                disturbances,	and	deaths	of	inmates	continue	to	present	serious	
                challenges	to	the	OPSO.	
            c. Early	Warning	System	(EIS)	–	The	EIS	remains	compromised	and	
                precludes	the	required	prompt	identification	of	staff	whose	actions	
                threaten	inmate	and	facility	safety.		The	FIT	Commander	has	developed	a	
                “work	around”	of	the	available	software	options	of	the	EIS	system	both	by	
                use	of	technology	and	staff	resources	to	track	the	required	information.		
            d. Classification	–	The	classification	processes	require	attention	to	ensure	
                housing	decisions	and	placements	are	consistent	with	OPSO	policies	and	
                objective	classification	principles	and	credible	auditing	identifies	issues	
	                                           	                                                  x	

      	             		Compliance	Report	#	9	–	August	29,	2018	
                                        	
	
    Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 11 of 174



             and	corrects	placements.				This	includes	development	of	subject	matter	
             expertise,	accountability	systems,	interface	with	unit	management,	and	
             collection,	analysis,	and	development	of	corrective	action	plans,	as	
             needed.	
          e. Inmate	grievances	–	Questions	and	concerns,	with	the	advent	of	unit	
             management,	are	now	submitted	by	inmates	and	forwarded	to	the	
             unit/individuals	responsible	for	addressing	the	respective	issues,	but	
             attention	is	required	as	to	the	timeliness	and	adequacy	of	responses.		
             Sustainable	problem-solving	and	systemic	fixes,	as	discussed	as	part	of	
             the	review	of	“Quality	Improvement,”	need	attention.		Collaboration	
             between	OPSO	and	the	medical/mental	health	contractor	to	address	
             these	grievances	also	requires	work.				
          f. Incident	Reporting	-	Collaboration	efforts	for	the	reporting	of	incidents	
             continues	among	the	Monitors,	OPSO,	and	the	attorneys	for	the	Plaintiff	
             class/DOJ.		As	discussed	in	this	Report,	progress	toward	identifying	and	
             reporting	has	improved,	but	continues	to	require	significant	attention	by	
             all	involved.		There	are	still	serious	incidents	for	which	no	report	or	no	
             timely	report	is	prepared	by	OPSO	staff;	including	inmate	on	inmate	
             assaults	resulting	in	hospitalization.	
          g. Jail	Management	System	–	An	integral	part	of	any	the	jail’s	operational	
             improvements	is	tied	to	an	effective	jail	management	system	to	provide	
             the	on-demand,	routine,	and	periodic	information	to	inform	leadership	
             and	management	decisions.		This	information	system	has	not	been	
             implemented,	and	while	OPSO	is	working	to	implement	a	new	JMS	as	well	
             as	interface	with	any	new	court	systems,	the	delays	in	the	
             implementation	of	a	new	JMS	are	an	impediment	to	progress.	
	                       	




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      	          		Compliance	Report	#	9	–	August	29,	2018	
                                     	
	
    Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 12 of 174



          4. Sanitation	and	Environment	Conditions	–	Significant	work	remains	
             regarding	the	public	health	and	inmate/staff	safety	risks	inside	the	facility.		
             Again,	the	staffing	challenges	impact	the	ability	of	OPSO	to	develop	and	
             sustain	the	work	and	systems	required	by	the	Consent	Judgment.			
          5. Youthful	Prisoners	–	The	Monitors	acknowledge	and	commend	the	
             educational	program	established	in	OJC	in	past	year.		There	are	additional	
             requirements	of	the	Consent	Judgment	that	remain	unmet,	including	
             provision	of	age	appropriate	mental	health	services	and	adequate	housing	
             for	female	youth.	
          6. Inmate	Sexual	Safety	–	OPSO	continues	to	prepare	for	its	required	audit	of	
             compliance	with	the	Prison	Rape	Elimination	Act	of	2003	(PREA).		More	
             collaboration	is	needed	regarding	assessments	of	inmates	as	potential	
             victims	and	potential	predators	in	conjunction	with	the	contract	
             medical/mental	health	provider.		Increases	in	inmate	reports	of	sexual	
             assault	and	sexual	harassment	are	generally	positive	indicators	of	the	
             inmates’	trust	in	the	system;	however,	the	unidentified	changes	in	
             assessments	occurring	about	the	same	time	as	the	upward	reporting	trend	
             require	attention	and	analysis.	OPSO	has	reassigned	the	responsibility	for	
             supervision	of	the	investigation	of	allegations	of	PREA	violations	to	its	most	
             experienced	ISB	supervisor	which	should	improve	the	quality	of	PREA	
             related	investigations.		
          7. Compliance,	Quality	Reporting,	and	Quality	Improvement	–	An	essential	
             element	to	ensure	inmate	safety	is	OPSO’s	timely	review	of	serious	incidents	
             to	assess	root	cause(s)	and	then	to	develop,	implement	and	track	actions	
             plans	to	address	the	issue(s).		OPSO	is	beginning	to	undertake	this	function.		
             Interim	Independent	Compliance	Director	Hodge	recognizes	that	systemic	
             issues	which	remain	unaddressed	will	continue	to	create	risks	to	
             institutional	safety	and	security.		There	have	been	several	serious	incidents	
             since	October	2017	that	warrant	analyses	including	the	flow	of	contraband	
             into	the	jail,	deaths	in	custody,	disturbances,	inmate	on	inmate	assaults	
             resulting	in	serious	injuries,	and	inmate	drug	overdoses.		While	progress	is	
	                                            	                                              xii	

      	             		Compliance	Report	#	9	–	August	29,	2018	
                                         	
	
    Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 13 of 174



             being	made,	the	Monitors	encourage	OPSO	to	dedicate	more	time	and	
             resources	to	this	process	of	quality	improvement.			
          8. Stipulated	Agreements	2015	–	OPSO	should	review	its	on-going	
             compliance	with	the	two	Stipulated	Agreements	from	2015.		As	noted	in	this	
             most	recent	tour,	the	status	of	compliance	within	these	Agreements	has	
             changed.	
          9. Acknowledgement	of	Work	to	Date			
          a. Youthful	Prisoners	–	OJC	is	commended	for	continuing	educational	and	
              related	programming	for	the	youthful	prisoners.			
          b. Investigations	–	Work	to	credibly	review	the	critical	incidents	and	
              allegations	of	staff	misconduct	is	a	positive	for	OPSO.		What	remains	is	to	
              integrate	the	findings	of	these	investigations	with	Quality	Improvement	
              initiatives	(root	cause	analysis	and	critical	incident	reviews)	to	improve	
              safety	for	staff	and	inmates.		
          c. Fire	and	Life	Safety	–	OPSO	has	provided	documentation	of	important	fire	
              and	life	safety	requirements.		Work	remains	on	internal	collaboration	and	
              development	and	training	regarding	emergency	operations.	
          d. The	Docks	–	A	plan	to	renovate	the	Docks	has	been	formulated.		The	notice	
              to	proceed	has	been	slow	in	obtaining,	but	there	are	assurances	from	the	
              City	that	it	should	occur	in	September	2018.	
          e. Phase	III--	A	contract	for	architectural	services	for	Phase	III	has	been	
              awarded.		The	contract	for	the	project	manager	has	yet	to	be	awarded	which	
              has	resulted	in	a	delay	in	the	notice	to	proceed	being	issued.		The	Monitors	
              are	hopeful	that	the	City	will	make	the	design	and	building	of	this	additional	
              facility	a	priority	as	it	is	critical	to	the	provision	of	mental	and	medical	
              health	services.	
          f. Human	Resources’	Initiatives	–	As	noted	in	Section	IV.	A.	6.	Security	Staffing,	
              OPSO	engaged	a	consultant	to	review	current	human	resources	functions	
              and	provide	recommendations.		The	interim	recommendations	seem	on-
              point,	but	remain	to	be	implemented.		Hiring	and	retention	of	qualified	
              employees	is	essential	to	achieving	and	sustaining	compliance	with	the	
	                                             	                                               xiii	

      	             		Compliance	Report	#	9	–	August	29,	2018	
                                          	
	
        Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 14 of 174



                 Consent	Judgment.				As	part	of	this	work,	the	consultant	reviewed	pay	plans	
                 for	the	OPSO.		The	Monitors	believe	more	analysis	needs	to	be	done,	timely,	
                 to	permit	meaningful	review	of	requirements	which	will	be	related	to	
                 budget	development.	
    C. Review	Process	of	Monitors’	Compliance	Report	#9	
         A	draft	of	this	report	was	provided	to	OPSO,	Counsel	for	the	Plaintiff	Class,	and	the	
Department	of	Justice	(DOJ)	on	July	30,	2018.		Comments	were	provided	by	Counsel	for	
the	Plaintiff	Class	and	DOJ	on	August	20,	2018.		OPSO’s	medical	contractor,	CCS,	provided	
comments	regarding	the	relevant	paragraphs	of	the	CJ	on	August	20th.		OPSO	opted	not	
to	provide	additional	comments	beyond	those	of	CCS.	
    D. Communication	with	Stakeholders	
         The	Monitors	are	committed	to	providing	as	much	information	as	possible	
regarding	the	status	of	OPSO’s	efforts	to	comply	with	all	orders	of	the	Court.		The	
www.nolajailmonitors.org	website	came	on-line	in	September	2014.	As	of	June	30,	2018,	
there	have	been	more	than	74,000	“hits”.		Joining	all	other	reports,	the	finalized	version	of	
Compliance	Report	#9	will	be	posted	on	that	site	and	a	summary	of	compliance	for	each	
paragraph.			
E.       Recommendations			
         This	report	includes	only	“new”	recommendations,	provided	as	a	list	in	Appendix	to	
this	report.		Where	OPSO	adopted	the	Monitors’	prior	recommendations,	this	is	noted	in	
this	report.		We	reference	Appendix	B	to	Compliance	Report	#	8	for	the	list	of	previous	
recommendations.5
F.       Conclusions	and	Path	Forward	
         OPSO	has	been	operating	under	the	provisions	of	the	Consent	Judgment	since	June	
2013.		Improvements	have	been	made	during	that	time,	but	vital,	urgent	work	is	required	
to	comply	with	the	provisions	of	the	Consent	Judgment	in	order	to	bring	and	sustain	the	
OPSO	facilities	and	operations	in	line	with	constitutional	standards.		Currently,	the	
environment	is	not	safe	for	inmates	or	staff.		The	Monitors	continue	to	recommend	that	the	
provisions	of	the	Consent	Judgment	be	prioritized,	and	detailed	action	plans	developed	and	

																																																								
5	http://www.nolajailmonitors.org/uploads/3/7/5/7/37578255/_8_compliance_report.pdf	

	                                               	                                            xiv	

           	           		Compliance	Report	#	9	–	August	29,	2018	
                                            	
	
      Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 15 of 174



implemented,	providing	a	clear	path	to	compliance.		This	has	begun	to	take	place	under	the	
leadership	of	Interim	Independent	Compliance	Director	Hodge.	
       The	level	of	violence	is	unacceptable	and	very	serious	incidents	frequently	occur.		
The	amount	of	contraband	smuggled	into	the	facility	and	the	number	of	weapons	
confiscated	from	inmates	is	unacceptable.		Only	by	collecting	accurate	data,	analyzing	the	
root	cause	of	the	issues,	and	engaging	in	problem	solving	will	a	sustainable	reduction	in	
inmate	on	inmate	assaults,	inmate	on	staff	assaults,	uses	of	force,	contraband	and	property	
damage	be	achieved.		OPSO	has	begun	to	collect	the	data	and	has	improved	its	accuracy.		
However,	the	skills	for	the	analysis	of	the	root	causes,	subject	matter	expertise,	and	
problem-solving	abilities	remain	lacking.	
       As	staffing	for	the	housing	units,	as	well	as	employees	to	provide	escort	for	other	
necessary	functions	(medical,	mental	health,	court)	is	critically	inadequate,	a	plan	to	
recruit,	screen,	train,	and	mentor	qualified	staff	is	viewed	by	the	Monitors	as	of	the	highest	
priority.		The	hiring	of	the	new	Human	Resources	Director	appears	to	be	a	positive	step	
forward	in	this	area.		For	the	training	to	be	meaningful,	the	policies,	procedures,	and	post-
orders	must	be	completed,	and	appropriate	lesson	plans	prepared.			
       Medical	and	mental	health	care	initiatives	continue	to	work	to	meet	the	
requirements	of	the	Consent	Judgment,	but	also,	as	with	OPSO’s	initiatives,	needs	a	clear	
path,	with	measurable	benchmarks.	
       The	Monitors	remain	committed	to	the	Court,	and	the	parties	to	provide	assistance,	
where	needed.		The	Monitors	have	discussed	with	the	Interim	Independent	Compliance	
Director	and	OJC	leadership	the	need	to	prioritize	areas	to	be	addressed	and	work	
collaboratively	with	the	Monitors	and	DOJ	and	attorneys	for	Plaintiff	class	on	solutions.		
The	Monitors	are	hopeful	that	this	collaborative	approach	will	result	in	significant	
improvement	towards	compliance	with	the	provisions	of	the	Consent	Judgment	and	
achievement	of	constitutional	conditions.	6
                                                         	
  The	Monitors	again	thank	and	acknowledge	the	leadership,	guidance	and	support	of	
                  The	Honorable	Lance	M.	Africk	and	The	Honorable	Michael	B.	North.	
																																																								
6	The	Consent	Judgment	is	available	at:	
http://www.nolajailmonitors.org/uploads/3/7/5/7/37578255/tab_2_consent_judgment.pdf	
	
	                                             	                                               xv	

         	           		Compliance	Report	#	9	–	August	29,	2018	
                                          	
             Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 16 of 174



IV. A.			Protection	from	Harm	
Introduction	
	            This	section	of	the	Consent	Judgment	addresses	core	correctional	functions	including	
the	use	of	force	(policies,	training,	and	reporting),	identification	of	staff	involved	in	uses	of	
force	through	an	early	intervention	system,	safety	and	supervision	of	inmates,	staffing,	
incidents	and	referrals,	investigations,	pre-trial	placement	of	inmates	in	the	facility,	
classification,	the	inmate	grievance	process,	sexual	safety	of	inmates,	and	inmates’	access	to	
information.			
	            The	Consent	Judgment	requires	that	OPSO	operate	the	facility	to	assure	inmates	are	
“reasonably	safe	and	secure.”		Based	on	objective	review	of	data,	the	facility	has	shown	
improvement	in	inmate	and	staff	safety,	but	still	remains	critically	unsafe	for	inmates	and	
staff.				
	            Reaching	and	sustaining	compliance	with	provisions	of	the	Consent	Judgment,	
particularly	this	section,	relies	on	the	collection,	analysis,	and	corrective	action	planning	using	
available	data.		Jails	are	data	rich	environments,	and	the	Monitors	are	encouraging	OPSO	to	
develop	the	capacity	to	collect	relevant	accurate	data,	analyze	that	data,	draw	supportable	
conclusions	to	inform	decisions	throughout	the	organization	and	develop	corrective	action	
plans,	as	indicated.		When	the	organization	has	achieved	this	capacity,	this	will	be	a	significant	
step	toward	sustainable	compliance.	
             The	Monitors	reported	during	the	Status	Conference	before	the	Court	on	January	29,	
2018,	the	issues	with	unreported	or	underreported	incidents	in	the	jail.		(See	also	Compliance	
Report	#	8)			The	unwillingness	and/or	inability	of	OPSO,	at	that	time,	to	insist	that	staff	report	
incidents,	gather	data,	and	report	to	both	the	organization	and	to	the	Monitors	inhibited	the	
ability	of	OJC	to	develop	effective	strategies	to	address	the	level	of	disorder.	
             The	Monitors	report	in	Compliance	Report	#9	that	OPSO	is	now	much	more	
transparent	about	reporting	incidents.			There	is	still	progress	to	be	made.		Evaluation	of	
whether	there	are	unreported	or	underreported	incidents	is	made	by	examining	the	CCS	logs	
recording	the	names	of	those	inmates	who	have	been	brought	into	the	clinic	for	treatment	for	
treatment	subsequent	to	an	altercation	or	a	use	of	force	and/or	the	names	of	those	inmates	
routed	to	the	hospital	with	trauma	related	injuries.		The	attorneys	for	the	Plaintiffs	also	learn	
about	incidents	from	their	clients.					

                                                 	                                                   1	
              	                 Compliance	Report	#	9	–	August	29,	2018	
        Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 17 of 174



	       Increased	transparency	in	reporting	will	likely	result	in	the	appearance	of	an	increase	
in	the	violence	in	OPSO.		As	the	reporting	in	2017	did	not	acknowledge	the	decrease	in	the	
inmate	population	as	they	were	sent	to	out-of-parish	jails,	this	trend	will	be	more	notable.		
        The	Monitors	do	not	minimize	the	level	of	violence	in	the	facility.		Since	production	of	
Compliance	Report	#8,	examples	of	the	harm	to	inmates	include,	but	are	not	limited	to:	
    •   In	December	2017:	
             o An	inmate	was	transported	to	the	hospital	with	eye	trauma	following	an	
                altercation,	in	an	incident	not	reported	to	the	Monitors,	as	noted	on	CCS’	“route	
                log”;		
             o Contraband	recovery	from	the	disciplinary	housing	unit	of	a	handcuff	key,	a	
                shank,	a	cell	phone	charger,	a	cigarette	lighter,	and	unauthorized	clothing;		
             o An	inmate	in	the	mental	health	unit	escaped	from	his	unlocked	cell	and	jumped	
                off	the	mezzanine	level;	and	then	two	other	inmates	who	were	not	in	their	cells	
                threatened	to	jump;			
             o An	inmate	in	the	booking	area	attacked	by	another	inmate,	and	the	victim	
                required	transport	to	the	hospital;	and	
             o Death	of	an	inmate	who	was	on	detox	protocol.	
    •   In	January	2018:	
             o In	an	unstaffed	unit,	a	fight	between	two	inmates	resulted	in	one	being	
                transported	to	the	hospital	with	blunt	head	trauma;		
             o In	a	unit	which	could	not	be	verified	as	staffed	or	not,	an	inmate	was	
                transported	to	the	hospital	for	treatment	of	a	closed	fracture	of	the	nasal	bone;	
                and	
             o In	an	unstaffed	unit,	following	an	inmate/inmate	altercation,	one	inmate	was	
                routed	to	the	hospital	with	a	head	injury.	
    •   In	February	2018:	
             o There	were	14	incidents	classified	as	attempted	self-harm;	
             o In	an	unstaffed	unit,	an	inmate	fight	resulted	in	an	inmate	being	transported	to	
                the	hospital	with	multiple	fractures;		




                                              	                                                     2	
         	                   Compliance	Report	#	9	–	August	29,	2018	
        Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 18 of 174



             o An	inmate	was	the	victim	of	a	sexual	assault	allegedly	perpetrated	by	another	
                inmate;		
             o An	inmate/staff	altercation	in	the	booking	area	resulted	in	a	use	of	force	and	the	
                inmate	involving	being	sent	to	the	hospital	with	lacerations	to	his	eyelid;	and	
             o Recovery	of	contraband:			suspected	marijuana,	phone	and	charger,	currency,	
                shank.	
    •   In	March	2018:	
             o In	an	unstaffed	unit,	an	inmate/inmate	altercation	resulted	in	an	inmate	sent	to	
                the	hospital	for	a	right	orbital	fracture;		
             o In	a	staffed	unit,	an	inmate/inmate	altercation	resulted	in	an	inmate	
                transported	to	the	hospital	with	a	suspected	hip	fracture;	
             o An	inmate	housed	on	the	mental	health	unit,	unsupervised,	threw	over	chairs,	
                avoided	staff,	and	threatened	to	jump	off	the	mezzanine;		
             o An	inmate	attempted	self-harm/suicide	while	housed	on	the	mental	health	unit,	
                NOFD	EMS	responded,	the	inmate	was	revived	and	sent	to	the	hospital;	and	
             o An	inmate	attempted	self-harm/suicide,	was	unresponsive,	revived	and	routed	
                to	the	hospital.	
    •   In	April	2018:	
             o In	an	incident	unreported	to	the	Monitors,	and	located	on	the	CCS	“route”	log,	an	
                inmate	involved	in	an	altercation	was	transported	to	the	hospital	with	fractured	
                facial	bones;		
             o In	an	inmate/inmate	altercation,	one	victim	was	transported	to	the	hospital	
                with	head	injuries,	and	a	possible	jaw	fracture;	and	
             o In	an	unstaffed	unit,	an	inmate	involved	in	an	altercation	with	another	inmate	
                was	routed	to	the	hospital	with	a	closed	fracture	of	the	nasal	bone.		
	                                 	




                                              	                                                    3	
         	                   Compliance	Report	#	9	–	August	29,	2018	
        Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 19 of 174



    •   In	May	2018:	
             o An	inmate	started	fires	using	his	uniform	and	mattress	on	three	separate	
                occasions	during	a	twenty-four-hour	period;		
             o An	inmate	died	following	a	medical	emergency	related	to	detox;		
             o There	were	52	inmate/inmate	assaults,	resulting	in	6	transports	of	inmates	to	
                the	hospital	for	blunt	trauma,	perforated	wounds,	lacerations,	chronic	pain,	and	
                a	closed	hand	fracture.	(from	CCS	route	log)	
    •   In	June	2018:	
             o Inmates	were	discovered	with	homemade	“brew”	behind	a	clothes	dryer,	which	
                ignited	a	piece	of	paper;		
             o In	an	inmate/inmate	altercation,	one	inmate	was	taken	to	the	hospital	to	be	
                assessed;	and	
             o There	were	25	uses	of	force	reported	in	the	month.	
                While	not	an	inclusive	list	of	the	serious	incidents	occurring	since	November	
        2017,	the	Monitors	highlight	the	unacceptable	level	of	violence	and	disorder	in	the	
        facility	causes	direct	and	serious	harm	to	inmates	and	staff.			In	addition	to	incidents,	
        the	staff’s	intervention	into	the	violence	resulted	in	almost	1,200	inmates	being	cited	
        for	facility	disciplinary	violations	in	the	first	four	months	of	2018.			Section	IV.A.5.,	
        below,	provides	additional	data	regarding	incidents.			The	Monitors	acknowledge	that	
        the	2016	and	2017	data	(and	probably	the	data	before	that	time)	has	accuracy	issues..			
        Conclusions	and	trends	are	noted	with	this	caveat.	
                In	addition	to	record-keeping,	analyses	and	corrective	actions	planning	using	
        operational	data,	it	is	important	that	OPSO	develop	the	timely	capacity	for	self-critical	
        analysis	of	major	events.			Without	these	two	strategies,	it	will	be	challenging	to	gain	
        and	sustain	compliance.		Incidents,	sometimes	very	critical,	happen	in	jails;	the	
        leadership	needs	to	immediately	learn	from	these	circumstances	to	prevent	them	for	
        happening	again.	
	                              	




                                              	                                                      4	
         	                   Compliance	Report	#	9	–	August	29,	2018	
        Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 20 of 174



    Assessment	Methodology	
    •   Dates	of	tours:	
           o November	27-29,	2017	
           o December	11-13,	2017	
           o January	2-4,	2018	
           o January	16-18,	2018	
           o January	29-31,	2018	
           o February	20-22,	2018	
           o February	27-28,	2018	
           o March	19-21,	2018	
           o April	16-18,	2018	
           o May	22-24,	2018	
           o June	11	–	14,	2018	
	
    •   Interim	Tours	–	Various	monitors	worked	in	OPSO	between	the	time	of	the	October	
        2017	tour	and	the	June	2018	tour.		This	was	for	the	purpose	of	assisting	the	Court	and	
        the	Independent	Compliance	Director.	
    •   Materials	reviewed:	
             o Materials	reviewed	include	the	Consent	Judgment,	OPSO	policies	and	
                procedures,	use	of	force	reports,	incident	reports,	investigations	conducted	by	
                Investigative	Services	Bureau-Internal	Affairs	Division	(ISB-IAD),	investigations	
                conducted	by	ISB-Criminal	Division	(ISB-Criminal),	investigations	conducted	by	
                ISB-Inmate	Division,	news	articles,	training	materials,	shakedown	logs,	and	post	
                logs.	
    •   Interviews:	
             o Interviews	included	command	staff,	jail	supervisors,	commander	of	ISB,	
                commander	of	IAD-Administrative,	chief	of	investigations,	various	supervisors	
                of	units	within	ISB,	and	inmates.		
    •   Recommendations:	
             o A	summary	of	outstanding	recommendations	compiled	from	the	first	eight	
                compliance	reports	are	included	in	Compliance	Report	#	8,	Appendix	B.		As	
                noted	in	the	Introduction	to	Compliance	Report	#9,	new	recommendations	are	
                provided,	where	necessary	and	summarized	in	Appendix	B.				
	                              	



                                              	                                                    5	
         	                   Compliance	Report	#	9	–	August	29,	2018	
        Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 21 of 174



IV.	A.	1.	Use	of	Force	Policies	and	Procedures			
        Findings:	
              A.	1.	a.	–	Partial	Compliance	
              A.	1.	b.	–	Substantial	Compliance	
              A.	1.	c.		–	Partial	Compliance	
	       	
                Measures	of	compliance:	
	               1.    Comprehensiveness	of	written	policies,		
    	           2.    Training,	data	collection	and	analysis,		
                3.    Supervisory	review	of	uses	of	force,		
                4.    Review	of	use	of	force	reports,	review	of	incident	reports,	review	of	investigations	by	
                      ISB.	

    Observations:	
                The	current	OPSO	use	of	force	policy	was	effective	as	of	May	2016.		The	policy	
        has	not	been	reviewed	since	then	and	is	overdue	for	a	review.		The	policy	remains	in	
        partial	compliance.		Plans	are	in	place	by	OPSO	to	review	the	policy	once	all	the	other	
        policies	have	been	finalized.	Training	was	provided	for	corrections	staff	employed	at	
        the	time	of	its	adoption.		New	corrections	staff	receive	use	of	force	training	in	the	pre-
        service	academy.		The	annual	training	has	not	been	provided	timely	and	on	a	consistent	
        basis	due	to	staffing	issues.	This	has	resulted	in	staff	being	past	due	on	their	training	
        requirements.	OPSO	has	a	plan	in	place	to	provide	the	training	by	the	end	of	2018.	
                There	has	been	recent	improvement	in	the	use	of	force	training	provided	at	the	
        academy.		In	response	to	a	recommendation	by	the	Monitors,	there	has	been	an	
        increased	emphasis	on	practical	skills	training	in	the	pre-service	academy.		Staff	are	
        now	being	provided	with	reality-based	examples	as	well	as	an	opportunity	for	hands	
        on	training.		One	of	impediments	for	the	pre-service	academy	training	was	the	large	
        class	size	of	50-60	students	due	to	the	efforts	to	fill	the	large	number	of	vacancies	at	the	
        OJC.		Given	the	new	emphasis	of	quality	as	opposed	to	quantity,	class	sizes	have	
        stabilized	between15-30	students.		Efforts	are	being	made	to	address	the	concern	
        expressed	by	Monitor	Frasier	as	to	whether	the	students	had	all	received	a	medical	
        examination	and	been	cleared	to	participate	in	the	level	of	physical	activity	required	in	
        practical	skills	training.			
                The	quality	of	the	use	of	force	reports	has	shown	slight	improvement	but	
        continue	to	illustrate	a	need	for	training	on	the	use	of	force	policy	and	how	to	conduct	


                                               	                                                                 6	
         	                    Compliance	Report	#	9	–	August	29,	2018	
    Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 22 of 174



    investigations	among	the	jail	supervisors.		Several	of	the	supervisors	recently	
    promoted	have	prior	experience	as	investigators	in	the	Investigative	Services	Bureau	
    (ISB)	which	may	account	for	the	improvement.		There	are	still	reports	which	continue	
    to	rely	on	boilerplate	language	such	as	“using	necessary	force,”	“guided	inmate	into	
    cell,”	and	“took	control	of	inmate.”	
           As	has	been	previously	reported,	the	ISB	has	done	a	good	job	of	developing	
    standard	operating	procedures	that	memorialize	a	comprehensive	strategy	to	review	
    and	investigate	uses	of	force.		There	is	a	backlog	of	cases	for	review,	but	ISB	has	
    steadily	reduced	the	backlog	by	having	agents	from	other	divisions	assist	FIT	when	
    possible.		ISB	met	its	goal	of	eliminating	the	2016	cases	by	the	end	of	2017.		The	main	
    reasons	for	the	backlog	are	that	FIT	is	saddled	with	assembling	the	materials	necessary	
    for	a	proper	review	even	though	it	is	the	responsibility	of	the	watch	commanders	and	
    wardens	at	OJC	and	FIT	is	tasked	with	reviewing	medical	records	regarding	treatment	
    of	inmates	for	injuries	to	uncover	uses	of	force	that	are	not	reported	properly.		Lack	of	
    sufficient	supervisory	staff	in	the	OJC	appears	to	be	contributing	to	this	phenomenon.				
           IV.	A.	1	b.	is	now	in	substantial	compliance	as	OPSO	has	developed	and	
    implemented	a	single	use	reporting	system	which	complies	with	the	provisions	of	the	
    Consent	Judgment.	
           IV.	A.	1.	c.	is	rated	partial	compliance	due	to	collection	of	data	on	the	uses	of	
    force.		However,	the	analysis	of	that	data,	recommendations	based	on	the	analysis,	
    plans	of	action,	or	reports	of	outcomes	of	plans	of	action	are	still	lacking,	if	non-
    existent.		For	instance,	numerous	uses	of	force	occur	due	to	the	need	to	control	inmates	
    who	force	their	way	out	of	their	cells	during	medication	and	assault	another	inmate	or	
    leave	the	housing	area	without	authorization.		However,	there	does	not	appear	to	have	
    been	any	analysis,	evaluation,	and	change(s)	in	procedure	to	lessen	the	likelihood	of	
    future	assaults	and/or	the	use	of	force.		While	FIT	provides	an	annual	report,	an	
    analysis	on	how	to	reduce	the	need	for	use	of	force	or	unnecessary	or	excessive	use	of	
    force	is	not	part	of	that	report.		There	has	been	no	analysis	as	to	whether	changes	need	
    to	be	made	to	the	use	of	force	policies.	
	                         	


                                          	                                                     7	
     	                   Compliance	Report	#	9	–	August	29,	2018	
Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 23 of 174



New	Recommendation:	
1.   OJC	and	FIT	work	together	to	assess	the	use	of	force	data	to	determine	what	
     changes	need	to	be	made	to	the	use	of	force	policies	to	eliminate	unnecessary	or	
     excessive	force	and	reduce	the	need	for	use	of	force	in	general.		                  	




                                  	                                                 8	
 	               Compliance	Report	#	9	–	August	29,	2018	
        Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 24 of 174



IV.	A.	2.		       Use	of	Force	Training			
	
              Findings:	
                     A.	2.	a.		–	Partial	Compliance	
                     A.	2.	b.	–	Partial	Compliance	
                     A.	2.	c.	–	Partial	Compliance	
                     	
              Measures	of	compliance:	
              1. Comprehensiveness	of	lesson	plans.		
              2. Training	material,	evidence	of	knowledge	gained.	
              3. Review	of	use	of	force	reports.	
              4. Review	of	incident	reports.		
              5. Review	of	investigations	by	ISB.	
              6. Review	of	investigations	by	IAD.				
        	
        Observations:	
	
                  The	Monitors	acknowledge	that	there	has	been	significant	improvement	in	the	
        use	of	force	training	provided	by	the	training	academy.		The	training	academy	staff	has	
        been	very	receptive	to	recommendations	on	how	to	improve	the	quality	of	training	
        provided	to	both	new	and	current	staff.	
                  The	current	use	of	force	policy	has	been	in	effect	since	May	2016.		Training	has	
        been	completed	for	corrections	staff	who	were	employed	at	the	time	of	its	adoption.		
        New	corrections	staff	receive	use	of	force	training	as	part	of	the	pre-service	academy.		
        The	annual	training	has	not	been	provided	timely	and	on	a	consistent	basis	due	to	
        staffing	issues.	This	has	resulted	in	staff	being	past	due	on	their	training	requirements.	
        OPSO	has	a	plan	in	place	to	provide	the	training	by	the	end	of	2018.		This	results	in	IV.	
        A.	2.	a.	continuing	to	be	only	in	partial	compliance.	
                  The	effectiveness	of	training	and	the	related	issues	and	problems	are	noted	
        above.		It	is	a	significant	improvement	that	the	pre-service	academy	has	begun	to	use	
        practical	skills	training	for	use	of	force	training	in	the	training	academy.		It	is	
        insufficient	to	didactically	teach	permissible	and	impermissible	uses	of	force.		The	
        Monitors	look	forward	to	continuing	to	work	with	training	staff	to	fully	incorporate	
        training	that	includes	application	of	required	skill	sets.		
                  After	the	October	2017	monitoring	tour,	Monitor	Frasier	recommended	that	the	
        class	size	be	reduced	as	the	large	class	sizes	(50-60	students)	in	the	pre-service	
        academy,	which	were	driven	by	the	effort	to	fill	the	large	number	of	vacancies	at	the	

                                                 	                                                   9	
          	                     Compliance	Report	#	9	–	August	29,	2018	
Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 25 of 174



OJC,	were	an	impediment	to	conducting	practical	skills	training.		Given	the	new	
emphasis	on	quality	as	opposed	to	quantity,	class	sizes	have	stabilized	between15-30	
students.		Efforts	are	being	made	to	address	the	concern	expressed	by	Monitor	Frasier	
as	to	whether	the	students	had	all	received	a	medical	examination	and	been	cleared	to	
participate	in	the	level	of	physical	activity	required	in	practical	skills	training.			
       The	Consent	Judgment	requires	both	pre-service	and	annual	in-service	training.		
During	the	October	2017	tour,	it	became	apparent	after	review	of	documentation	
provided,	and	during	discussions	with	the	OPSO	Training	Academy	staff,	that	annual	in-
service	training	was	only	being	provided	to	POST-certified	deputies.				No	in-service	
training	was	provided	to	corrections	staff	who	are	classified	as	“Recruits”	or	non-POST	
certified	or	CMTs.		Monitor	Frasier	recommended	that	all	corrections	staff	be	provided	
training	with	an	emphasis	on	direct	supervision,	inmate	management,	and	practical	
skills.		The	academy	staff	has	developed	a	training	curriculum	based	on	that	
recommendation,	but	the	staffing	shortage	has	resulted	in	the	training	not	being	
provided	timely.	The	failure	to	timely	provide	the	annual	training	has	resulted	in	IV.	A.	
2.	b.	remaining	in	partial	compliance.	
       The	Consent	Judgment	requires	annual	random	testing	of	5%	of	the	corrections	
officer	staff	(deputies)	on	use	of	force	policies	and	procedures.	The	academy	staff	
worked	with	Monitor	Frasier	to	develop	an	approved	test	which	was	given	to	50	
corrections	staff	members	which	included	10	supervisors	as	had	been	recommended	
by	the	Monitor.		None	of	the	supervisors	failed	the	test.		Thirteen	of	the	40	deputies	
tested	did	fail	the	test.		A	passage	rate	of	less	than	68%	of	the	deputies	indicates	that	
there	is	a	need	for	remedial	training	of	deputies.		As	the	test	has	been	developed,	
approved,	implemented,	and	the	results	analyzed,	IV.	A.	2.	c.	is	now	in	partial	
compliance.		Once	the	changes	have	been	made	to	training	and	implemented,	this	
section	can	be	assessed	as	to	substantial	compliance.	
	New	Recommendation:	
2.     Analyze	the	results	of	the	use	of	force	policy	testing	to	determine	changes	that	
       need	to	be	made	to	the	use	of	force	training.		                                    	




                                      	                                                       10	
 	                   Compliance	Report	#	9	–	August	29,	2018	
      Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 26 of 174



IV. A.	3.	Use	of	Force	Reporting	
            	
            Findings:	
                  	A.	3.	a.	–	Partial	Compliance	
                  	A.	3.	b.	–	Partial	Compliance	
                  	A.	3.	c.	–	Partial	Compliance	
                  	A.	3.	d.	–	Partial	Compliance	
                  	A.	3.	e.	–	Substantial	Compliance	
                  	A.	3.	f.	–		Partial	Compliance	
                  	A.	3.	g.	–	Substantial	Compliance	
                  	A.	3.	h.	–	Partial	Compliance		
                                                                                           	
            Measures	of	compliance:	                                                       	
	                 1.     Comprehensiveness	of	written	policies.	
                  2.     Training,	data	collection	and	analysis.		
                  3.     Supervisory	review	of	uses	of	force.		
                  4.     Review	of	use	of	force	reports.		
                  5.     Review	of	incident	reports.		
                  6.     Review	of	investigations	by	ISB.		
                  7.     Review	of	investigations	by	IAD.	


      Observations:	
	
               The	current	use	of	force	policy	has	been	in	effect	since	May	2016.		The	policy	
      requires	all	uses	of	force	to	be	reported	timely	and	completely	and	sets	out	the	
      potential	discipline	if	the	policy	is	not	followed.		There	are	still	circumstances	where	
      uses	of	force	are	not	properly	reported	and	the	use	of	force	policies	are	not	followed.		
      OPSO	contends	it	is	in	substantial	compliance	due	to	there	being	no	reports	written	
      regarding	staff	not	following	the	policy	during	2018.		As	there	have	been	incidents	
      where	the	policy	has	not	been	followed,	including	by	supervisors,	the	fact	that	no	
      reports	have	been	written	or	discipline	taken	for	staff	to	follow	the	policy	is	in	and	of	
      itself	proof	that	OPSO	is	not	in	substantial	compliance.					
               The	Monitors	continue	to	be	concerned	about	the	failure	to	address	the	issue	of	
      noncompliance	with	the	use	of	force	reporting	policy	by	both	deputies	and	supervisors.		
      The	failure	to	follow	the	use	of	force	reporting	policy	includes	watch	commanders	and	
      wardens.			Review	of	the	use	of	force	investigations	continues	to	reveal	that	the	failure	
      of	supervisors,	including	watch	commanders	and	wardens,	to	follow	the	reporting	
      requirements	of	the	use	of	force	policy	are	not	being	addressed.	While	sending	a	

                                             	                                                    11	
        	                   Compliance	Report	#	9	–	August	29,	2018	
Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 27 of 174



document	or	use	of	force	packet	back	to	the	supervisor	to	complete	appropriately	may	
be	appropriate	for	a	first-time	offense,	OPSO	should	monitor	whether	this	is	sufficient	
to	correct	the	behavior.		Inconsistent	application	of	the	employee	disciplinary	process	
may	be	seen	or	be	interpreted	as	favoritism	towards	supervisors	and/or	an	indication	
that	reporting	uses	of	force	is	not	taken	seriously	by	the	organization.		Ultimately	the	
supervisors	are	responsible,	up	through	and	including	the	warden	ranks,	for	all	failures	
to	properly	report	uses	of	force.	
       In	May	2016,	Monitor	Frasier	provided	to	OPSO	a	suggested	checklist	as	one	
option	to	ensure	the	completeness	of	use	of	force	reports,	compliance,	and	
documentation	of	the	requirements	of	the	Consent	Judgment	(i.e.,	supervisor	present	at	
a	planned	use	of	force,	notify	watch	commander	of	use	of	force,	etc.).		OPSO	has	
recently	begun	using	a	version	of	that	checklist,	but	review	of	the	documentation	
forwarded	to	FIT	by	OJC	indicates	that	the	checklist	and	the	policy	are	not	followed.	
       The	watch	commanders	and	wardens	are	not	consistently	complying	with	the	
requirements	of	the	Consent	Judgment	(IV.	A.	3.	d.	and	3.	f.)	as	to	their	specific	duties	
relating	to	the	uses	of	force.		Their	failure	to	perform	their	duties	completely	and	
timely	has	added	to	the	workload	of	FIT	and	contributed	to	the	backlog	of	
investigations,	ultimately	resulting	in	harm	to	the	inmate	population	as	well	as	safety	
issues	for	employees.	
       Some	of	the	deficiencies	noted	in	the	use	of	force	reporting	system	are:	
           •   Use	of	force	reports	signed	off	by	the	watch	commanders	and	wardens	
               are	often	inadequate	and/or	incomplete.	The	reports	contain	boilerplate	
               and	conclusory	language	that	does	not	allow	the	reader	to	make	an	
               evaluation	of	the	level	of	resistance,	the	level	of	force	used,	and/or	the	
               appropriateness	of	the	force.		For	instance,	reports	continue	to	state,	
               “appropriate	force	was	used”	or	“inmate	was	assisted	to	the	floor”	
               without	detailing	what	type	of	inmate	behavior	prompted	the	use	of	
               force,	de-escalation	efforts,	or	the	type	of	force	used.		
           •   Reports	do	not	routinely	indicate	whether	the	use	of	force	was	
               documented	by	video	even	though	the	incident	most	likely	was	recorded	


                                     	                                                       12	
 	                  Compliance	Report	#	9	–	August	29,	2018	
Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 28 of 174



             due	to	the	extensive	video	system	in	the	jail.		[See	the	findings	in	Section	
             IV.A.5.f.	regarding	deficiencies	in	the	current	video	recording	system.]	
         •   If	supervisors	interview	inmates,	the	most	common	result	of	interviews	
             is	a	notation	that	the	inmate(s)	reported	they	did	not	see	anything	or	did	
             not	wish	to	cooperate.		Fortunately,	the	ISB	is	more	successful	in	
             obtaining	statements	from	inmates	during	their	investigations.		
             However,	often,	by	the	time	ISB	interviews	an	inmate,	the	inmate	has	had	
             time	to	talk	to	other	inmates	to	agree	on	a	“version”	of	events.		Therefore,	
             it	is	important	that	the	supervisors	obtain	timely,	credible,	and	complete	
             statements	from	inmates	and/or	take	steps	to	separate	witnesses.		
             Additional	training	would	be	helpful.	
         •   Watch	commanders	routinely	do	not	submit	the	use	of	force	report	
             within	36	hours,	provide	specific	findings	as	to	completeness	and	
             procedural	errors,	indicate	whether	the	supervisor	believes	the	force	
             was	excessive	or	unnecessary,	or	indicate	whether	the	warden	and	IAD	
             were	notified.	
         •   As	required,	within	36	hours	of	receipt	of	watch	commander’s	report,	the	
             wardens	do	not	submit	a	written	report	or	statement	of	specific	findings	
             and	determination	of	appropriateness	of	the	force	after	their	review	of	
             the	use	of	force	report,	medical	documentation,	and	inmate	discipline.	
             Because	of	the	failure	of	the	watch	commanders	and	wardens	noted	
     above,	many	of	the	investigations	of	incidents	involving	the	questionable	uses	of	
     force	are	initiated	by	the	ISB	as	a	result	of	an	inmate	grievance,	a	report	from	
     the	attorneys	for	the	Plaintiff	class,	or	a	request	from	the	Monitors	rather	than	
     at	the	request	of	OJC	supervisory	personnel.		The	sheer	number	of	use	of	force	
     incidents	strains	the	system’s	resources,	requiring	overtime	by	all	staff	involved,	
     from	the	reporting	deputy	to	the	ISB/FIT	functions	to	adequately	and	timely	do	
     their	jobs.		These	deficiencies	result	in	IV.	A.	3.	a.,	b.,	c.,	d.,	and	f.	continuing	to	
     remain	in	partial	compliance.		Proof	has	been	shown	that	supervisors	are	




                                    	                                                            13	
 	                 Compliance	Report	#	9	–	August	29,	2018	
Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 29 of 174



     present	for	planned	uses	of	force;	therefore,	IV.	A.	3.	e.	has	been	upgraded	to	
     substantial	compliance.	
            FIT	issues	a	quarterly	report	which	has	been	modified	to	contain	all	the	
     information	required	by	IV.	A.	3.	g.		Thus,	this	section	is	now	in	substantial	
     compliance.		The	annual	review	of	use	of	force	incidents	as	required	by	IV.	A.	3.	
     h.	has	not	been	provided	to	the	Monitors	or	parties.		Partial	compliance	is	being	
     given	due	to	the	collection	of	data,	but	the	tallying	of	data	and	tracking	of	
     numbers	on	a	chart	does	not	satisfy	the	requirements	that	a	review	be	
     conducted	and	analyses	as	to	effectiveness	of	the	use	of	force	reporting	system	
     to	reduce	excessive	and	unnecessary	uses	of	force.			
            One	obstacle	to	compliance	is	the	absence	of	an	automated	tracking	
     system	to	ensure	timely	notification	of	a	use	of	force	to	the	wardens.		While	
     completed	incidents	are	assigned	a	number	in	the	OPSO	reporting	system,	the	
     system	does	not	automatically	track	the	incident	to	ensure	the	reports	are	
     written	and/or	reviewed	within	36	hours	and	forwarded	to	ISB.		A	review	of	the	
     system	documentation	indicates	that	at	least	a	cursory	examination	by	the	
     watch	commanders	and	wardens	of	the	use	of	force	reporting	occurs,	but	this	
     information	did	not	enable	the	Monitor	to	determine	whether	the	reviews	are	
     completed	as	per	the	timetable	stipulated	by	the	policy.		The	system	does	not:	1)	
     include	a	mechanism	to	track	timely	completion	of	each	step;	2)	generate	alerts	
     to	notify	the	Chief	of	Corrections	if	the	wardens	do	not	complete	a	timely	
     secondary	review;	or	3)	a	mechanism	to	track	timely	referrals	to	the	ISB.		
     Therefore,	the	review	of	use	of	use	force	reports	is	only	in	partial	compliance	
     with	the	Consent	Judgment.	
            Monitor	Frasier	has	real-time,	off-site,	read-only	access	to	the	incident	
     reporting	system	(Vantos)	in	order	to	review	incident	reports	on	a	
     contemporaneous	basis.		Unfortunately,	the	Vantos	system	has	proven	to	be	
     unreliable	and	is	often	not	available	off-site.		Also,	while	it	is	helpful	to	have	
     access	to	Vantos,	a	large	percentage	of	reports	are	not	being	entered	timely.	In	
     addition,	the	Monitors	do	not	have	ready	access	to	the	findings	from	the	reviews	
     of	the	incident	reports	or	key	evidence	on	which	the	review	was	based,	i.e.,	the	

                                   	                                                       14	
 	                Compliance	Report	#	9	–	August	29,	2018	
    Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 30 of 174



         videos	and/or	staff	and	inmate	interviews.		The	Monitors	also	do	not	have	ready	
         access	to	the	investigations	by	ISB.		OPSO	is	planning	to	implement	a	new	jail	
         management	information	system	in	the	future,	but	it	is	unknown	to	the	
         Monitors	if	any	of	these	deficiencies	will	be	corrected	through	the	new	system.	
	                      	




                                      	                                                    15	
     	               Compliance	Report	#	9	–	August	29,	2018	
      Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 31 of 174



IV.	A.	4.	Early	Intervention	System	(“EIS”)	
	
      Findings:	
            		A.	4.	a.	–	Partial	compliance	
            		A.	4.	b.	–	Partial	Compliance	
            		A.	4.	c.	–	Substantial	Compliance	
            		A.	4.	d.	–	Non-compliance	
            		A.	4.	e.	–	Non-compliance	
      	
      Measures	of	compliance:	
            1.      Comprehensiveness	of	policy.		
            2.      Identification	of	patterns	and	trends.	
            3.      Evidence	of	review	by	command	staff.		
            4.      Monitors’	review	of	quarterly	reports.		
	
      Observations:	
              Since	the	inception	of	the	Consent	Judgment,	a	variety	of	explanations	have	been	
      offered	by	OPSO	for	the	failure	of	the	EIS	to	perform	appropriately.		It	has	now	become	
      clear,	and	OPSO	acknowledges,	that	the	EIS	system	is	non-functional	and	will	not	
      become	functional	due	to	lack	of	technical	support.		An	electronic	based	EIS	system	will	
      not	exist	until	the	new	Jail	Management	System	(JMS)	comes	on	line.		When	the	JMS	will	
      come	on	line	is	uncertain.		As	a	remedy	for	this	important	requirement	of	the	Consent	
      Judgment,	OPSO	has	assigned	a	staff	member	to	FIT	to	maintain	a	data-base	regarding	
      uses	of	force	to	notify	FIT	to	review	a	staff	member.		In	addition,	the	Commander	of	FIT	
      developed	a	computer-based	work	around	the	current	EIS	system.		Therefore,	IV	A.	4.	a.	
      is	in	partial	compliance,	but	IV.	A.	4.	d.	remains	in	Non-compliance.	
              OPSO	has	improved	its	documentation	to	the	Monitors	as	to	the	names	of	the	
      staff	members	who	are	flagged	for	uses	of	force,	if	a	review	is	conducted,	and	any	
      retraining	received,	if	required.		IV.	A.	4.	c.	is	now	in	substantial	compliance.	
              The	Monitors	find	that	a	credible	early	intervention	or	warning	system	collects	
      data	on	a	variety	of	indicators	such	as	uses	of	force,	grievances,	complaints	handled	at	
      the	facility	level,	absences,	etc.	and	as	a	result	of	a	totality	of	incidents	causes	a	review	
      of	an	employee,	and,	if	necessary,	remedial	action	which	is	documented.		The	OPSO	
      current	system,	as	noted	above,	relies	totally	on	the	deputy’s	self-initiated	reports	of	
      uses	of	force,	an	assumption	that	has	proven	to	be	unreliable.		OPSO	has	indicated	that	


                                             	                                                    16	
        	                   Compliance	Report	#	9	–	August	29,	2018	
    Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 32 of 174



    FIT	will	be	involved	in	the	creation	and	implementation	process	of	the	EIS	in	the	JMS.		
    Such	a	plan	is	supported	by	the	Monitor.	
           The	Use	of	Force	Review	Board	has	met	regularly,	but	it	did	not	perform	the	
    evaluation	necessary	for	compliance	with	IV.	A	.4.	e.	
           		
	                        	




                                         	                                                17	
     	                  Compliance	Report	#	9	–	August	29,	2018	
       Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 33 of 174



IV. 5.			Safety	and	Supervision				
	
         Findings:				
            A.	5.	a.	-	Non-Compliance				
            A.	5.	b.	-	Non-Compliance		
            A.	5.	c.	–	Partial	Compliance	
            A.	5.	d.	-	Partial	Compliance	
            A.	5.	e.	-	Non-Compliance			
            A.	5.	f.	-		Partial	Compliance		
            A.	5.	g.	-	Non-Compliance				
            A.	5.	h.	-	Non-Compliance				
            A.	5.	i.	–	Substantial	Compliance			
            A.	5.	j.	–	Partial	Compliance			
            A.	5.	k.	-	Partial	Compliance			
            A.	5.	l.	-		Partial	Compliance		
                      	
	      Measures	of	compliance:	
          1. Comprehensiveness	of	policies	and	procedures	
          2. Training	materials	
          3. Post	orders		
          4. Review	of	incident	reports		
          5. Installation	of	cameras	
          6. Documentation	of	training		
          7. Monitors’	review	of	required	semi-annual	reports.		
       	
       Observations:	
               OPSO	continues	to	face	the	challenge	of	finalizing	policies	and	procedures,	
       developing	credible	training	lesson	plans,	recruiting	staff,	training	staff,	remediating	
       staff	who	do	not	have	the	required	level	of	proficiency,	and	supervising	employees.	
               As	noted	in	the	Introduction,	the	Interim	Independent	Compliance	Director’s	
       initiation	of	unit	management	will	assist	in	the	daily	supervision	of	housing	unit	
       management	and	increase	accountability.	
               Even	as	this	transition	occurs	including	the	hiring	of	qualified	staff,	training,	and	
       increasing	the	capacity	of	first	line	staff	and	mid-managers,	the	level	of	harm	and	risk	
       of	harm	to	inmates	held	in	the	Orleans	Parish	Jail	system	continues	to	be	at	an	
       unacceptable	level.		Thus,	IV.	A.	5.	a.	is	in	non-compliance.		The	policy	regarding	inmate	
       workers	has	not	been	finalized,	thus	section	IV	A.	5.	b.	is	in	non-compliance.	
               While	the	policy	on	protective	custody	inmates	has	been	finalized,	those	
       inmates	continued	to	be	housed	with,	and	exposed	to,	non-protective	custody	inmates.		


                                              	                                                    18	
           	                 Compliance	Report	#	9	–	August	29,	2018	
     Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 34 of 174



     Additionally,	inmates	in	protective	custody	status	are	scattered	in	other	units,	such	as	
     the	mental	health	unit,	for	reasons	not	articulable	to	the	Monitors.		There	have	been	
     numerous	incidents	where	protective	custody	inmates	have	been	targeted	for	violence.	
     Completion	of	the	policy	warrants	a	partial	compliance	of	IV.	A.	5.	c.			
                Because	OPSO’s	current	leadership	has	accepted	that	there	was	underreporting	
     of	serious	incidents	in	the	past,	we	collectively	can	move	away	from	documenting	this	
     finding	to	focusing	on	solutions.	
                With	the	caveats	noted	about	comparing	incidents,	this	information	has	been	
     provided	by	OPSO	and	assembled	by	the	Monitors	based	on	OPSO	regular	reporting.	
                               Table	3	OJC	Reported	Incidents	–	YTD	2018	
                                                   	
                 	                January	 February	   March	    April	   May	    June	   July	   Total	
  Attempt	Suicide/ideation	          6	       14	        4	        5	       0	     6	      9	      44	
           Contraband	               9	       15	        5	        5	      10	     9	     13	      66	
      Criminal	Damage	               3	       10	       11	       12	       8	     3	      3	      50	
              Death	                 		        		        		        		       1	      		     		       1	
           Disturbance	              2	        		        		        		       		      		     		       2	
       Internal	Escape	              2	       2	         3	        4	       5	     7	      3	      26	
               Fire	                 1	        		        		        		       		     2	      		       3	

Inmate	Injury/Inmate	Medical	        9	       5	        22	       22	      19	     32	    30	     139	

     Inmate	Misconduct	              		        		        1	        1	       		      		     		       2	

   Inmate/Inmate	Assault	           38	       28	       38	       38	      52	     46	    30	     270	

      Staff	Misconduct	              		       2	         		        		       		     1	      		       3	

   Inmate	Staff	Altercation	         7	       6	         7	        8	       		     7	      4	      39	
              PREA	                  2	       4	         5	        3	       5	     5	      4	      28	
           Use	of	Force		           13	       10	       21	       22	      24	     26	    20	     136	
              Total	                92	       96	       117	     120	      124	   144	    116	    809	
                                                         	
                In	reviewing	this	data	it	is	critical	to	acknowledge	the	average	daily	population.			
     Because	of	“Operation	Rewind”	in	2017,		OJC’s	average	daily	population	was	895.		For	
     2018	(through	July	2018)	the	average	daily	population	is	1,147.		There	were	a	total	of	
     831	incidents	reported	to	the	Monitors	in	2017.		Computation	of	rates	is	not	included	
     here	as	the	reliability	of	the	data	is	in	question,	and	establishing	rates	contributes	to	

                                                	                                                 19	
       	                       Compliance	Report	#	9	–	August	29,	2018	
       Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 35 of 174



       more	misunderstanding	rather	than	to	problem-solving.	To	develop	strategies	to	
       address	incidents	in	OJC,	having	the	accurate	data	and	analyzing	the	data	(e.g.	by	
       housing	unit,	time	of	day,	day	of	week,	type	of	incident,	inmate	involved,	staff	involved)	
       is	essential.	This	data	is	the	foundation	of	meaningful	corrective	action	plans.	
               The	Monitors	also	examined	the	CCS	clinic	walk-in	logs	to	discern	if	there	were	
       any	trends	related	to	reporting.		For	the	period	of	January	–	mid-April	there	were	437	
       inmates	who	came	to	the	CCS	clinic	with	potentially	reportable	injuries,	mostly	related	
       to	altercations	or	uses	of	force.			Some	of	these	names	are	also	duplicated	on	the	
       emergency	department	“route”	log	noted	below.		The	Monitors	identified	
       approximately	31%	that	might	have	been	reportable	to	the	Monitors	but	not	reported.		
       Further	review	by	OPSO	and	the	Monitors	indicated	the	discrepancies	might	be	related	
       to	labeling	and	late	reporting	(which	is	preferable	as	opposed	to	not	reporting).	
               The	data	reported	by	CCS	for	inmates	taken	to	the	hospital	for	trauma	related	
       incidents	were	also	examined.			For	the	period	January-April	17,	2018,	there	were	95	
       inmates	taken	to	the	emergency	department,	38	for	trauma-related	(e.g.	serious	
       injuries	that	the	medical	provider	referred	to	the	emergency	department	for	events	
       such	altercations,	attempt	suicides,	uses	of	force,	ingestions).		The	Monitors’	
       preliminary	findings	was	that	65%	were	reported;	and	note	there	are	questions	about	
       the	accuracy	of	reported	data	for	January/February.		OPSO	found	in	their	review	of	
       data	from	the	same	period	three	incidents	it	was	unable	to	determine	(fracture	of	facial	
       bones,	eye	injury,	pain	arm/leg),	six	were	not	reported	(fracture	of	metacarpal,	
       suspected	fractured	arm,	head	injury	(2),	hand	fracture,	eyebrow	laceration),	and	two	
       were	duplicates.		The	remaining	incidents	were	reported	(may	have	had	different	
       date/name.	
               The	conclusion	from	this	review	is,	as	noted	above,	the	level	of	disorder	remains	
       too	high,	but	at	least	now	the	Monitors	and	OPSO	are	reaching	agreement	on	the	
       potential	number	of	incidents.			The	data	provided	by	OPSO	also	indicates	upward	
       trends	for	several	categories.7



																																																								
7	Two	undated	memoranda	from	Major	Carols	Louque	to	Margo	Frasier	both	entitled	Document	Request	125.	


                                              	                                                          20	
         	                   Compliance	Report	#	9	–	August	29,	2018	
Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 36 of 174



       		There	are	no	recommendations	forthcoming	from	OPSO	regarding	addressing	
the	data.		Going	forward	the	OPSO	will	be	expected	to	analyze	and	address	the	findings	
in	a	corrective	action	plan.	
       OPSO	has	shown	significant	improvement	since	March	2018	in	the	conducting	
and	documenting	of	security	rounds	(30	minutes	or	15	minutes	depending	on	the	unit).	
However,	it	is	clear	from	the	review	of	records,	observations,	and	investigations	that	
timely	rounds	are	still	not	being	consistently	conducted	as	per	OPSO	policy.		OPSO	has	
instituted	a	practice	of	having	some	staff	assignments	designated	as	mandatory	
assignments	which	has	resulted	in	those	units	being	staffed	in	a	more	consistent	
manner.		However,	some	units	are	routinely	not	adequately	staffed	or	staff	is	absent	
from	the	unit	for	over	an	hour	at	a	time,	sometimes	for	two	hours	or	longer.		During	the	
tour,	it	was	noted	that	there	were	units	which	were	unstaffed,	including	mandatory	
posts.		If	staff	are	not	present,	it	impossible	to	make	the	required	rounds.		The	
improvement	has	resulted	in	OPSO	being	found	in	partial	compliance	with	IV.	A.	5.	d.	
       Due	to	unreliability	of	the	TourWatch	system,	OPSO	reverted	to	paper	logs.		
While	there	is	now	a	policy	in	place	which	requires	supervisors,	up	to	the	level	of	
Watch	Commander	to	review	the	paper	logs	to	ensure	rounds	are	being	conducted,	
OPSO	has	not	audited	compliance	with	this	policy	and	review	of	the	paper	logs	during	
the	tour	revealed	that	rounds	are	not	being	timely	performed.			
       As	related	to	the	on-going	theme	in	this	report	about	staff	shortages,	it	is	the	
Monitors’	view	that	it	is	extremely	unlikely	that	one	deputy	can	effectively	perform	
rounds	in	more	than	one	housing	unit-	unless	their	sole	task	is	to	push	the	TourWatch	
buttons	as	opposed	to	viewing	and	assessing	the	condition	of	each	inmate.	
       An	insufficient	number	of	staff	is	assigned	per	shift	to	relieve	deputies	assigned	
to	housing	units	and	CMTs	for	meal	breaks.		The	practice	is	to	leave	the	housing	units	
and	control	rooms	unstaffed	during	those	times.		This	includes	the	special	management	
housing	units	that	OPSO	has	designated	as	mandatory	posts,	i.e.,	requiring	constant	
staff	presence.			[See	Section	IV.A.6.,	below]	
       While	OPSO	reported	in	its	Compliance	Matrix	that	direct	supervision	was	
occurring	in	three	housing	units,	this	constitutes	only	about	10	percent	of	the	housing	


                                      	                                                    21	
 	                   Compliance	Report	#	9	–	August	29,	2018	
Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 37 of 174



units.		In	addition,	there	are	times	that	the	deputies	are	not	in	those	housing	units.		
Thus,	IV.	A.	5.	e.	is	in	non-compliance.			
       Regarding	overhead	video	surveillance	and	recording	cameras	for	OJC	(A.5.f.),	
there	are	on-going	issues	as	some	of	the	900	cameras	are	not	recording.		This	is	most	
often	discovered	when	investigators	try	to	retrieve	the	videos.	The	system	is	unreliable	
as	at	times	the	videos	are	missing,	but	at	other	times	a	video	is	available.		More	energy	
and	expertise	should	be	devoted	to	finding	a	solution	to	this	technical	issue,	as	the	
absence	of	recording	cameras	is	necessary	for	compliance	as	well	as	inmate	and	staff	
safety.		As	such,	this	paragraph	is	found	to	be	in	partial	compliance.			
       Staff	transferred	from	other	divisions	to	work	in	the	OJC	and/or	assigned	to	
work	in	the	specialty	units	do	not	receive	the	required	training;	thus	A.	5.	g.	and	h.	
continue	to	be	in	non-compliance.			This	is	of	particular	concern	as	OPSO	has	had	
almost	five	years	to	devise	and	implement	this	training.	
       IV.	A.	5.	i.	is	now	in	substantial	compliance	as	there	is	proof	that	supervisors	are	
conducting	daily	rounds	and	noting	their	findings	in	the	paper	logs.				
       The	daily	inspections	of	housing	units	required	by	VI.	A.	5.	j.	is	in	partial	
compliance.		With	the	introduction	of	unit	management,	unit	managers	and	deputies	
are	required	to	conduct	daily	inspections.		However,	simple	observation	of	the	
conditions	of	the	living	units	provides	evidence	that,	while	daily	inspections	may	be	
conducted,	consistent	inspection	standards	need	to	be	communicated	to	the	line	staff	
and	inmates,	and	corrective	action	taken	as	a	result	of	the	inspection	findings.				[See	
also	IV.D.	Sanitation	and	Environmental	Conditions	for	additional	findings.]	
       Shakedowns	are	conducted.	But	as	evidenced	the	amount	of	contraband	
discovered	during	each	time	shakedowns,	the	number	and	type	of	weapons	used	in	the	
inmate-on-inmate	assaults,	and	the	drug	use/overdoses	in	the	facility,	the	shakedowns	
do	not	occur	at	sufficient	regularity	and	are	not	sufficiently	thorough.		A	prime	example	
is	the	set	of	fires	that	occurred	in	May	2018.		An	inmate	was	able	to	secure	a	lighter	and	
start	a	fire	in	his	cell.		Despite	him	having	been	supposedly	searched	when	he	was	
moved	to	another	cell,	he	started	another	fire	using	a	second	lighter.		Once	again,	he	
was	moved	to	another	cell	and	supposedly	searched.		He	was	then	able	to	start	a	third	
fire	with	another	lighter.		

                                      	                                                     22	
 	                   Compliance	Report	#	9	–	August	29,	2018	
    Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 38 of 174



           The	Monitors	are	pleased	that	the	Interim	Independent	Compliance	Director	has	
    devoted	significant	resources	and	effort	to	the	address	the	issue	of	contraband.		The	
    courts,	intake,	and	inmate	workers	appear	to	be	the	most	common	sources	of	
    contraband.		There	continue	to	be	circumstances	where	staff	are	responsible	for	
    smuggling	contraband	into	the	facility.		Preventing	the	introduction	of	contraband	
    must	be	the	goal	as	opposed	to	discovering	it	later	during	shakedowns.	
           OPSO	has	begun	the	process	of	conducting	an	analysis	of	the	shakedown	reports	
    as	to	the	location	of	findings,	linkages	to	previous	shakedowns,	specific	items	found,	
    and/or	the	inmates	involved.		The	Monitors	have	provided	information	regarding	the	
    procedures	used	in	other	jails	to	identify	and	mitigate	contraband.	The	Monitors	
    recommend	formalizing	the	effort	to	determine	the	source	of	the	contraband	and	
    remediate	the	danger.			In	addition,	the	contraband	reports	provided	to	the	Monitors	
    do	not	list	the	contraband	found	as	a	result	of	a	non-routine	shakedown	such	as	those	
    conducted	by	ISB.		It	is	clear	from	the	ISB	reports	that	additional	stashes	of	drugs,	cell	
    phones,	and/or	weapons	were	uncovered	though	the	non-random	shakedowns.		
    Therefore,	IV	A.	5.	k.	and	5.	l.		continue	to	be	in	partial	compliance.	
	                         	




                                          	                                                   23	
     	                   Compliance	Report	#	9	–	August	29,	2018	
       Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 39 of 174



IV.		A.		6.		Security	Staffing	
         	
                Findings:		
                		A.	6.	–	Non-Compliance	
                         		A.	6.	a.		(1)	–	Partial	Compliance		
                         		A.	6.	a.	(2)	–	Substantial	Compliance	
                         		A.	6.	a.	(3)	–	Non-compliance	
                         		A.	6.	a.	(4)	–	Partial	Compliance		
                         		A.	6.	b.	–	Partial	Compliance		
         	
               Measures	of	Compliance:	
               1.    Written	policy/procedure	governing	staffing,	and	reporting	as	required	by	consent	
                     agreement.	
               2.    Completion	of	a	staffing	analysis	per	http://static.nicic.gov/Library/016827.pdf	
               3.    Staffing	plan	(existing	and	new	facilities);	recruiting	plan.	
               4.    Daily	rosters.	
               5.    Overtime	records.	
               6.    Housing	unit	logs.	
               7.    Hiring	of	professional	corrections	administrators	(CV).		Post	order/job	
                     description/organizational	chart.	
               8.    Staffing	report	containing	required	information;	conclusions;	action	plans,	if	any.		
	
       Observations:		
               The	finding	of	compliance	for	this	section	of	the	Consent	Judgment	is	guided	by	
       this	language	(IV.A.6):	
               “OPSO	shall	ensure	that	correctional	staffing	and	supervision	is	
               sufficient	to	adequately	supervise	prisoners,	fulfill	the	terms	of	this	
               Agreement,	and	allow	for	the	safe	operation	of	the	Facility,	consistent	
               with	constitutional	standards.	.	.”	
                       	
               As	the	governing	section	of	this	paragraph	is	non-compliant,	the	entire	section	is	
       non-compliance.				
               There	continues	to	be	is	insufficient	staffing	in	OJC	–	in	the	inmate	housing	
       areas,	in	first	line	supervision,	in	support	functions,	and	in	facility	leadership.			Current	
       OPSO	leadership	has	advised	the	Monitors	that	they	are	unable	to	verify	the	data	for	
       the	hiring	and	termination	data	provided	over	the	last	two	years.		This	makes	problem-
       identification	and	corrective	action	planning	difficult	with	the	absence	of	baseline	data.		
       OPSO	reported	in	a	Memorandum	dated	June	27,	2018,	that	OPSO	was	not	able	to	
       provide	the	current	staffing	analysis	and	the	current	vacancies,	indicating	the	newly	




                                              	                                                              24	
         	                   Compliance	Report	#	9	–	August	29,	2018	
        Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 40 of 174



        appointed	Human	Resources	Director	is	working	to	obtain	a	count	of	active	staff	and	
        provide	an	accurate	number	of	vacancies.8	
                OPSO	hired	a	new	human	resource	director	effective	May	7,	2018.		There	was	a	
        vacancy	in	this	position	since	February	21,	2018.			The	newly	hired	Human	Resources	
        Director	is	aware	of	the	tasks	before	her.			She	plans	to	have	a	recruitment	plan	done	in	
        mid-July.		The	leadership	is	focusing	on	quality	applicants,	not	hiring	just	to	achieve	
        numbers	of	hires.	
                The	newly	hired	Human	Resources	Director	produced	hiring	and	termination	
        data	for	the	first	six	months	of	2018,	with	the	caveat	that	the	process	is	being	evaluated	
        for	accuracy.		Given	this,	the	data	provided	indicates	that	57	individuals	were	hired	to	
        work	in	the	OJC	in	the	first	six	months,	including	8	Corrections	Monitoring	Technicians,	
        and	31	recruits	to,	when	trained,	work	in	OJC.		The	remaining	hires	were	for	
        administrative/leadership	positions	hired	including	in	addition	to	the	Human	Resource	
        Director,	a	director	of	sanitation,	and	a	compliance	manager.		During	this	same	time	
        period,	OPSO	data	indicates	that	there	were	1029	departures	of	jail-related	staff,	
        including	recruit	deputies,	human	resources,	kitchen/warehouse,	and	classification.		As	
        noted	in	previous	compliance	reports,	the	reasons	for	separation	might	inform	the	
        recruitment	and	hiring	processes.		For	those	leaving	in	the	first	five	months	of	2018,	
        the	reasons	given	were	for:		
                •    Corrections	Monitoring	Technicians	–	1	for	misconduct,	1	resigned	under	
                     investigation,	10	failed	to	show	up	for	work,	and	6	noted	“personal”	for	the	
                     reason	for	their	departure;			
                •    Deputies	–	1	deceased,	6	for	misconduct,	13	failed	to	show	up	for	work,	16	
                     for	personal	reasons,	including	health	and	relocation,	3	resigned	while	under	
                     investigation,	and	2	for	unspecified	reasons.	



																																																								
8	Memorandum	of	June	27,	2018	from	Director	Debra	Hammons	to	Susan	McCampbell	
9	As	evidence	of	the	need	for	review	of	the	data,	information	provided	by	OPSO	indicates	102	individuals	related	
to	jail	functions	terminated	employment	in	the	same	time	period.		Reasons	noted	for	leaving	employment	were:		
misconduct	(14),	“no-shows”	(32),	personal	reasons	(43),	resigned	while	under	investigation	or	suspension	(7),	
retired	(1),	problems	with	attendance	(1),	advancement	(1),	promotion	(1),	deceased	(1),	and	“change	in	tax	
status”	(1).	

                                                	                                                             25	
          	                    Compliance	Report	#	9	–	August	29,	2018	
Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 41 of 174



       •   For	46	deputies	hired	in	2017	and	2018	and	leaving	the	within	the	first	five	
           months	of	2018,	their	length	of	stay	in	employment	was	less	than	one	year,	
           some	only	a	few	days	or	weeks.	
       •   Twenty	individuals	hired	between	1987	and	2016	left	employment	during	
           the	first	five	months	of	2018;	the	reasons	cited	were:	1	deceased,	2	
           misconduct,	1	resigned	under	investigation,	1	failed	to	show	up	for	work,	12	
           noted	personal	reasons,	including	1	relocation,	1	retired,	and	1	reason	is	
           unspecified.	
       The	Human	Resources	Director	reports	that	more	attention	will	be	paid	to	not	
only	improved	hiring,	but	better	data	collection	and	analysis.		
       On	February	1,	2018,	OPSO	entered	into	a	contract	with	Segal	Waters,	a	human	
resources	consulting	firm	for	the	purposes	of	auditing	OPSO’s	human	resources	
department,	examining	the	timeliness	of	recruitment,	selection	and	on-boarding	
functions,	reviewing	selection	methods,	evaluating	training	and	leadership	
development	of	employees,	looking	at	the	organizational	structure	and	chain	of	
command,	and,	finally,	to	assist	with	development	of	standard	operating	procedures	
for	the	human	resources	department.		Other	tasks	were	also	enumerated.		
       Although	the	contract	does	not	provide	a	timeframe	for	completion	of	work,	the	
company	has	provided	to	date:	
       •   Draft	–	Recommendations	for	Recruiting,	Retaining	and	Developing	OPSO	
           Correctional	Deputy	Sheriffs:	Correctional	Best	Practices	(6/4/18;)			
       •   Memorandum	from	Adler	to	Bowie	with	summary	of	findings	and	suggested	
           next	steps	(6/15/18);	
       •   Preliminary	Findings	–	Audit	of	Human	Resources	Functions;	
       •   Draft	–	Assessment	of	HR	Functions	–	Suggestions	for	Moving	Forward	
           (5/31/18);		
       •   Draft	Report	#	3	–	Assessment	of	the	HR	Function	Short	and	Mid-Term	
           Recommendations	(5/31/18);	
       •   Draft	–	Revised	-	2018	Corrections	Market	Survey	(June	2018);	and	




                                     	                                                   26	
 	                  Compliance	Report	#	9	–	August	29,	2018	
Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 42 of 174



         •   Memorandum	from	Adler	to	Hodge/Bowie	–	OPSO	Salary	Survey	(6/11/18)	
             –	3	pages.	
         These	preliminary	documents	provide	insight	into	the	issues	facing	OPSO	and	
suggest	some	solutions.		The	responsibility	of	OPSO	appears	to	be	to	examine	the	
information	and	develop	specific	corrective	action	plans.		To	date,	this	has	not	been	
accomplished.	
         As	the	Monitors	are	aware	that	the	2016-2017	data	is	unreliable,	it	is	
challenging	to	make	any	comparisons	or	track	any	trends.		The	Monitors	can	assert	
that,	as	noted	above,	there	is	insufficient	staffing.		We	look	forward	to	the	review	and	
action	regarding	the	Segal	Waters	work	to	date,	and	the	to-be-produced	recruitment	
plan.	
         As	noted	in	previous	compliance	reports,	the	Monitors	recommend	an	overhaul	
of	the	hiring	process	to	address	the	issue	of	turnover	among	recently	hired	staff.	
         Subparagraph	6.a.(1)	-	OPSO	has	completed	a	required	staffing	analysis	as	
required	by	subparagraph	a.	(1).		The	analysis	was	conducted	in	October	2017	and	
does	not	reflect	the	Interim	Independent	Compliance	Director’s	view	of	staffing	(such	
as	unit	management).		It	appears	that	this	work,	as	expected,	needs	to	be	updated.			
OPSO	may	wish	to	review	the	report	produced	pursuant	to	the	Stipulated	Agreement	of	
February	11,	2015,	paragraph	7.d.	in	which	OPSO	evaluated	if	the	use	of	civilians	is	
feasible	for	non-inmate	contact	positions,	and	also	assess	if	there	are	posts	currently	
held	by	sworn	staff	that	can	be	converted	safely	to	civilian	staff	(e.g.	sanitation,	
kitchen).	
         The	Monitors	are	not	able	to	determine	the	number	of	current	vacancies	for	OJC.		
The	effect	of	the	high	number	of	vacancies	is	reflected	in	the	number	of	deputies	and	
CMTs	available	to	staff	the	housing	units.		A	review	of	the	staff	rosters	reflects	that,	
despite	significant	use	of	overtime,	there	are	housing	units	and	control	rooms	for	
which	no	staff	is	assigned,	or	a	deputy	is	assigned	to	cover	two	housing	units.		In	
addition,	very	seldom,	are	there	sufficient	staff	to	relieve	the	CMTs	and	deputies	for	
breaks.		This	results	in	housing	units	and	control	rooms	being	unstaffed	for	long	
periods	of	time.		The	resulting	harm	is	real.		Of	the	542	incidents	serious	enough	to	be	
reported	to	the	Monitors	for	the	period	of	January-May	2018,	OJC	reported	that	no	staff	

                                       	                                                    27	
 	                    Compliance	Report	#	9	–	August	29,	2018	
Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 43 of 174



was	present	in	95	of	the	incidents	and	OPSO	was	unable	to	determine	staff	presence	in	
another	19	incidents.		Thus,	one-fifth	of	the	incidents	occurred	when	OPSO	
acknowledges	there	either	was	not	staff	present	or	they	do	not	know.		Experience	tells	
the	Monitors	that	there	are	other	incidents	occurring	during	the	time	staff	is	not	
present	which	are	never	reported	to	OPSO	or	the	Monitors.				
       Sub-paragraph	IV.6.a.	(2)	–	This	provision	is	in	substantial	compliance	at	this	
time.		With	the	planning	for	Phase	III,	the	Monitors	look	forward	to	examining	the	
staffing	plan.	
       Sub-paragraph	IV.6.a.	(3)	–	This	provision	it	is	now	in	non-compliance	with	the	
departure	of	the	Chief	of	Corrections	in	March.		There	currently	is	recruitment	for	this	
position.	
       Sub-paragraph	IV.6.a.	(4)	–	This	paragraph	is	in	partial	compliance,	as	monthly	
reports	have	not	been	produced	regarding	hiring	and	termination	of	employees.		The	
Stipulated	Agreement	also	provides	for	bi-monthly	reports	regarding	hiring.			
       Sub-paragraph	IV.6.b.	–	This	provision	is	in	partial	compliance,	as	noted	above,	
as	full-staffing	has	not	been	achieved,	it	is	not	possible	to	determine	if	the	
requirements	of	the	Consent	Judgment	are	met.		
       As	noted	in	previous	compliance	reports	on-going	concerns	include:	
       •     Entry	level	and	career	salary	ladders;	
       •     Competency	based	training	for	supervisors	and	managers;	
       •     Refinement	of	the	entire	process	for	recruitment,	background	investigation,	
             selection,	and	on-boarding	for	new	employees	(pursuant	to	Segal	Waters’	
             recommendations);	
       •     Continued	improvements	in	pre-service	training;	
       •     In-service	training	to	refine	skills	and	address	deficiencies	in	operations	
             revealed	by	internal	review	of	incidents;	and	
       •     Organizational	Structure	and	Span	of	Control	-	The	Monitors	have	
             consistently	recommended	attention	to	the	organizational	structure	and	
             assurance	that	there	is	appropriate	number	of	first,	mid,	and	upper	level	
             managers,	supervising	the	right	number	of	line	and	support	staff.		


                                       	                                                    28	
 	                    Compliance	Report	#	9	–	August	29,	2018	
       Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 44 of 174



IV.	7.		Incidents	and	Referrals					
	
       Findings:	
             		A.	7.		a.	-	Partial	Compliance	
             		A.	7.		b.	–	Partial	Compliance				
             		A.	7.		c.	–	Substantial	Compliance			
             		A.	7.		d.	–	Partial	Compliance			
             		A.	7.		e.	–	Partial	Compliance			
             		A.	7.		f.	–	Partial	Compliance		
             		A.	7.		g.	–	Partial	Compliance					
             		A.	7.		h.	–	Partial	Compliance			
             		A.	7.		i.	-		Non-Compliance			
             		A.	7.		j.	-		Non-Compliance			
             	
       Measures	of	compliance:	
             1.      Comprehensiveness	of	written	policies	
             2.      Training	
             3.      Data	collection	and	analysis	
             4.      Supervisory	review	of	uses	of	force	
             5.      Review	of	use	of	force	reports	
             6.      Review	of	incident	reports,	review	of	investigations	by	SOD	
             7.      Review	of	investigations	by	IAD			
             8.      Monitors’	review	of	required	semi-annual	reports.		
                 	
       Observations:	
               OPSO	has	long	had	a	policy	on	incidents	and	referrals	that	sets	out	the	process	
       for	documenting	and	referring	incidents.		What	has	been	lacking	is	a	sufficient	process	
       to	ensure	all	reportable	incidents	are	being	documented	and	that	the	incidents	are	
       being	recorded	adequately,	timely,	and	accurately.		OPSO	has	shown	improvement	in	
       the	reporting	of	incidents,	but	there	are	still	incidents	which	are	not	timely	reported	to	
       OPSO	and/or	the	Monitors.		
               One	of	the	methods	for	determining	whether	incidents	are	being	reported	is	to	
       review	‘routes’	–	inmates	with	serious	medical	or	trauma	injuries	((e.g.	serious	injuries	
       that	the	medical	provider	referred	to	the	emergency	department	for	events	such	
       altercations,	attempt	suicides,	uses	of	force,	ingestions)that	they	are	transferred	to	the	
       emergency	room,	and	clinic	walk-in	logs.		These	data	were	analyzed	for	the	period	of	
       January	1,	2018-April	17,	2018.			In	addition	to	the	issues	identified	pertaining	to	the	
       safety	and	security	of	the	inmates,	it	bears	repeating	that	there	were	no	incident	
       reports	for	six	of	the	emergency	room	transfers	(for	January	–	mid-April)	and	it	


                                              	                                                 29	
        	                    Compliance	Report	#	9	–	August	29,	2018	
Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 45 of 174



appears	all	trauma	related	transfers	have	been	reported	for	the	period	mid-April	-	
June.		It	is	also	noted	that	the	CCS	Medical	Director	revised	practices	that	resulted	in	
decreases	of	emergency	room	transfers	significantly,	(e.g.	50%),	as	noted	in	the	
Medical	Monitor’s	section	of	this	report.				
           A	review	of	the	clinic	walk-in	logs	for	the	same	period	provided	this	
information:	
•       Of	the	1,019	clinic	walk-in	log	entries	for	this	time	period	January	thru	mid-April,	
        42%	(N=433)	appear	to	be	related	to	inmate	altercations,	suicide	attempts,	and	
        trauma.		In	initial	review	by	the	Monitors,	approximately	145	of	these	appeared	not	
        to	have	been	reported	to	the	Monitors.		Examples	of	the	unreported	incidents	
        captured	on	the	CCS	logs	include:	
           o Use	of	pepper	spray	and	uses	of	force,	unresponsive	patient,	head	trauma,	
               “swallowed	heroin”,	altercations,	suicidal,	eye	trauma	(3),	head	injury	(2),	
               ingestion	of	unknown	substance,	laceration	to	head,	fractured	jaw	(2),	
               broken	nose,	ingestion	of	pills.	
•       Ninety	percent	(90%)	of	reportable	incidents	not	reported	occurred	between	
        January	1	and	February	28th	.			
OPSO	was	provided	this	list	compiled	by	the	Monitors	from	the	CCS	walk-in	logs,	and	
noted	that	of	the	incidents	in	question	and	reports:		54	were	reportable	and	not	
reported;	34	were	considered	non-reportable	to	the	Monitors	(e.g.	medical	
emergencies	not	related	to	altercations,	uses	of	force);	1	was	a	duplicate,	1	was	
undetermined;	and	11	were	avertedly	not	reported	due	to	a	clerical	error.		The	
remainder	of	the	incidents,	OPSO	claims	were	reported.		The	discrepancy	may	be	due	
to	names	and	dates	as	the	Monitors	reviewed	the	data.	
           While	the	quality	of	report	overall	has	improved,	the	deficiencies	in	the	quality	
of	reports	continues	to	exist;	the	failure	of	the	reports	to	contain	all	the	information	
required	in	OPSO’s	policy	and	the	too	often	use	of	boilerplate	language.		The	incident	
reports	examined	by	the	Monitors	were	often	found	to	be	inadequate	and/or	
incomplete,	and	conclusory	language	that	does	not	allow	the	reader	to	make	an	
evaluation	of	what	occurred,	the	reason	for	the	occurrence,	whether	staff	acted	


                                         	                                                     30	
    	                   Compliance	Report	#	9	–	August	29,	2018	
    Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 46 of 174



    appropriately,	and	what	steps	must	be	taken	to	prevent	a	similar	incident	from	
    occurring	in	the	future.			Such	reports	are	being	approved	by	a	supervisor.		As	with	use	
    of	force	reports,	there	is	no	automatic	tracking	system	to	ensure	timely	reviews	and	
    notifications	are	being	made.		While	completed	reports	are	required	to	be	assigned	a	
    number,	there	is	no	follow	up	to	make	sure	the	reports	are	written	and/or	are	
    reviewed	within	the	24	hours	required	by	the	Consent	Judgment.			
           No	periodic	reports	detailing	reportable	incidents	have	been	submitted	to	the	
    Monitors	as	required	under	IV.	A.	7.	f.		The	reports	that	were	provided	are	the	list	of	
    inmate-on-inmate	assaults	and	criminal	investigations	conducted	by	the	Criminal	
    Investigation	Division	of	ISB.		[See	also	VII.B.	regarding	identification	of	serious	
    deficiencies]	
           The	adequacy	of	the	policies	and	procedures	and	reporting	system	is	crucial	to	
    the	Monitors,	and	the	leadership	of	OPSO,	being	able	to	rely	on	the	accuracy	of	the	
    periodic	reports	that	are	to	be	submitted	under	IV.	A.	7.	f.	and	g.	and	the	sufficiency	of	
    the	annual	review	that	is	to	be	conducted	under	IV.	A.	7.	h.	which	requires	OPSO	to	
    assess	whether	the	incident	reporting	system	is	meeting	the	requirements	of	the	
    Consent	Judgment.	
	                         	




                                          	                                                    31	
     	                   Compliance	Report	#	9	–	August	29,	2018	
       Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 47 of 174



IV.	A.	8.		Investigations					
	
       Findings:	
             A.	8.	a.	–	Substantial	Compliance					
             A.	8.	b.	-	Substantial	Compliance			
             A.	8.	c.	-	Substantial	Compliance		
             A.	8.	d.	-	Substantial	Compliance			
             A.	8.	e.	-	Substantial	Compliance			
             A.	8.	f.	-	Substantial	Compliance			
                                                                                    	
               Measures	of	compliance:	                                         	
                  1.      Review	of	incident	reports,		                         	
                  2.      Review	of	use	of	force	reports,		
                                                                                    	
                  3.      Review	of	investigations	by	SOD,		
                  4.      Review	of	investigations	by	IAD,	and		                    	
                  5.      Monitors’	review	of	required	semi-annual	reports.		       	
                                                                                	
       Observations:	
       	           The	Investigative	Services	Division	(ISB)	is	responsible	for:		the	Criminal	
       Investigation	Division	(investigates	possible	criminal	activity	by	inmates),	Internal	
       Affairs	Division-Criminal	(investigates	possible	criminal	activity	by	staff),	the	FIT	
       (investigates	use	of	force	by	staff),	the	Internal	Affairs	Division-Administrative	
       (investigates	possible	violation	of	policies	by	staff),	and	the	Intelligence	Unit	(provides	
       information	and	intelligences	regarding	activities	that	have	taken	place	or	may	take	
       place	in	the	jail	or	support	activities).		At	one	time,	some	of	the	divisions	had	been	
       moved	out	from	under	the	supervision	of	ISB.		The	Monitors	urge	that	all	of	the	
       divisions	remain	under	one	command	as	it	makes	for	better	collaboration	among	the	
       various	groups	conducting	investigations.	
                   Significant	evidence	of	substantial	compliance	was	provided	for	IV.	A.	8.		The	
       Monitors	are	concerned	about	the	time	investigations	are	taking,	but	part	of	that	
       reflects	the	poor	quality	of	the	reports	providing	the	basis	for	the	investigations	as	well	
       as	the	sheer	volume	of	incidents	requiring	the	attention	of	ISB.		Improvements	in	all	
       other	areas	from	hiring,	training,	supervision,	and	adequate	staffing	will	enhance	the	
       safety	of	staff	and	inmates	–	and	ultimately	decrease	the	workload	of	ISB.	
                   After	several	years	at	OPSO,	the	leadership	of	ISB	has	been	exposed	to	
       corrections	long	enough	to	overcome	their	initial	lack	of	corrections	experience.		


                                                   	                                                 32	
           	                      Compliance	Report	#	9	–	August	29,	2018	
Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 48 of 174



The	Monitors	acknowledge	that	investigating	incidents	of	inmate	on	inmate	assaults,	
sexual	assaults,	staff	on	inmate	assaults,	etc.	with	a	goal	of	seeking	indictments	is	
appropriate;	but	the	overall	goal	is	to	create	a	safe	jail.		In	a	jail	setting,	investigations	
play	just	as	critical	a	role	in	terms	of	protecting	inmates	from	inappropriate	or	illegal	
staff	actions,	protecting	inmates	from	each	other,	and	correcting	policy,	practice,	
supervision	and	training.		Continued	emphasis	needs	to	be	placed	on	having	as	one	of	
goals	of	investigations	being	the	prevention	of	future	incidents	through	analysis	of	the	
policy,	procedures,	training,	supervision,	and	physical	plant	contributors	to	the	
incident.		This	function	cannot	and	should	not	be	performed	by	ISB	alone.		This	level	of	
assessment	requires	input	from	individuals	who	have	a	high	level	of	experience	in	
jail/corrections	work.	In	short,	it	requires	collaboration	between	ISB	and	OJC	which	
continues	to	be	wanting.		The	OJC	staff	should	take	the	lead	in	the	root	cause	analysis	
with	ISB	providing	information	gathered	during	the	investigation.	
	       In	the	past,	the	Monitor’s	reviews	of	a	sample	of	investigations	conducted	by	ISB	
revealed	a	contrast	between	the	investigations	conducted	by	the	criminal	division	and	
administrative	divisions	of	the	IAD.		The	IAD-Criminal	investigations	appeared	to	be	
more	thorough	and	complete.		The	quality	of	the	investigations	from	the	IAD-
Administrative	Division	has	continued	to	improve.		
	       ISB	has	received	significant	additional	training.		However,	additional	training	
regarding	investigations	in	a	corrections	setting	regarding	sexual	abuse,	assault,	
harassment,	and	voyeurism	(PREA	related)	needs	to	be	provided.		ISB	has	made	
contact	with	an	outside	expert	to	arrange	for	the	needed	training.		
	       In	addition	to	the	investigators	assigned	to	ISB,	watch	commanders	and	
wardens	have	a	role	in	investigations.		Unfortunately,	the	watch	commanders	and	
wardens	often	lack	the	investigative	knowledge	or	skills	and	thus	actually	hinder	ISB’s	
work	to	complete	a	thorough	investigation.		In	particular,	the	lack	of	investigative	
knowledge	and	skills	by	watch	commanders	and	wardens,	especially	in	regard	to	the	
investigation	of	sexual	assaults,	has	the	potential	to	further	victimize	or	re-traumatize	
inmate	victims.		ISB	has	provided	training	to	supervisors	on	crime	scene	preservation,	
but	incidents	continue	to	occur	where	the	crime	scene	is	comprised	before	the	arrival	
of	ISB.		The	recent	promotion	of	several	investigators	from	ISB	to	supervisory	positions	

                                      	                                                       33	
    	                Compliance	Report	#	9	–	August	29,	2018	
    Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 49 of 174



    with	OJC	will,	hopefully,	help	bridge	the	knowledge	gap.		In	addition,	IAD-Criminal	has	
    set	up	a	procedure	where	agents	are	available	during	ISB’s	off	duty	hours	to	respond	to	
    OJC	if	a	significant	incident	occurs,	such	as	a	sexual	assault,	suicide,	or	arson,	to	take	the	
    lead	on	the	investigation	and	collect	forensic	evidence.	
    	       ISB	provides	reports	in	substantial	compliance	with	IV.	A.	8.	e.		The	one	item	left	
    in	this	section	that	was	not	in	substantial	compliance	was	IV.	A.	8.	f.		ISB	has	now	begun	
    to	review	the	reports	to	determine	whether	the	investigation	system	was	meeting	the	
    requirements	of	the	Consent	Judgment	and	forward	any	recommendations	to	the	
    Monitors.		ISB	has	done	so	as	evidenced	not	only	by	their	analysis,	but	also	the	
    movement	of	PREA	investigations	under	IAD-Criminal	and	the	formalization	of	a	call	
    out	policy	for	the	collection	of	forensic	evidence	in	serious	incidents.	
	                         	




                                          	                                                    34	
        	                Compliance	Report	#	9	–	August	29,	2018	
       Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 50 of 174



IV.	A.	9.						Pretrial	Placement	in	Alternative	Settings	
	
        Findings:		       	
                 A.9.a.	–	Substantial	Compliance	
                 A.9.b.	-	Substantial	Compliance	
        	        	
       Measures	of	Compliance:		
          1. Memorandum	of	understanding	(MOU)	with	Pre-Trial	Services.	
          2. Observation	
          3. Interview	with	pre-trial	services	staff	
          4. Review	of	files	
          5. Review	of	data	regarding	pre-trial	diversion	
	
       Observations:		
              The	Monitors	have	received	no	information	regarding	absence	of	compliance	
       with	this	provision.		OPSO	provided	a	Policy	and	Procedure	Manual	for	the	Orleans	
       Parish	Criminal	District	Court,	Court	Intervention	Services,	Pretrial	Services	Program.		
              OPSO	provided	a	memorandum	stating	they	are	in	compliance	with	sub-
       paragraph	A.9.b.	regarding	holding	inmates	for	ICE.		The	assertion	is	based	on	a	
       spreadsheet	noting	refusals.	
	
	                            	




                                             	                                                35	
        	                   Compliance	Report	#	9	–	August	29,	2018	
             Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 51 of 174



    IV.	A.	10.	Custodial	Placement	within	OPP	                                                                    	

    Introduction	

                OPSO	has	designed,	validated,	and	implemented	an	objective	classification	to	assess	
    and	house	each	OSPO	inmate	according	to	the	risks	he/she	poses	to	institutional	safety	and	
    security.	The	automated	classification	system	was	rolled	out	in	the	Jail	Management	
    System	(JMS)	on	January	15,	2015.	10		According	to	the	OPSO	staffing	plan,	staffing	for	the	
    Classification	Unit	(Unit)	was	set	at	18	classification	specialists	and	a	classification	
    manager.		As	of	June	11,	2018	the	classification	“unit”	staffing	roster	lists	12	individuals	–	
    11	civilian	classification	specialists	and	a	classification	manager.		As	of	April	2018,	the	
    single	deputy	assigned	to	the	Classification	Unit	resigned.	Two	of	the	11	classification	
    specialists	are	on	maternity	leave;	the	dates	for	their	return	have	not	been	set.	Thus,	the	
    active	roster	includes	10	staff	members	for	the	18	positions	identified	for	the	Classification	
    Unit	in	the	October	2017	OPSO	staffing	analysis.	This	creates	challenges	for	the	24/7	
    coverage	at	the	OJC	to	ensure	that	the	custody	assessments,	housing	assignments,	
    classification-related	grievances,	and	audits	are	completed	in	accordance	with	OPSO	
    policies.	
                Each	classification	specialist	has	received	training	on	the	principles	of	objective	
    classification	and	instruction,	the	custody	and	PREA	assessment	instruments,	and	the	
    OPSO	housing	matrix.	During	this	compliance	reporting	period	–	November	2017	–	May	
    2018	–	in-service	training	topics	included:	Use	of	Attachments	for	the	custody	
    assessments,	Instructions	for	reading	the	National	Criminal	Information	Center	Reports	
    (NCIC	rap	sheets),	and	Sexual	Preference/Identification	screens	within	the	JMS.	
                To	assign	inmates	to	a	housing	unit	and	bed,	OPSO	has	developed	an	automated	
    housing	assignment	process	that	considers	the	inmate’s	custody	level,	gender,	special	
    population	status,	PREA	designations,	enemies,	and	associates	as	well	as	bed	availability	to	
    recommend	an	appropriate	bed	for	the	inmate	housing	locations	for	each	inmate	

																																																								
10	Hardyman,	Patricia	L.	(2015).	“Design	and	Validation	of	an	Objective	Classification	System	for	the	Orleans	
Parish	Sheriff’s	Office:	Final	Report.”	Hagerstown,	MD:	Criminal	Justice	Institute,	Inc.	
	

                                                                    	                                            36	
                	                                  Compliance	Report	#	9	–	August	29,	2018	
      Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 52 of 174



according	to	his/her	custody	level,	PREA	designations,	reported	enemies	and/or	
associates,	gender,	age,	medical,	and	mental	health	needs	from	which	the	classification	
specialist	must	select	a	housing	assignment/bed.	Separations	for	special	populations	have	
been	incorporated	into	the	automated	Housing	Unit	Assignment	Plan	(HUAP).	
Identification	tags	have	been	created	to	identify	inmates	on	suicide	observation	vs.	suicide	
watch,	those	undergoing	detox	for	alcohol	and/or	controlled	substances,	and	those	
participating	in	the	Travis	Hill	High	School.	The	OJC	and	TDC	dormitory-style	units	have	
been	cataloged	in	the	automated	system	to	enable	the	classification	specialists	to	assign	
inmates	to	specific	beds.	Although	Classification	and	JMS	staff	worked	together	to	develop	
an	Inmate	Separation	Instrument	(ISI)	to	maintain	out-of-	cell	separations,	the	ISI	is	used	
by	deputies	assigned	to	inmate	housing	units	only	within	the	special	management	pods.	
The	Housing	Audits	did	not	consistently	track	or	report	use	of	the	ISI,	thus	the	integrity	of	
the	housing	separations	by	custody	level,	PREA	designations,	and	other	separations	
concerns	among	OPSO	inmates	housed	out-of-parish	is	questionable.	This	absence	of	
integrity	in	this	important	process	poses	an	on-going,	unnecessary	threat	to	inmate	and	
staff	safety	within	the	special	population	pods,	i.e.,	those	that	house	a	mixture	of	inmates	
by	custody	level	and/or	special	management	requirements.	
       The	standardized	monthly	statistical	reports	as	to	the	timeliness	of	the	initial	
custodial	assessments;	the	custody	distributions;	prevalence	of	special	populations;	as	well	
as	the	rates	and	types	of	disciplinary	infractions	were	submitted	to	the	Monitor	as	
scheduled.	However,	many	of	the	documents	provided	in	response	to	the	formal	document	
request	for	this	compliance	visit	did	not	address	compliance	inquiry.	For	example,	in	
response	to	a	request	for	documentation	of	the	reclassification	process,	specifically	the	
housing	backlog,	a	set	of	Housing	Monitor	Lists	was	provided,	but	no	analyses	of	OPSO	
findings	or	corrective	action	plans.	In	response	to	the	request	for	a	description	of	in-	
service	training	during	the	compliance	period,	provided	was	a	document	that	simply	read,	
"Currently	the	Classification	Division	has	been	placing	attachments	in	the	correct	places	for	
the	initial	classification	as	well	as	Re-classifying	inmates.	Reading	the	NCIC	screens	and	Rap	
sheets	to	retrieve	the	pertinent-information	that	qualifies	to	place	in	AS	400	for	every	
inmate."		The	actual	training	schedule	and	topics;	lesson	plans;	attendance	reports;	and	


                                            	                                                     37	
       	                   Compliance	Report	#	9	–	August	29,	2018	
             Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 53 of 174



    demonstration	of	knowledge	would	have	been	more	complete	response	to	the	document	
    request.	
                Summary:	In	sum,	the	OPSO	is	in	partial-compliance	with	the	paragraphs	of	the	
    Consent	Judgment	related	to	Custodial	Placement	within	OPP	(IV.	A.10).	During	this	six-	
    month	period,	the	OPSO	moved	from	Non-Compliance	to	Partial-Compliance	on	Section	d.	
    (Continue	to	update	the	classification	system)	but	from	Partial-Compliance	to	Non-
    Compliance	on	Section	f.	(Conduct	internal	and	external	review	and	validation	of	the	
    classification	and	prisoner	tracking	system	on	at	least	an	annual	basis)	due	to	the	failure	to	
    maintain	the	on-going	housing	and	custody	audit	protocols.	The	compliance	rating	for	the	
    remaining	six	sections	did	not	change.	
                Notable	observations	for	this	compliance	period	include:	
                •     Active	staffing	levels	for	the	classification	unit	slipped	back	to	10	from	15	
                      individuals.	It	is	anticipated	that	the	two	individuals	on	maternity	leave	will	
                      return	within	the	next	few	months;	
                •     The	only	monthly	statistical	report	specified	in	the	Consent	Judgment	not	
                      provided	was	the	rates	of	victimization	of	inmates	on	the	mental	health	caseload.	
                      OPSO	reports	these	data	should	be	available	for	the	July	2018	monthly	reports	as	
                      CCS’	electronic	medical	record	created	the	linkages	for	updating	medical	and	
                      mental	health	data	for	the	custody	and	PREA	assessments.	
                •     Completion	of	the	statistical	validation	of	the	OPSO	objective	classification	
                      system	and	PREA	assessments.	Latessa	and	Lovins	(April	2018)1011	found	that	
                      the	OSPO	objective	classification	instruments	provide	for	validation	
                      assessments	of	infractions	for	both	male	and	female	inmates,	although	the	
                      ability	of	the	reclassification	instrument	to	separate	medium	and	high-risk	
                      females	was	minimal.		Further	the	current	classification	assessment	provided	a	
                      valid	measure	of	risk	for	both	Caucasians	and	individuals	of	color.	
                	
                	
                	
																																																								
    11	Lovins,	Brian	K.	and	Edward	Latessa.	(April	2018)	“Revalidation	of	the	Orleans	Parish	Classification	
      System.	Cincinnati,	Ohio:	University	of	Cincinnati	Corrections	Institute.	
	

                                                                    	                                          38	
                	                                  Compliance	Report	#	9	–	August	29,	2018	
         Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 54 of 174



    Assessment	Methodology	
                This	report	was	based	on	observation	of	the	initial	classification	and	housing	
    assignment	processes;	onsite	meetings	with	OPSO	and	JMS	staff;	and	review	of	monthly	
    custodial,	disciplinary,	training,	and	housing	audit	reports	for	November	2017–	May	
    2018,	and	review	of	documents	provided	prior	to	and	during	the	compliance	visit.	
           	

    IV.A.10.	a.	OPP	shall	implement	an	objective	and	validated	classification	system	that	
    assigns	prisoners	to	housing	units	by	security	levels,	among	other	valid	factors,	in	
    order	to	protect	prisoners	from	unreasonable	risk	of	harm.		The	system	shall	
    include:	consideration	of	a	prisoner’s	security	needs,	severity	of	the	current	charge,	
    types	of	prior	commitments,	suicide	risk,	history	of	escape	attempts,	history	of	
    violence,	gang	affiliations,	and	special	needs,	including	mental	illness,	gender	
    identity,	age,	and	education	requirements.	OPSO	shall	anticipate	periods	of	unusual	
    intake	volume	and	schedule	sufficient	classification	staff	to	classify	prisoners	within	
    24	hours	of	booking	and	perform	prisoner	reclassifications,	assist	eligible	DOC	
    prisoners	with	re-entry	assistance	(release	preparation),	among	other	duties	related	
    to	case	management.	
           	
           Finding:			Partial	Compliance	
           	
           Measures	of	Compliance:	
           1.   Written	policy/procedure	governing	the	intake,	booking,	classification	and	re-
                classification	process.	
           2.   Report	including	a	statistical	validation	of	the	OPSO	current	custody	classification	system	that	
                includes	statistical	assessment	of	the	risk	and	need	factors	of	the	inmate	populations	by	
                gender	and	race.	
           3.   Implementation	of	the	identified	updates	via	an	electronic	file	with	the	completed	
                custody	assessments	for	OPSO	population.	
           4.   Report	documenting	required	staffing	needs.	
           5.   Implementation	of	viable	classification/case	management	staffing	plans.	
           	
           Observations:	
           The	classification	specialists	did	not	have	a	complete	copy	of	the	current	
    classification	or	PREA	handbooks	readily	available	in	their	work	areas	as	reference	
    tools	for	checking	offense	severity,	codes	for	disciplinary	infractions,	and	the	like.	The	
    offense	and	disciplinary	severity	indexes,	for	example,	were	missing	every	other	page.	
    Staff	was	not	familiar	with	the	handbooks,	in	particular	the	Offense	Severity	Index	for	
    coding	the	type	of	crime	within	the	custody	attachments.	
	                                   	


           	
                            Compliance	Report	#	9	–	August	27,	2018	                                                39	
      Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 55 of 174



       As	of	June	11th,	the	Classification	Unit	roster	lists	12	individuals	--	The	Classification	
Manager	and	11	civilian	classification	specialists	--	for	the	18	positions	assigned	to	the	
Classification	Unit	as	per	the	OPSO	2017	staffing	analysis	plan.	The	one	deputy	assigned	to	
the	Unit	resigned	in	April	and	the	OPSO	has	no	immediate	plans	for	filling	that	position.	
This	staffing	limits	the	Unit’s	ability	to	complete	required	housing	audits,	respond	to	
grievances,	and	conduct	interviews	regarding	protective	custody	and	housing	re-	
assignments.	Responsibility	for	addressing	custody	and	housing-related	grievances	and	
conducting	interviews	of	individuals	requesting	protective	custody	have	been	assumed	by	
the	Classification	Manager	and	one	of	the	shift	leaders.	Importantly,	housing	audits	have	
not	been	conducted	since	March.	The	classification	shift	leaders	and	specialists	work	
overtime	to	keep	up	with	the	workload.	In	order	to	ensure	the	integrity	of	the	classification	
system	and	prevent	burnout	of	the	Classification	Unit	staff,	the	OPSO	should	assign	a	
deputy	for	conducting	the	housing	audit	or	modify	its’	policy/procedures	to	allow	the	
civilian	classification	specialists	to	conduct	the	housing	audits.	
       Leadership	within	the	Classification	Unit	shifted	to	the	Classification	Manager,	who	
in	turn	reports	to	the	Independent	Compliance	Director	Hodge.	The	voice	of	the	
Classification	Unit	needs	to	be	strong	to	ensure	the	Unit	is	actively	integrated	into	the	
agency	to	ensure,	for	example,	the	Unit	controls	all	housing	transfers	and	assignments	and	
to	facilitate	timely	identification	and	resolution	of	problems.	Problems	such	as	
missing/incomplete	audit	files;	missing	medical/mental	health	data;	absence	of	
classification	handbooks	within	the	classification	work	areas,	and	errors	in	the	recording	
of	criminal	history	data	should	not	be	identified	by	the	Monitor’s	inquiries,	but	by	OPSO.	
       New	Recommendations:	
       3.      Assign	a	deputy	to	the	Classification	Unit	or	modify	policy	to	allow	the	
               classification	specialists	to	conduct	the	housing	audits,	interviews,	etc.	
       4.      Restart	the	audit	process	as	soon	as	possible	to	verify	the	actual	housing	
               location	of	the	inmate	to	ensure	matches	housing	assignments	generated	by	
               classification.	




       	
                      Compliance	Report	#	9	–	August	27,	2018	                                  40	
Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 56 of 174



 5.   Distribute	the	Classification	and	PREA	Handbooks	to	each	classification	
      specialists	and	place	copy(s)	in	the	classification	interview	area	to	ensure	
      quick	and	easy	access	to	all.	




 	
             Compliance	Report	#	9	–	August	27,	2018	                                 41	
          Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 57 of 174



    IV.A.10.b.	Prohibit	classifications	based	solely	on	race,	color,	national	origin,	or	
    ethnicity.	                                                                                                       	
           	
           Finding:		Substantial	Compliance	
           Measures	of	Compliance:	
           1.   Implementation	of	a	valid	classification	system	based	on	the	objective	and	reliable	risk	and	need	
                factors	of	the	OPSO	inmate	populations	as	documented	by	a	written	report	on	the	
                design/validation	of	the	revised	classification	system	and	electronic	file	of	custody	assessments.	
           2.   Provide	a	quarterly	report	that	tracks	custody	distributions	by	housing	unit	race,	and	gender	to	
                the	Monitor.	
           	
           Observations:	
           Custody	assessments	are	based	on	objective	risk	factors	that	have	been	validated	for	
    OPSO	males	and	female	inmates.	Race	is	not	one	of	the	objective	risk	factors.	OPSO	has	
    created	monthly	statistical	reports	to	track	classifications	by	race.	Timely	reports	were	
    submitted	to	the	Monitor	during	this	compliance	period.	
           As	the	Consent	Judgment	specifically	prohibits	classification	by	race,	immediate	
    concerns	were	raised	when	two	of	the	classification	specialists	indicated	that	race	was	a	
    criterion	for	matching	“cell-mates.”	Observation	of	the	housing	assignments	revealed	that	
    custody	level,	PREA	designation,	age	and	race	were	considered	when	selecting	among	the	
    potential	beds	identified	by	the	automated	housing	module	when	assigning	an	inmate	to	a	
    specific	bed.	This	was	not	a	consistent	pattern	across	all	of	the	classification	specialists	as	
    when	observing	other	classification	specialists,	race	was	not	a	considered	when	selecting	a	
    specific	cell/bed	for	inmates.	The	inconsistencies	in	the	housing	criteria	among	the	
    classification	specialists	indicated	inadequacies	on	the	initial	training	protocols	as	well	as	
    inadequate	supervision	and	quality	assurance	protocols	for	the	custody	assessment	and	
    housing	processes.			Although	the	majority	of	the	classification	special	did	not	appear	to	
    use	race	as	one	of	the	criteria	for	matching	”cell-mates,”	this	issue	will	be	closely	
    monitored	during	the	upcoming	compliance	period.	Failure	to	address	these	concerns	and	
    recommendations	will	cause	this	provision	to	revert	to	non-compliance.		
	                                  	




           	
                            Compliance	Report	#	9	–	August	27,	2018	                                            42	
Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 58 of 174



 New	Recommendation:	
 6.	   Implement	ongoing	audit/quality	assurance	protocol	to	ensure	consistent	
       compliance	with	OPSO	classification	policies	and	classification	and	housing	
       procedures	as	defined	in	the	OPSO	Classification	and	PREA	handbooks	and	to	
       ensure	that	race	is	not	used	as	a	housing	criterion.	




 	
             Compliance	Report	#	9	–	August	27,	2018	                                 43	
      Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 59 of 174



IV.A.10.c	Ensure	that	the	classification	staff	has	sufficient	access	to	current	
information	regarding	cell	availability	in	each	division.	                                                      	
       	
       Finding:	Substantial	Compliance	
       	
       Measures	of	Compliance:	
       1.   Develop	and	implement	a	housing	unit	assignment	plan	that	outlines	the	mission,	number	of	
            beds	and	custody	level(s)	for	each	OPSO	housing	unit.	
       2.   Provide	a	report	of	the	daily	counts	to	the	classification	housing	staff	as	to	the	number	of	
            occupied,	vacant,	and	out-of-order	beds	per	pod	per	housing	unit	with	electronic	copies	of	the	
            daily	reports	provided	to	the	Monitor.	
       	
       Observations:	
       OPSO	has	developed	an	automated	housing	assignment	process	that	considers	the	
inmate’s	custody	level,	gender,	special	population	status,	PREA	designations,	enemies,	and	
associates	as	well	as	bed	availability	to	recommend	an	appropriate	bed	for	the	inmate.	
Separations	for	special	populations	have	fully	identified	and	incorporated	into	the	
automated	HUAP.	Identification	tags	are	used	to	identify	inmates	on	suicide	observation	
vs.	suicide	watch,	alcohol/drug	detox,	and	school	participation.	Classification	specialists	
are	provided	a	listing	of	mission	of	each	unit	to	facilitate	selection	of	the	“best”	bed	from	
among	those	identified	by	the	JMS	as	compatible	based	on	the	inmate’s	custody,	PREA	
designations,	separations,	medical,	and	mental	health	needs.	
       Previous	problems	of	Security/Operations	moving	inmates	without	going	through	
the	Classification	Unit	for	housing	unit	transfers	appear	to	have	been	addressed.	
       Housing	units	closed	due	to	staff	and/or	fluctuations	on	the	average	daily	OPSO	
population	as	well	as	cells/beds	take	off-line	for	repairs	are	printed	on	the	daily	population	
sheets	generated	by	the	JMS	did	not	appear	to	be	a	full	listing	of	the	cells	closed	for	
maintenance.	However,	the	classification	specialists	maintain	a	separate	inventory	of	
cells/beds	that	are	off-line	for	maintenance	as	well	as	a	list	of	cell	restrictions	for	medical	
isolations.	While	this	manual	process	does	not	appear	to	hamper	the	classification	
specialists’	ability	to	identify	an	appropriate	bed	for	an	inmate,	it	suggests	inefficiencies	
between	the	automated	Jail	Management	System,	and	the	classification,	housing,	and	facility	
maintenance	processes.	


       	
                        Compliance	Report	#	9	–	August	27,	2018	                                              44	
     Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 60 of 174



       Classification	specialists	also	maintain	a	current	inventory	of	bed	assignments	to	
avoid	duplications	due	to	delays	between	the	housing	assignments	and	physical	transfer	of	
the	inmate	to	the	designated	housing	unit.	Thus,	as	required	by	the	Consent	Judgment,	the	
classification	specialists	appear	to	have	access	to	current	information	regarding	bed	
availability	throughout	the	OJC,	however	the	current	process	entails	maintaining	multiple	
manual	lists	creating	opportunity	for	housing	errors	and	backlogs	for	moving	inmates	from	
booking	to	the	appropriate	housing	pod.	
       New	Recommendation:	
      7.     Use	 the	 efficiencies	 of	 the	 automated	 workflow	 processes	 within	 the	 JMS	 to	
             eliminate	duplication	of	effort,	numerous	emails,	and	miscommunication	across	
             divisions/unit	of	the	OPSO.	




       	
                     Compliance	Report	#	9	–	August	27,	2018	                                 45	
     Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 61 of 174



IV.A.10.d.	Continue	to	update	the	classification	system	to	include	information	on	
each	prisoner’s	history	at	OPSO.	                                                                             	
      	
       Finding:	 Partial	Compliance	
       Measures	of	Compliance:	
       1.   Any	automated	management	information	system	will	include	accurate	data	within	eight	
            hours	of	the	custody	assessment	or	status	change,	data	regarding	the	inmates’	custody	level,	
            medical,	disciplinary	infractions,	mental	health,	and	custody	assessment	(date,	risk	factor	
            scoring,	override	reason	[if	applicable],	and	custody	level).	Monitor	will	conduct	audit	of	
            random	sample	of	cases	to	determine	accuracy	and	timely	entry	of	data.	Compliance	
            standard	will	be	90%	accurate	and	reliable.	
       2.   The	custody	assessments	shall	be	updated/reviewed	every	120	days,	a	hearing	for	a	
            disciplinary	infraction	for	major	infraction,	legal	status	change,	new	information	from	the	
            court,	and	a	major	jail	incident	to	include	PREA	or	other	major	incident/investigation.	
            Monitor	will	conduct	audit	of	random	sample	of	cases	to	determine	accuracy	and	timely	entry	
            of	data.	Compliance	standard	will	be	90%	accurate	and	reliable.	
       	
       Observations:	
       As	shown	in	Figure	1,	the	monthly	custodial	reports,	as	provided	by	OPSO,	
have	indicated	a	significant	decrease	in	the	lag-time	between	booking	and	the	
initial	classification.	Further	when	the	percentage	of	inmates	for	whom	initial	
custody	and	housing	assessments	were	completed	improved.	For	example:	
   o Percent	Initial	Custody	Assessments:	As	of	October	2017,	initial	custody	
       assessments	were	completed	for	only	69.9	percent	of	the	inmates	booked	into	
       OJC.			Custody	and	PREA	assessments	WERE	completed	for	all	inmates	prior	to	
       their	transfers	from	the	booking	area	to	OPSO	housing	units,	however	
       approximately	30	percent	were	released	from	OPSO	prior	to	completion	of	the	
       initial	classification	process.		Over	the	last	six	months	–	November	–	May	2018	-	
       the	percentage	of	inmates	for	which	an	initial	custody	assessment	was	completed	
       increased	to	80.1	percent.	However,	this	rate	is	still	below	the	January	2017	rate	
       of	91.9	percent.	
   o Percent	Within	8	Hours:	As	of	January	2017,	initial	custody	assessments	were	
       completed	within	the	first	eight	hours	of	booking	for	92	percent	(91.9%)	of	the	
       OPSO	inmates.	As	of	October	2017,	the	initial	custody	assessment	was	completed	
       within	eight	hours	of	booking	for	only	51.4	percent	of	the	inmates,	but	by	May	
       2018,	the	initial	classification	was	completed	for	three	quarters	(74.8	percent)	of	

       	
                       Compliance	Report	#	9	–	August	27,	2018	                                             46	
  Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 62 of 174



   the	inmates	within	the	first	eight	hours	of	detention.	
o Percent	Greater	Than	24	Hours:	As	of	January	2017,	the	lag	time	
   between	booking	and	the	initial	custody	assessment	was	more	than	
   24	hours	for	only	.1	percent	of	the	inmates,	but	by	October	2017,	12.8	
   percent	of	the	inmates	remained	in	booking	for	more	than	24	hours	
   prior	to	their	initial	classification.	As	of	May	2018,	the	lag	time	
   between	booking	and	classification	was	24+	hours	for	only	.4	percent	
   of	the	inmates.	Thus,	the	lag	time	between	booking	and	classification	
   improved	significantly	during	this	compliance	period.	

 100.0%
  90.0%     91.9%                                                                            80.1%
  80.0%
  70.0%                                                                                      74.8%
  60.0%
  50.0%
                                                                          46.7%
  40.0%
  30.0%
                                                                                             24.8%
  20.0%
  10.0%     7.9%                                                                             0.4%
   0.0%
             7




             8
             7
           17
           17




           17




           18
           17
            7




            8
            7




            8
            7

            7
           17




           18
            7
       r -1




       r -1
        l -1
          -1




          -1
          -1




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       t-1

       v-1

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   M
           % Initial Classifications     % - 8 hrs         % - 24 hrs          % - 24+ hrs
                                                                                                      	
   	
       Figure	1:	Rates	and	Completion	Time	for	Initial	Custody	Assessments:	2017	-	
                                       May	2018	
           The	Classification	Monitor	List	(List)	is	an	ad	hoc	report	that	identifies	all	
  inmates	for	whom	a	custody	review	is	required	for	a	regular	90-day	re-assessment	
  or	because	of	some	change	or	event	within	their	jail	records,	i.e.,	change	in	their	
  charge(s),	bail	amount,	disciplinary	record,	detainer	lodged/lifted,	and/or	sentence.	
  As	of	October	27,	2017,	144	inmates	were	due	for	a	custody	re-assessment.	As	of	
  June	11,	2018,	the	number	of	inmates	on	the	List	had	been	reduced	significantly;	a	
  custody	review	was	pending	for	only	27	inmates.	While	the	number	of	inmates	on	
  the	list	varies	throughout	a	day	according	to	the	flow	of	inmates	back	from	court,	
  through	booking	process,	etc.,	at	least	one	classification	specialist	is	assigned	to	the	
   	
                      Compliance	Report	#	9	–	August	27,	2018	                                  47	
      Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 63 of 174



      task	of	completing	the	custody	reviews	on	each	of	the	shifts.	
        Following	Compliance	Report	#8,	OSPO	took	immediate	steps	to	work	with	CCS	to	
rebuild	the	linkages	between	the	medical	records	and	JMS	as	well	as	ensure	that	the	
medical/mental	health	assessment	data	were	linked	to	the	new	jail	management	system.	
Initial	medical/mental	health	assessment	data	from	the	intake	processes	are	uploaded	to	
the	JMS	from	the	CCS	electronic	medical	records.12	Thus,	information	on	the	following	risk	
factors	for	the	PREA	victimization	and	predation	assessments	are	available	to	the	
classification	specialists	for	the	initial	classification	and	housing	assessments:	
        •   Physical	stature	-	The	JMS	looks	for	the	height	and	weight	input	as	part	of	
            the	initial	medical	assessment	by	Correct	Care	Solutions	(CCS).	
        •   Developmental/Medical	Disability	(Medical	Special	Needs)?	
        •   Psychiatric	patient	(Mental	Health	Special	Needs)?	
        •   Gay/Lesbian/Bisexual/Transgender/Intersex	or	overtly	effeminate?	
        •   History	of	any	sexual	abuse	within	the	community	during	the	past	15	years?	
        •   Does	the	individual	feel	vulnerable	in	jail?	
        •   Overtly	masculine	(females	only)?	
However,	the	linkages	between	electronic	medical	records	(ERMA)	and	the	JMS	to	update	
the	medical/mental	health	data	have	not	been	completed.	As	of	June	28,	2018,	CCS	
indicated	that	the	linkages	have	been	built	and	data	were	passed	to	the	JMS.	OPSO	
reports	that	verification	that	the	CCS	data	were	properly	uploaded	to	the	JMS	and	linked	
to	the	custody	and	PREA	assessment	programs	should	be	completed	by	July	1,	2018.	
Thus,	critical	information	for	custody	re-assessments	and	housing	assignments	were	not	
at	the	time	of	the	compliance	tour	available	to	the	classification	specialists.	Subsequent	
inquiries	as	to	the	status	of	the	data	sharing,	revealed	another	delay.	The	data	are	now	
projected	to	be	available	by	July	15th.	.	
        	
        	

12As	identified	by	the	Monitor	in	the	preparation	of	Compliance	Report	#8,	beginning	in	March	2017,	the	
  medical/mental	health	assessment	data	from	the	CCS	electronic	medical	records	were	not	uploaded	to	
  the	OPSO	JMS.	Thus,	information	required	for	PREA	victimization	and	predation	assessments	were	not	
  available	to	the	classification	specialists.	



        	
                        Compliance	Report	#	9	–	August	27,	2018	                                           48	
      Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 64 of 174



        New	screening	questions	as	to	identify	inter-sex	and	transgender	inmates	were	built	
into	the	JMS	to	better	track	inmate’s	sexual	identification	and	search	preferences.	These	
data	were	recommended	for	the	compliance	with	the	PREA	standards	and	have	been	built	
into	the	PREA	vulnerability	assessments.	
        The	OPSO	disciplinary	process	tracks	the	institutional	misconduct	among	OSPO	
inmates	housed	at	OJC,	TDC,	and	Hunt.	Disciplinary	data	for	the	inmates	housed	at	out-of-	
parish	at	the	Riverbend	Correctional	Center	(RCC)	and	East	Carroll	Parish	(ECP)	were	also	
input	into	the	JMS.	As	of	June	6,	2018,	all	of	the	OPSO	inmates	have	been	transferred	back	
to	OJC	from	ECP	and	RCC.	Thus,	going	forward,	the	delay	in	the	entry	of	the	disciplinary	
dispositions	into	the	JMS	and	thus	available	for	the	custody	re-assessments	should	be	
minimized.	
        The	Monitor’s	review	of	the	custody	assessments	completed	by	the	classification	
specialists	as	part	of	a	technical	assistance	(TA)	visit	in	April	2018	revealed	that	the	prior	
criminal	history	data	were	not	correctly	entered	into	the	JMS.	Thus,	while	they	were	
reviewing	the	NCIC	rap	sheets,	the	custody	and	PREA	assessments	were	still	not	correctly	
scored.13	The	Monitor’s	observations	of	the	initial	classification	process	during	this	
compliance	tour	indicated	that,	for	the	most	part,	the	criminal	history	data	were	now	
reviewed	and	input	into	the	JMS.		However,	there	were	inconsistencies	in	the	
interpretation	of	the	criminal	history	data	and	classification	specialists	were	not	routinely	
using	the	offense	and	disciplinary	severity	indexes	created	for	the	OPSO	classification	
system.	Again,	this	absence	of	integrity	in	these	important	processes	poses	an	ongoing,	
unnecessary	threat	to	inmate	and	staff	safety.	
        The	Monitor’s	assessment	of	the	reclassification	process	indicated	that	the	
classification	specialists	were	not	reviewing	the	criminal	rap	sheets.	When	asked,	staff	
explained	that	the	criminal	history	factors	did	not	change	from	initial	to	reclassification,	
thus	did	not	have	to	be	rechecked.	This	rational	is	problematic	given	that,	prior	to	April	
2018,	criminal	history	data	were	not	properly	reviewed	and	input	into	the	system;	thus,	for	
        	
13Additional	immediately	instruction	was	provided	by	the	Monitor	and	the	need	for	additional	training	as	to	
  how	to	read	a	NCIC	report	and	to	input	these	data	within	the	JMS	was	recommended	to	the	Classification	
  Manager.	

        	
                        Draft	Compliance	Report	#	9	–	July	30,	2018	                                        50	
      Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 65 of 174



many	custody	assessments,	the	data	were	incomplete.	The	reclassification	process	was	
merely	rubber-stamping	the	errors	of	the	initial	custody	assessments.	The	previous	
recommendation	to	develop	and	implement	an	on-going	quality	control	process	to	ensure	
the	integrity	of	both	the	initial	and	reclassification	processes	remains	unheeded.	
       While	custody	re-assessments	are	completed	for	OPSO	inmates	housed	out-of-
parish,	notification	of	the	out-of-parish	facilities	as	to	any	changes	in	the	custody	or	PREA	
designations	did	not	occur	during	this	compliance	period	for	the	inmates	housed	at	ECP,	
RCC,	or	Hunt.	At	this	point	,	the	notifications	are	no	longer	relevant	for	the	OPSO	inmates	
are	no	longer	housed	at	RCC	and	ECP.	At	Hunt,	the	housing	is	single-cells,	thus	separation	
by	custody	level	and	PREA	designation	are	maintained,	except	if	the	individuals	mingle	are	
simultaneously	released	for	recreation,	group,	etc.	
       New	Recommendations:	
       8.     Provide	additional	training	as	to	how	to	read	a	NCIC	report	and	to	input	
              these	data	within	the	JMS.	
       9.     Require	review	the	criminal	history	rap	sheets	as	part	of	the	custody	review	
              process	to	ensure	data	are	complete	and	up-to-date.	




       	
                     Compliance	Report	#	9	–	August	27,	2018	                                  51	
       Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 66 of 174



IV.A.10.e.	Continue	competency-based	training	and	access	to	all	supervisors	on	the	
full	capabilities	of	the	OPSO	classification	and	prisoner	tracking	system.	                                       	
       	
        Finding:	Partial	Compliance	
        Measures	of	Compliance:	
        1. Written	directive	governing	training	of	staff	assigned	to	classification.	
        2. Curriculum	for	competency-based	training	regarding	the	custody	classification	system,	housing	
           assignment	process,	work/community	assignments,	and	case	management.	Evidence	of	
           knowledge	gained.	
        3. Staff	training	roster(s)	and	competency	tests	following	completion	of	competency-based	training	
           by	current	classification/case	management	staff.	
        4. Staff	training	roster(s)	and	competency	tests	following	completion	of	competency-based	training	
           by	all	new	or	re-assigned	staff	on	assignment	to	classification/case	management	duties.	
        5. Curriculum	for	classification	module	within	the	basic	academy	training	curriculum	for	OPSO	
           staff.	Evidence	of	knowledge	gained.	
        6. Staff	training	roster(s)	and	competency	tests.	
        	
        Observations:	
        During	this	compliance	period,	the	Classification	Manager	and/or	shift	supervisors	
provided	instruction	to	the	classification	specialists	regarding	the	importance	and	how	to	
input	the	criminal	history	data	from	the	NCIC	rap	sheets	and	how	to	complete	the	new	
PREA	sexual	identification	tracking	screens	within	the	JMS.	Due	to	staffing	schedules,	
formal	training	sessions	were	not	held;	a	shift	leader	or	the	classification	manager	simply	
provided	informal	instruction	to	the	classification	specialists.	Training	“rosters”	indicate	
that	each	of	the	classification	specialist	received	the	instruction	related	to:	“Criminal	
History	&	Attachments”	and	“Updating	the	Inmate	Locations,	Bottom	Bunks,	and	Review	of	
Previous	Classification	Notes.”	A	“roster”	was	not	available	to	verify	instruction	for	all	
specialists	as	to	the	new	PREA	sexual	identification	tracking	screens.	
        The	quality	and	consistency	of	the	verbal	instruction	provided	by	the	shift	
supervisors/classification	manager	were	questionable	as	the	classifications	specialists	
clearly	had	different	understandings	of	the	attachment	screens,	were	inputting	the	
incorrect	dates14,	and	were	not	using	the	OPSO	offense	severity	and	disciplinary	indexes.	
        	
14For	example,	while	observing	the	custody	assessments	during	this	site	visit,	it	was	noted	that	the	
  classification	specialists,	for	example,	were	inputting	the	date	of	the	custody	assessment	rather	than	the	
  dates	of	the	prior	convictions	on	the	attachments.	Thus,	the	JMS	incorrectly	computed	the	time	since	the	
  conviction.	Again,	routine	quality	control	checks	or	even	just	shadowing	of	the	classification	specialists	
  would	have	quickly	identified	the	error.	

        	
                         Compliance	Report	#	9	–	August	27,	2018	                                               52	
      Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 67 of 174



       There	did	not	appear	to	be	a	protocol	for	auditing	the	assessments	following	the	
verbal	instruction	is	completed	to	ensure	the	data	were	correctly	input	from	the	NCIC	rap	
sheets.	While	classification	staff	shortages	across	the	multiple	shifts	pose	challenges	for	
any	training	process,	the	inconsistent	and/or	incomplete	training	does	little	but	to	confuse	
and	frustrate	staff.	The	product	--	the	custody	assessments	--	is	not	improved.	Again	as	
previously	recommended,	a	systematic	random	audit	process	should	be	implemented	to	
monitor	accuracy	of	the	risk	factor	scoring	as	well	as	housing	assignments	in	order	to	
address	the	on-going,	unnecessary	threat	to	inmate	and	staff	safety.	




       	
                     Compliance	Report	#	9	–	August	27,	2018	                                  53	
      Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 68 of 174



IV.A.10.f.	Conduct	internal	and	external	review	and	validation	of	the	classification	
and	prisoner	tracking	system	on	at	least	an	annual	basis.	                                                   	
       	
       Finding:	Non-compliance	
       Measures	of	Compliance:	the	OPSO	information	system	to	monitor:	
       1.   Custody	distributions	by	gender,	race	and	special	populations.	
       2.   Override	rates.	
       3.   Housing	by	custody	level/special	needs,	and	race.	
       4.   PREA	separations.	
       5.   Custody	re-assessments	(regular	and	for-cause,	#	over-due,	et	al.).	
       6.   Electronic	copies	of	the	quarterly	and	annual	reports	shall	be	provided	to	the	Monitor	with	
            documentation	of	steps	(tasks	and	dates)	taken	to	address	any	noted	inconsistencies	with	OPSO	
            policies.	
       	
       Observations:	
       Timely	monthly	custodial	statistical	reports	for	October	2017	–	May	2018	as	to	the	
number	custody	assessments	by	type,	gender	and	population	were	submitted	the	Monitor.	
The	Monitor	received	the	OPSO	daily	population	sheet	that	tracks	the	number	of	inmates	
by	location.	
       Housing	audit	summary	reports	were	received	for	October	2017	–	March	2018.	
Although	the	folders	with	the	audit	score	sheets	were	reviewed	during	the	April	TA	visit,	
the	forms	could	not	be	found	for	the	June	compliance	tour.	During	the	April	TA	visit,	the	
Monitor	worked	with	the	classification	deputy	to	update	the	audit	score	sheet	and	monthly	
summary	reports	to	record	checks	of	bunk	assignments,	use	of	the	ISI,	and	presence	of	the	
pod	deputy	on	the	unit.	As	the	audit	score	sheets	were	not	available	for	the	June	visit,	the	
October	–	March	audit	summary	reports	were	not	updated,	and	no	audits	were	conducted	
in	April	–	June,	the	integrity	of	the	housing	assignment	process	could	not	be	assessed	for	
this	compliance	report.	OPSO	has	failed	to	maintain	critical	processes	of	auditing	and	
enforcing	the	housing	assignments	as	identified	by	the	objective	classification	and	housing	
assessment	processes.	
       OPSO	has	proposed	that	responsibility	for	the	housing	audits	be	transferred	from	
the	Classification	Unit	to	the	newly	designated	Unit	Managers	as	part	of	their	role	of	
maintaining	the	integrity	of	housing	and	separations	within	the	pods.	While	this	idea	has	
merit	as	ensuring	inmates	are	in	their	assigned	cells	and	bunks	are	fundamental	tasks	for	


       	
                       Compliance	Report	#	9	–	August	27,	2018	                                         54	
     Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 69 of 174



the	Unit	Managers,	random	independent	audits	by	the	Classification	Unit	are	essential	to	
ensure	classification	maintains	control	of	the	housing	assignment	process.	
       Regardless	of	who	is	assigned	responsibility	for	conducting	the	housing	audits,	
written	procedures	for	the	housing	audit	process	based	on	the	updated	the	audit	score-	
sheets	must	be	developed.	As	noted	in	Compliance	Report	#	8,	the	housing	audit	process	
raised	several	concerns	that	suggested	the	audits	were	not	providing	a	full	picture	of	the	
integrity	of	the	housing	assignments	and	pod-level	separations	within	OPSO	housing	units.	
These	concerns	must	be	addressed	as	part	of	the	written	procedures	for	the	housing	audit	
process:	
       •    Schedule:	The	audit	schedule	should	ensure	each	pod	is	audited	randomly	
            throughout	the	month.		Special	units	may	require	additional	audits.	
       •    Time:	Audits	should	occur	across	all	shifts.	
       •    Staffing:	More	than	one	individual	(deputy	or	civilian)	should	be	responsible	for	
            the	housing	audits	to	ensure	checks	across	shift,	schedule,	and	inter-rater	
            reliability.	
       •    Audit	worksheets:	Update	the	audit	score	sheets	and	housing	rosters	to	provide	
            for	standardized	scoring,	for	example,	a	specific	mark/note	should	have	the	
            same	meaning	across	audit	score-sheets.	
       •    Coverage:	All	OJC	and	TDC	housing	units	should	be	audited.	
       •    Detail:	The	updated	audit	score-sheet	records	compliance	with	cell	and	bunk	
            assignments	as	per	the	most	recent	housing	transfer.	
       •    Reporting:	Responsibility	for	compiling	a	summary	the	individual	pod	level	
            audits	must	be	determined.	The	individual	should	have	skills	for	data	
            computation,	graphing,	analyses	of	trends,	and	generating	recommendations	for	
            addressing	problems	or	patterns.	
       As	part	of	the	ongoing	classification	and	housing	processes,	the	classification	shift	
supervisor	reviews	the	JMS	reports	to	identify	placement	errors	and	ISI	separation	
conflicts.	Errors	are	corrected	immediately.	Thus,	the	housing	separation	errors	detected	
by	the	JMS	are	resolved	quickly	to	prevent	conflicts	and	enhance	staff	and	inmate	safety.	
However,	reliance	on	the	automated	housing	violation	reports	to	detect	housing	and	

       	
                        Compliance	Report	#	9	–	August	27,	2018	                                55	
       Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 70 of 174



custody	assessment	errors	is	insufficient	to	ensure	institutional	safety	and	security.	
        An	internal	auditing/quality	control	process	was	re-started	in	November	2017.	The	
monthly	reports	indicate	102	cases	were	audited	between	November	2017	and	May	2018.	
This	represented	about	.7%	of	the	15,093	custody	assessments	completed	during	this	six-	
month	period.	The	process	for	selecting	cases	to	be	audited	remains	unclear,	or	at	the	least,	
inconsistent	as	the	auditors	described	conflicting	procedures.	Nonetheless,	the	system	
should	be	revamped	to	ensure	larger	samples	and	consistency	across	auditors.	
        OPSO	contracted	with	Dr.	Edward	Latessa	and	Dr.	Brian	Lovins	(University	of	
Cincinnati)	for	a	revalidation	of	the	classification	system	as	required	by	the	Consent	
Judgment.	The	final	report	was	submitted	to	the	OPSO	on	April	30,	2018.15	The	report	was	
based	on	the	custody	and	PREA	assessments	completed	between	September	1,	2015	and	
October	18,	2017.		Key	findings	included:	
        o “Current	initial	classification	instrument	provides	a	valid	assessment	for	
             infractions	for	both	male	and	female	inmates.	There	are	also	clear	demarcations	
             between	minimum,	medium,	and	high	classification.”	
        o “Current	reclassification	instrument	is	valid	for	both	the	males	and	females,	
             although	the	ability	of	the	instrument	to	separate	medium	and	high-risk	females	
             was	minimal.”	
        o PREA	Assessments:	The	predation	assessment	appeared	to	differentiate	high	
             risk	from	the	potential/low	risk.	
        o Victim	Potential:	The	validity	of	the	victim	assessments	could	not	be	assessed,	as	
             the	OPSO	data	do	not	consistently	track	victimization.	
        o Recommendations	for	improving	the	system	included:	
                 ▪ Initial	classification	instrument	-	Recode	the	risk	factors	for	Institutional	
                     Violence,	Open	warrant,	and	Current	Age	factors	as	well	as	remove	the	
                     factors	for	Escape	History,	Severity	of	Prior	Convictions	and	Number	of	
                     Prior	Convictions.	
                 ▪ Reclassification	instrument	–	Use	the	revised	initial	classification	
         	
15		Op	Cit.	Lovins,	Brian	K.	and	Edward	Latessa	(April	30,	2018).		




         	
                         Compliance	Report	#	9	–	August	27,	2018	                               56	
      Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 71 of 174



                  instrument	but	add	the	current	reclassification	risk	factors	for	number	
                  and	severity	of	disciplinary	reports.	
              ▪ Develop	a	screener	instrument	to	expedite	the	intake	process.	
       While	it	is	important	to	recognize	that	the	current	initial	and	custody	reviews	as	
well	as	the	predation	assessments	were	found	to	be	valid	assessments	of	OSPO	inmates’	
threats	to	institutional	violence	and	disruption,	OPSO	should	carefully	consider	Latessa	and	
Lovins’	recommendations	for	implementation.	As	the	underlying	intent	of	the	CJ	
requirement	for	annual	reviews	and	validation	is	to	ensure	that	the	system	is	accurate	for	
the	OPSO	current	inmate	population,	OPSO	should	take	advantage	of	these	detailed	
statistical	analyses	of	the	system.	The	breadth	and	quality	of	data,	particularly	that	
associated	with	institutional	disciplinary	and	incidents,	currently	available	to	inform	any	
updates	to	the	system	is	well	beyond	that	which	was	available	for	the	original	design	and	
validation	of	the	system.	OPSO	should	not	rest	on	its	laurels	of	a	valid	objective	system,	but	
step	forward	and	implement	updates	to	make	it	even	better.	
       New	Recommendations:	
       10.    Develop	written	procedures	and	training	materials	for	the	housing	audit	
              process;	train	those	assigned.	
       11.    Re-start	the	housing	audit	process	with	audits	by	Unit	Managers	and	
              Classification	Unit.	
       12.    Expand	the	internal	audits	of	the	custody	and	housing	assessments	to	include	
              a	random	sample	of	1-2%	of	the	assessments	completed.	
       13.    Address	the	recommendations	by	Lovins	and	Latessa.	




       	
                     Compliance	Report	#	9	–	August	27,	2018	                                  57	
     Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 72 of 174



IV.A.10.g. Provide	the	Monitor	a	periodic	report	on	classification	at	the	Facility.	These	
periodic	reports	shall	be	provided	to	the	Monitor	within	four	months	of	the	Effective	Date	
and	every	six	months,	thereafter,	until	termination	of	this	Agreement.	Each	report	will	
include	the	following	information:	
       (1)     number	of	prisoner-on-prisoner	assaults;	
       (2)     number	of	assaults	against	prisoners	with	mental	illness;	
       (3)     number	of	prisoners	who	report	having	gang	affiliations;	
       (4)     most	serious	offense	leading	to	incarceration;	
       (5)     number	of	prisoners	classified	in	each	security	level;	
       (6)     number	of	prisoners	placed	in	protective	custody;	and	
       (7)     number	of	misconduct	complaints.	
                                                                                                     	
       	
       Finding:	Partial-compliance	
       Measures	of	Compliance:	
       1.   Annual	and	bi-annual	tracking	reports	within	the	OPSO	information	system	to	monitor	
            number/rates	during	the	last	12	months	and	for	the	stock	population:	
            o number	of	prisoner-on-prisoner	assaults/custody	level	by	gender;	
            o number	of	assaults	against	inmates	with	mental	illness	by	gender;	
            o number	of	inmates	who	report	having	gang	affiliations	by	gang	affiliation;	
            o most	serious	current	offense	leading	to	incarceration	by	gender;	
            o number	of	inmates	currently	classified	in	each	security	level;	
            o number	of	inmates	placed	in	protective	custody;	
            o number	of	inmates	in	administrative	segregation;	and	
            o number	of	major	and	minor	misconduct	complaints.	
       	
       Observations:	
       Monthly	custodial,	discipline	and	inmate	statistical	reports	were	received	through	
May	2018.	OPSO	has	improved	in	the	development	of	statistical	reports	as	required	under	
section	IV.A.10.g,	but	work	remains.	The	only	data	not	provided	were	the	rates	of	
victimization	of	inmates	on	the	mental	health	caseload.	As	noted	earlier,	these	data	are	
dependent	upon	timely	information	from	the	mental	health	provider.	
       Updated	data	for	the	inmates	identified	as	having	gang	affiliations	were	to	be	
uploaded	to	the	JMS	in	early	June.	Unfortunately,	ongoing	data	files/uploads	have	not	been	
coordinated	between	OPSO	and	NOPD	during	this	compliance	period.	Thus,	it	is	
questionable	if	the	gang-related	data	within	the	JMS	reflected	current	gang	affiliations	as	
identified	by	NOPD	investigations.	OPSO	has	re-assigned	a	liaison	between	the	NOPD	and	
OPSO	to	ensure	ongoing	sharing	of	these	data.	The	liaison	will	need	to	establish	a	written	
process/procedures	to	share	gang-related	information	between	the	OPSO	and	NOPD.	The	


       	
                       Compliance	Report	#	9	–	August	27,	2018	                                    58	
        Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 73 of 174



OPSO	is	also	notified	by	the	district	attorney’s	office	as	to	inmates	identified	by	the	courts	
as	gang	affiliated.	Thus,	data	are	available	to	track	the	prevalence	of	inmates	per	“gang”	
among	OPSO	populations	as	well	as	by	location	(i.e.,	tier,	side	and	cell	of	OJC).	
         Figure	2	provides	the	OPSO	monthly	disciplinary	data	as	recorded	in	the	JMS.	The	
number	disciplinary	reports	have	fluctuated	over	last	17	months	--	January	2017	--	May	
2018.	Overall,	the	trend-line	for	the	number	of	formal	disciplinary	reports	written	per	
month	is	flat	to	a	slight	decrease	in	May.	These	fluctuations	appear	to	mirror	the	
fluctuations	in	the	OPSO	ADP.	On	the	other	hand,	the	rate	of	infractions	with	a	finding	of	
guilt	has	increased	from	about	72	percent	in	January	2017	to	92	percent	by	May	2018.	It	is	
unclear	if	the	increase	in	the	percentage	of	guilty	findings	to	92	percent	guilty	is	an	
indication	that	the	incident	report	writing	and	documentation	have	improved,	the	
disciplinary	process	is	simply	a	rubber	stamp	of	the	disciplinary	reports,	the	change	from	a	
civilian	hearing	officer	to	a	sworn	hearing	officer,	or	some	combination.	The	integrity	of	the	
disciplinary	process	to	consistently	identify	and	sanction	misconduct	among	the	inmates	is	
key	as	the	severity	and	prevalence	of	institutional	misconduct	are	the	most	important	
classification	factors	for	determining	an	inmate’s	threat	to	institutional	safety	and	security.	
Without	accurate	disciplinary	data,	the	classification	and	housing	process	will	fail	to	
control	institutional	violence.	

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                          # FINDING OF GUILTY:                # TOTAL DISPOSITIONS
                                                                                        	
        Figure	2:	Total	and	Guilty	Inmate	Disciplinary	Infractions:	Jan	2017	–	May	2018	


          	
                      Compliance	Report	#	9	–	August	27,	2018	                                         59	
      Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 74 of 174



      Figure	3	illustrates	the	rate	of	disciplinary	infractions	among	the	OSPO	inmate	
population	between	January	2017	and	May	2018.	The	rates	of	predatory	(assaults	or	
battery)	and	aggressive	behaviors	(i.e.,	fights	or	threats)	based	on	the	OSPO	average	daily	
population	were	fairly	constant	over	the	17-month	period.		In	January	2017,	for	example,	
1.2 percent	of	the	inmates	were	found	guilty	of	a	predatory	infraction	and/or	an	aggressive	
infraction,	in	May	2018,	3.0	percent	were	found	guilty	of	an	aggressive	infraction	and	1.5	
percent	for	a	predatory	infraction.	Overall,	although	the	rates	changed	little	over	this	17-	
month	period,	on	average	15	percent	of	the	inmates	were	written	up	for	a	disciplinary	
infraction	per	month.	This	would	suggest	that	institutional	violence	and	misconduct	have	
not	decreased,	but	rather	remained	constant	over	this	17-month	period.	
          Figure	4	provides	a	breakdown	of	the	most	serious	type	of	infraction	of	which	the	
inmate	was	found	guilty	between	January	2017	and	May	2018.	The	numbers	of	predatory	
(assaults	or	battery)	and	aggressive	behaviors	(i.e.,	fights	or	threats)	were	fairly	constant	
over	the	17-month	period.	While,	clearly	the	number	of	management	problem	and	
disruptive	behaviors	fluctuated	throughout	the	17-month	period	--	January	2017	and	May	
2018	--	again	the	numbers	of	predatory	and	aggressive	behaviors	were	fairly	constant	
indicating	little	to	no	change	in	the	threats	to	inmate	and	staff	safety.	

   30.0%

   25.0%

   20.0%
                                                                                                          14.8%
   15.0%         15.0%

   10.0%                                                                                                  13.2%
           10.7%

    5.0%                                                                                                  3.0%
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    0.0%                                                                                                   1.5%
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                      Rate of DR in OPSO             Rate of Guilty   Rate of Predatory   Rate of Aggrn
                                                                                                                  	
      	
                Figure	3:	Rate	of	Disciplinary	Infractions	–	January	2017	–	May	2018	


           	
                                Draft	Compliance	Report	#	9	–	July	30,	2018	                                 60	
      Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 75 of 174




250                                               16

                                             14
200
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                              14                                                      28          30
                                                  159        18                  34
150   29                                                8         10
                                         143                              25                           19
                         9          16
           23    9                                           73   61                        102   84
                              103                       76                       84   102
100                                                                       76                           70
      96                 83         77
                54
           71                                                     34
                                             26   55         35
 50                                                     41                       29         35    48   37
                34            29    17                                    30          30
      19                 22                                       56
           19                                46              44                  38
                23       22   31    36            33    31                30          30    30    30   32
      21   16
  0
      1    2     3       4    5     6        7    8     9    10   11      12     13   14    15    16   17

           # Predatory        # Aggressive        # Management         # Disruptive     # Nuisance


Figure	4:	Types	of	Disciplinary	Infractions	of	which	OPSO	Detainees	were	Found	Guilty		-	
                                 January	2017	-	May	2018	




                                                                                                            61
            Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 76 of 174



	
        IV.A.10.h.	OPSO	shall	review	the	periodic	data	report	and	make	recommendations	
        regarding	proper	placement	consistent	with	this	Agreement	or	other	necessary	
        changes	in	policy	based	on	this	review.	The	review	and	recommendations	will	be	
        documented	and	provided	to	the	Monitor.	                                                                	
              	
                  Finding:	Partial	Compliance	
                  	
                  Measures	of	Compliance:	
                  1.    Report	to	the	Monitor	with	recommended	change	and	rationale/data	regarding	any	
                        policy	changes.	
                  	
                  Observations:	
                  The	Monitor	receives	the	daily	“Active	Inmates	by	Location”	report.	During	this	
        compliance	period,	there	has	been	on-going	dialogue	between	the	Monitor	and	OPSO	
        regarding	the	importance	of	staff	training,	housing	and	internal	audits,	tweaks	to	the	
        HUAP,	and	the	monthly	custodial	reports.	Discontinuation	of	the	housing	audit	forms	
        open	and	incomplete	housing	audit	reports	created	sobering	concerns	about	the	
        integrity	of	classification	data	and	records	and	oversight	of	the	Unit.	
                  The	Monitor	receives	the	monthly	statistical	reports	as	required;	however,	there	
        appears	to	be	little	independent	analyses	of	the	data.	Further,	the	numbers	do	not	always	
        tally,	requiring	multiple	emails	to	clarify	or	rerun	the	reports.	
                  New	Recommendation:	
                  14.      Careful	review	and	analyses	of	the	statistical	reports	to	identify	
                           adjustments	to	the	classification	and	housing	processes	are	responsive	
                           to	the	current	OSPO	system	needs	and	trends.	
    	                                     	




              	
                                 Compliance	Report	#	9	–	August	27,	2018	                                 62	
     Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 77 of 174



IV.	A.	11.		  Prisoner	Grievance	Process	
        	
        Finding:		Partial	Compliance	
        	
      Measures	of	Compliance:	
            1.      Written	policy	and	procedures	governing	inmate	grievances,	and	grievance	appeals.			
                    Directive	shall	include	but	not	be	limited	to	availability	of	grievance	forms	in	
                    required	language,	ability	of	inmates	to	secure	forms	upon	request	and	deposit	into	
                    secured	boxes,	prohibition	against	retaliation	against	inmates	who	file	grievances,	
                    time	deadlines	on	responses,	assistance	to	inmates	to	file	grievances	(including	
                    assistance	to	inmates	with	mental	illness,	low	functioning,	non-English	speaking).		
            2.      Written	policies	and	procedures	that	designates	a	position/post	responsible	for	
                    assuring	the	collection	and	response	to	grievances,	including	maintenance	of	
                    records,	trends,	and	analysis	of	grievance	data.	
            3.      An	electronic	tracking	system.	
            4.      Written	orientation	to	inmates	regarding	the	grievance	process.	
            5.      Inmate	handbook.	
            6.      Curriculum/lesson	plans	to	train	staff	(pre-service	and	in-service)	regarding	their	
                    roles	and	responsibilities	regarding	the	inmate	grievance	process.	
            7.      Interviews	with	inmates.	
            8.      Interviews	with	employees.	
            9.      Observation	of	staff	training.	
            10.     Observation	of	inmate	orientation.	
            11.     Written	policies/procedures	governing	the	inmate	request	process.			
            12.     Inmate	request	forms.	
            13.     Review	of	referrals	for	investigation	resulting	from	inmate	grievances.	
            14.     Review	of	original	inmate	grievances	and	responses.	
            15.     Monitors’	review	of	grievance	logs,	grievances,	analysis	of	grievances	conducted	by	
                    OPSO.	
	
      Observations:		
              The	grievance	process	provides	a	means	for	inmates	to	raise	issues	regarding	
      their	incarceration	and	to	reach	a	resolution	consistent	with	OPSO	policies	and	the	
      Inmate	Handbook.		The	grievance	process	also	serves	as	notice	to	OPSO	for	
      emerging	issues.		For	example,	in	the	recent	Ramadan	observance,	the	grievance	
      process	flagged	continuing	issues	with	conformance	to	dietary	requirements	for	
      observant	inmates.				For	the	grievance	process	to	be	effective,	the	responses	must	
      be	timely,	professional,	and,	to	the	extent	possible,	address	the	inmate’s	concerns.		
      The	analysis	of	grievances	must	be	provided	to	the	facility’s	leadership	to	inform	
      decision-making,	identify	areas	where	additional	supervision	and	training	are	
      needed,	and	adjust	policies	and	procedures.	
              As	noted	in	previous	reports,	the	grievance	software	used	by	the	inmates	at	
      the	kiosks	in	housing	units	does	not	easily	separate	requests	for	service	(e.g.	


                     Compliance	Report	#	9	–	August	27,	2018	                                        63	
       	
Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 78 of 174



 property,	programs,	records)	from	grievable	matters.		For	example,	OPSO’s	
 reporting	shows	more	than	7,200	grievances	for	CY	2017	and	almost	6,000	requests	
 for	service.		For	2017,	the	largest	number	of	issues	are	in	a	category	called	“facility	
 (grievable)”,	and	medical.		For	the	first	four	months	of	2018,	OPSO	reports	more	
 than	2,000	grievances	and	16,564	requests	for	service.	
        OPSO	provided	evidence	that	inmate	grievances	are	tracked,	information	
 compiled,	and	the	OJC’s	leadership	informed	of	findings	and	trends.		For	example,	
 the	coordinator	provided	the	executive	review	of	grievances	for	March	2018	for	
 each	area	(e.g.	sanitation,	commissary,	inmate/inmate	altercations).				Minutes	of	
 meetings	held	to	review	the	trends	and	patterns	were	also	provided.			While	this	
 work	responds	to	previous	recommendations,	and	will	improve	the	processes,	what	
 is	missing	are	action	plans	to	meaningful	identify	how	to	resolve	the	issues.			For	
 example,	the	discussion	of	the	grievances	regarding	commissary	concluded	that	no	
 one	in	the	meeting	had	knowledge	of	the	vendor’s	contract,	nor	were	next	steps	or	
 delegation	of	tasks	recorded.		Those	involved	in	the	grievance	issue,	such	as	the	
 individual	overseeing	the	commissary	vendor,	the	sanitation	director,	and	an	ISB	
 representative,	may	make	these	meetings	more	useful.				
        The	work	since	the	last	Compliance	Report	identifies	the	attempts	to	
 improve	the	system,	but	the	effectiveness	is	impacted	by	the	absence	of	staff	to	first,	
 intercede	before	a	grievance	is	needed,	and,	secondly,	to	respond	to	not	only	the	
 inmate,	but	to	address,	correct,	and	evaluate	ongoing	solutions	to	the	systemic	
 issues.			Interim	Independent	Compliance	Director	Hodge’s	implementation	of	the	
 unit	management	concept	should	impact	both	these	matters	substantially.		By	
 having	trained	deputies	who	know	the	scope	of	their	role,	inmates	should	not	have	
 to	send	grievances	(or	requests)	for	indigent	supplies,	clothing,	or	to	address	the	
 laundry	and	cleaning	supply	issues.		The	unit	manager	should	be	on	top	of	all	these	
 issues.		This	is	not	to	suggest	that	the	measure	should	be	no	grievances,	but	rather	
 that	matters	are	appropriately	resolved	at	the	housing	unit	level.		The	Consent	
 Judgment	requires	that	inmates	have	access	to	a	confidential	system.		
        OPSO	also	audited	10%	of	the	grievances,	including	medical-related	
 grievances,	to	assess	whether	responses	are	within	policy	guidelines	(23%	were	not	
               Compliance	Report	#	9	–	August	27,	2018	                                  64	
  	
Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 79 of 174



 timely),	and	whether	appropriate	responses	were	given	(23%	were	not	deemed	
 appropriate).			[See	also	Medical	Grievances,	page	92.]		In	previous	compliance	
 reports,	the	Monitors	noted	that	there	needed	to	be	a	reconciliation	between	the	
 grievance	numbers	of	OPSO	and	those	of	CCS.		The	coordinator	has	documented	
 these	attempts	at	reconciliation	taking	place	in	the	last	six	months.	
        The	Monitor	also	reviewed	on-site	grievances	for	the	first	four	months	of	
 2018	and	identified	the	same	issues	as	noted	above,	particularly	about	answers	to	
 inmates	which	were	non-responsive.		This	was	noted	in	the	OPSO	April	2018	
 grievance	report	regarding	inmates	who	requested	information	on	programming.	
        The	Monitors	view	inmate	grievances	when	an	inmate	asks	that	their	issue	
 be	forwarded	to	the	Monitors.		The	Monitors	have	been	forwarded	121	grievances	
 since	the	beginning	of	2018,	allowing	for	a	first-hand	look	at	issues	where	inmates	
 feel	their	issues	have	not	been	resolved.			In	many	instances,	the	inmates	are	
 frustrated	because	their	issues	are	not	resolved,	in	their	view.		Repeated	grievances	
 from	an	inmate	prompt	the	coordinator	to	visit	with	that	inmate	to	see	if	matters	
 can	be	resolved.		This	is	a	good	approach	and	has	been	successful	with	the	majority	
 of	inmates.		
        There	is	policy	guiding	inmate	grievances,	and	the	mechanism	for	inmates,	
 via	the	electronic	kiosks	to	file	grievances.		As	noted	in	Compliance	Report	#	7,	the	
 paperwork	process	is	in	place,	but	the	ability	to	resolve	the	inmate’s	issue,	as	well	as	
 systemic	issues	is	lagging	behind.		For	example,	inmates’	grievances	regarding	food	
 service,	medical-ordered	diets,	and	medical	care	allowed	the	Monitors	to	see	how	
 OJC	and	CCS	resolved	issues,	as	well	as	see	if	systemic	issues	are	solved.		This	latter	
 issue	–	resolution	of	systemic	issues	–	is	the	challenge	for	OJC.	
        It	is	unclear	at	this	time	how	and	if	the	new	jail	management	information	
 system	will	include/adapt	the	current	grievance	mechanisms	(kiosks).		This	is	a	
 matter	which	should	be	addressed	to	allow	inmates	continued	access,	separate	the	
 requests	from	grievances,	and	allow	for	more	analysis	through	the	software,	rather	
 than	personnel	resources.			As	this	system	is	developed,	OPSO	should	redefine	the	
 category	“facility	grievances”	to	more	discrete	descriptors	to	allow	for	problem	
 identification	and	problem	solving.	
                 Compliance	Report	#	9	–	August	27,	2018	                               65	
  	
    Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 80 of 174



            The	Monitor	notes	substantial	improvements	and	note	these	areas	require	
     attention	to	achieve	compliance:		
               •   Tracking	the	implementation	of	resolutions	(IV.	A.	11.	(2))	–	OPSO	
                   needs	to	use	the	information	identified	in	the	grievance	process	to	
                   resolve	systemic	issues	–	such	as	medically-ordered	diets.		The	OPSO	
                   staff	assured	the	Monitors	that	the	grievance	trends	are	discussed	at	
                   staff	meetings,	what	is	missing	are	action	plans	or	other	relevant	
                   problem-solving	as	indicated	by	the	data/trends.	
               •   Reviews	and	recommendations	(IV.A.11(6))	–	as	noted	above,	
                   documentation	was	provided	indicating	that	there	is	a	quarterly	
                   review	to	identify	areas	of	concerns,	and	what	is	missing	are	the	
                   specific	actions	needed	to	address	systemic	issues,	accountability	for	
                   those	actions,	and	a	review	of	the	impact.							
            OPSO	addressed	several	of	the	recommendations	in	Compliance	Report	#	8	
     and	their	hard	work	is	noted	by	the	Monitors.	
	
	                         	




                   Compliance	Report	#	9	–	August	27,	2018	                               66	
      	
      Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 81 of 174



IV.	A.	12.		Sexual	Abuse		
	
    Finding:		Partial	Compliance	
	                                                                     	
    Measures	of	Compliance:		
       1.      Checklist	of	policies	and	procedures.	
               http://www.prearesourcecenter.org/sites/default/files/library/checklistofdocumentationfi
               nal2.pdf	
       2.      Auditor	Compliance	Tool	
               http://www.prearesourcecenter.org/sites/default/files/library/auditorcompliancetoolfinal
               2.pdf		
       3.      Completion	of	Jail	Toolkit	http://static.nicic.gov/Library/026880.pdf		
       4.      Written	policies	and	procedures,	protocols,	memorandum	of	agreement/understanding,	
               training	curriculum	required	by	the	standards.	
       5.      Memorandum	of	agreement,	sexual	assault	treatment	center.	
       6.      Review	of	investigations.	
       7.      Interviews	with	employees	and	inmates.	
       8.      Referrals	for	prosecution.	
       9.      Qualifications	of	instructors.	
	
        Observations:	
                The	on-site	tour,	and	work	with	OPSO	since	Compliance	Tour	#	8,	has	
        identified	the	following:16
                	
                •    The	organizational	responsibility	for	PREA	compliance	has	been	moved	
                     to	the	Compliance	Bureau	along	with	the	supervision	of	the	PREA	
                     Manager	and	PREA	Facility	Coordinators;	
                •    The	PREA	related	policies,	signed	by	the	Independent	Compliance	
                     Director	in	2016,	require	updating	as	comments	by	the	Monitors,	
                     Attorneys	for	the	Plaintiff	Class	and	the	Dept.	of	Justice	were	not	
                     incorporated.		The	process	to	accomplish	this	as	part	of	the	annual	review	
                     is	underway	at	this	time;	
                •    Documentation	of	training,	including	on-going	training,	for	employees,	
                     contractors,	and	volunteers	was	required;	
                •    OPSO	reports	eight	(8)	calls	to	the	PREA	“hotline”	for	2018	year-to-date;		
                     compared	to	sixty	(60)	calls	for	the	first	ten	months	of	2017.		Although	

																																																								
16	PREA	related	incidents	include	allegations	of:		sexual	abuse,	sexual	harassment,	and	voyeurism	
https://www.prearesourcecenter.org/training-technical-assistance/prea-101/prisons-and-jail-standards		

                        Compliance	Report	#	9	–	August	27,	2018	                                         67	
          	
Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 82 of 174



           these	60	calls,	as	reported	by	OPSO,	do	not	all	relate	to	PREA,	the	calls	do	
           indicate	that	inmates	are	using	the	“hotline.”			Of	the	eight	calls	for	which	
           documentation	was	provided	by	OPSO	for	March	–	May	2018,	and	for	
           those	where	a	name	was	provided,	those	names	do	not	appear	on	OPSO’s	
           tracking	spreadsheet	for	PREA	related	investigations;	
       •   Job	descriptions/post	orders	for	the	PREA	Manager	and	facility	
           coordinators	were	developed,	addressing	the	Monitor’s	previous	
           recommendations;	
       •   There	are	open	investigations	from	late	2017;		
       •   Supervision	of	PREA	investigations	was	changed	in	May	2018,	expanding	
           the	pool	of	available	investigators,	necessitating	the	need	for	investigator	
           training	on	PREA	standards;	and	
       •   The	PREA	audit	will	be	scheduled	for	late	2018.	
       As	such	there	is	no	change	to	the	compliance	rating	for	this	paragraph.	
              OPSO’s	own	assessment	of	compliance	concurs	with	this	finding	of	
       partial	compliance	for	this	provision.			
              Data	from	OPSO	for	inmate	grievances	related	to	sexual	safety	report	
       a	total	of	81	in	2017,	and	for	the	first	four	months	of	2018,	31(inmate/inmate	
       and	staff/inmate).			Examining	incident	reporting	data,	with	the	caveats	
       noted	earlier	shows	a	trend	in	incidents	from	6	reports	of	PREA-related	
       incidents	in	CY	2016,	34	incidents	in	2017,	and	for	the	first	five	months	of	
       2018,	18	reports	to	the	Monitors.		OPSO	data	indicates	there	were	50	PREA-
       related	investigations	opened	in	CY2018.			
              OPSO	has	indicated	they	are	not	planning	a	“mock”	audit	prior	to	the	
       formal	audit,	which	is	at	their	discretion.	
 New	Recommendations:	
 15.   Investigations	-	assure	that	investigations	proceed	and	are	concluded	in	a	
       timely	manner,	revise	standard	operating	procedures	to	conform	
       investigative	findings	with	those	required	by	PREA	standards	and	Bureau	of	




              Compliance	Report	#	9	–	August	27,	2018	                                 68	
  	
      Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 83 of 174



                Justice	Statistics’	Survey	Sexual	Victimization	17	,	and	train	newly	assigned	
                investigators;	
        16.     Review	reporting	to	the	Monitors	regarding	relevant	incidents	to	address	the	
                differences	in	data	(e.g.	18	reports	to	the	Monitors	and	50	investigations	
                opened);		
        17.     Evaluate	staffing	of	the	PREA	initiative	in	OPSO;		
        18.     Implement	systems	to	immediately	train	newly	hired	employees,	volunteers,	
                and	contractors;		
        19.     Assure	the	data	collected	regarding	incidents	is	analyzed	to	inform	plans	of	
                action	and	other	needed	corrective	measures;	and			
        20.     Conduct	reliability	testing	of	the	PREA	hotline	–	to	assess	its	availability	to	
                and	use	by	inmates,	timely	reporting	of	the	information	by	the	vendor	to	
                OPSO,	compliance	with	PREA	standards	(115.51(b)),	and	initiation	of	prompt	
                investigative	review	of	these	calls.	
        	
                	
	                               	




																																																								
17	https://www.bjs.gov/content/pub/pdf/ssv3_2016.pdf		


                       Compliance	Report	#	9	–	August	27,	2018	                                    69	
            	
        Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 84 of 174



IV.	A.	13.		     Access	to	Information		
         Findings:	      Partial	compliance	
	        	
         Measures	of	Compliance:	
                 1. Written	policy/procedure	governing	inmate	orientation,	including	but	not	limited	to	
                      inmates	with	LEP,	developmental	disabilities,	mental	illness,	etc.	
                 2. Inmate	handbook;	orientation	videos	in	English,	Spanish,	Vietnamese.	
                 3. Observation	of	inmate	orientation.	
                 4. Inmate	interviews.	
                 5. Lesson	plans,	employee	training,	evidence	of	knowledge	gained.	
                 6. Review	of	grievances.	
                 7. Post	orders.	
    	
         Observations:		
                 As	noted	in	Compliance	Report	#	8	-		no	lesson	plans	have	been	provided	that	
         guide	employee	training,	nor	documentation	of	training.		If	this	is	provided,	this	
         paragraph	will	gain	compliance.	
                 The	Monitor	notes	that	in	the	first	four	months	of	2018,	almost	1,100	
         inmates	were	charged	with	disciplinary	infractions,	based	on	the	data	provided	by	
         OPSO.		This	finding	presents	an	opportunity	to	examine	if	inmates	are	clear	about	
         facility	rules	as	contained	in	the	Inmate	Handbook,	and	develop	corrective	action	
         plans.		With	the	implementation	of	unit	management,	more	and	better	training	for	
         housing	unit	deputies	and	supervisors,	clearer	expectations	and	consequences	can	
         more	uniformly	be	provided	to	inmates	on	at	least	a	daily	basis.					
	
	
         	




                        Compliance	Report	#	9	–	August	27,	2018	                                       70	
             	
      Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 85 of 174



IV.	B.	Mental	Health	Care		
 Summary	
            OPSO	and	CCS	struggle	to	provide	adequate	mental	health	care	and	achieve	
 compliance	with	the	Consent	Judgment.	The	Mental	Health	Monitor	has	made	multiple	
 and	repeated	recommendations,	provided	technical	assistance,	and	engaged	in	
 discussions	with	administrative,	clinical	and	custody	staff,	as	well	as	the	attorneys	for	
 the	 Plaintiff	class	and	DOJ.		 The	Medical	and	Mental	Health	Monitors	and	Nursing	Sub-
 monitor	have	collaborated	in	on-site	reviews	of	the	overlapping	medical	and	mental	
 health	services	and	quality	management,	and	provided	compliance	 analyses	and	
 recommendations	since	2014.	
            Due	to	unavailability	during	the	week	of	June	11-14,	the	specific	onsite	
 activities	of	the	Mental	Health	Monitor	occurred	on	June	20,	2018.	The	Mental	Health	
 Monitor	toured	OJC	and	had	multiple	discussions	with	CCS	staff,	reviewed	 documents,	
 toured	specific	units,	and	met	with	Interim	Independent	Compliance	Director	Darnley	
 Hodge.18	 	
            In	summary,	OPSO	and	CCS	did	not	demonstrate	substantial	compliance	with	
 the	mental	health	requirements	of	the	Consent	Judgment	in	the	areas	of:		adequate	
 staffing,	training	and	supervision,	accessible	mental	health	services,	or	adequate	mental	
 health	treatment.	Specifically,	inadequate	services	include	suicide	prevention	and	
 management,	medication	management,	therapies	and	counseling,	and	quality	
 improvement	and	risk	management.	There	is	also	significant	CCS	staff	turnover,	
 including	a	newly	appointed	temporary	Mental	Health	Director,	addition	of	a	Mental	
 Health	Coordinator	at	OJC,	coverage	of	inmate	mental	health	needs	by	multiple	
 contract	psychiatrists,	and	supplemental	by	support	by	regional	and	central	office	CCS	
 staff.	CCS	has	reported	it	is	fully	staffed;	however	substantial	services,	including	timely	
 assessments	and	participation	by	psychiatrists	in	treatment	planning	and	quality	
 management	activities,	as	well	as	defined,	scheduled	and	completed	programmatic	
 requirements	of	the	Consent	Judgment	remain	problematic.	In	addition,	suicide	


18
  The	Monitors	held	an	exit	conference	on	June	14,	2018	attended	by	OPSO	and	CCS	 staff	plaintiffs	and	DOJ,	
and	the	Mental	Health	Monitor	(via	telephone).


          																																Compliance	Report	#	9	–	August	29,	2018	                         71	
        Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 86 of 174



    prevention	and	management,	risk	management,	and	training	and	supervision	of	staff	
    are	areas	in	need	of	substantial	improvement.	CCS	has	developed	Action	Plans	which	
    are	essentially	“plans	to	develop	plans”.			An	area	with	promising	implications	is	the	
    potential	collaboration	of	OPSO	and	CCS	with	Tulane	University	Department	of	
    Psychiatry	to	provide	psychiatric	services.		
             The	need	for	greater	collaboration	by	OPSO	and	CCS	as	"one	Team"	has	been	
    very	clearly	articulated	by	Interim	Independent	Compliance	Director	Hodge	and	staff	
    morale,	despite	long	standing	staffing	shortages,	appears	to	be	improving.	
             Specific	findings	and	recommendations	are	provided	below.	
IV.	B.	1.		 Screening	and	Assessment	
        Findings:	
                     B.	1.	a.	-	Partial	Compliance	
                     B.	1.	b.	-	Partial	Compliance	
                     B.	1.	c.	–	Substantial	Compliance	
                     B.	1.	d.	-	Partial	Compliance	
                     B.	2.	e.	-	Partial	Compliance	
                     B.	1.	f.	-	Non-compliance	
                     B.	1.	g.	-	Partial	Compliance	
                     B.	1.	h.	-	Partial	Compliance	
                     B.	1.	i.	-	Non-compliance	
                     B.	1.	j.	-	Non-compliance	
                     B.	1.	k.	-	Non-compliance	
                     B.	1.	l.	-	Non-compliance	
	
           Measures	of	Compliance:	
                • Technical	assistance	to	CCS	mental	health	and	administrative	staff	regarding	policies,	
                    procedures,	structured	therapeutic	programming	and	practices.	
                • Document	review	of	OPSO	and	CCS	policies	and	procedures.	
                • Review	of	a	limited	number	of	medical	records	and	interviews	of	inmates	and	staff.	
                • Discussions	with	CCS	and	OJC	administrative	and	line	staff.	
                • Tour	of	OJC	facility	including	units	designated	as	having	a	“mental	health”	designation,	
                    and/or	 suicide	resistant	cells.	
                • Review	of	new	data	from	CCS	regarding	emergency,	urgent,	and	routine	referrals	
                    and	sick	call	 responses.	
                • Review	of	new	data	from	CCS	regarding	numbers	of	inmates	prescribed.	
                    psychotropic	 medications,	and/or	identified	as	on	the	mental	health	
                    caseload.	
                • Review	of	new	data	regarding	numbers	of	special	needs	inmates.	
	
	                                  	




           																																Compliance	Report	#	9	–	August	29,	2018	                           72	
Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 87 of 174



 Observations:	
        CCS	and	OPSO	have	not	finalized	and/or	demonstrated	adequate	
 implementation	and	training	on	all	mental	health-related	policies	and	procedures.		
 CCS	has	amended	the	previously	unapproved	suicide	risk	assessment	(SRA)	tool.			
 This	work	appears	to	be	an	improvement	and	adequate;	the	use	of	the	tool	should	
 be	closely	monitored.	 Deficiencies	in	custody	and	mental	 health	staffing	levels	limit	
 the	availability	of	treatment	services	including	group	and	individual	counseling	
 services	and	therapies,	medication	management,	and	 confidentiality	of	assessments.	
 CCS	has	recently	begun	the	process	of	including	inmates	in	the	treatment	planning	
 meetings	and	increased	the	frequency	of	individualized	treatment	plans	for	inmates.	
 The	current	continuum	of	mental	health	services	does	not	adequately	provide	for	
 timely	crisis	intervention	services,	"step-down”	or	residential/transitional	services,	
 acute	inpatient	services	for	women,	or	full	services	for	outpatients	(general	
 population	and	disciplinary/segregated	populations).	There	is	some	progress	in	the	
 provision	of	services	in	a	step-down	unit;	however,	the	unit	currently	houses	
 mentally	ill	inmates	as	well	as	inmates	over	the	age	of	18	who	require	school.	A	
 mental	health	program	including	a	therapeutic	milieu	is	needed.		This	combination	of	
 populations	is	problematic	to	coordinated	provision	of	services.	
         CCS	has	begun	to	provide	some	counseling	services	for	some	special	needs	
 populations.	The	quantity	of	these	services	is	inadequate,	and	the	quality	of	
 services	 has	not	been	measured.		Initial	administrations	of	psychotropic	
 medications	are	not	timely;	largely	because	of	the	deficiencies	in	the	assessment	
 process	at	IPC	and	the	referral	processes	to	psychiatrists/nurse	practitioners.	The	
 referral	policies	have	undergone	necessary	revisions	and	still	require	further	
 modifications	for	internal	consistency.	
         CCS	has	provided	most	of	their	corporate	mental	health-related	 policies	
 and	procedures	to	OPSO	and	the	Monitors.	However,	several	of	these	policies	
 have	not	been	finalized	and/or	have	not	yet	been	measured	for	effectiveness.	 For	
 example,	the	screening	instrument	is	adequate	except	for	the	referral	criteria	
 categories,	but	the	draft	referral	policy	has	not	been	fully	implemented	or	



  																																Compliance	Report	#	9	–	August	29,	2018	             73	
Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 88 of 174



 measured.	The	policies	and	procedures	for	mental	health	assessment	of	inmates	
 involved	in	the	disciplinary	process	have	not	been	completed,	nor	has	the	
 requirement	for	collaboration	between	the	mental	health	staff	and	OPSO	
 disciplinary	process	for	 inmates	on	the	mental	health	caseload	been	established.	
         Inmates	in	mental	health	crises	continue	to	be	housed	on	OJC	units	that	do	
 not	have	adequate	numbers	of	suicide	resistant	cells	nor	the	physical	space	or	
 corrections	staffing	support	 necessary	to	provide	adequate	psychotherapeutic	
 programming	for	inmates	designated	for	either	the	acute/sub-acute	designation	
 or	step	down/residential	 services.	This	condition	applies	to	both	male	and	female	
 inmates.	 Female	inmates	 do	not	have	access	to	Hunt	or	comparable	acute	care	
 services	and	housing.	A	 number	of	inmates	in	acute	crisis	remain	at	OJC	and	need	
 to	receive	emergency	medications	to	address	their	mental	health	needs.	OPSO,	
 CCS,	and	the	attorneys	for	the	Plaintiff	class/DOJ	have	researched	Louisiana	Law	
 and	have	identified	significant	barriers	 to	administering	emergency	medications	
 in	the	jail	setting.		
         There	is	insufficient	and	inconsistent	observation	of	inmates	who	are	at	
 increased	risk	for	suicide	and/or	self-harm,	as	well	as	inadequate	supervision	by	
 deputies	for	extended	time	periods.	Certified	Nursing	Assistants	(CNAs)	and/or	
 Licensed	Practical	Nurses	(LPNs)	are	assigned	to	observe	inmates	housed	at	OJC	
 who	require	“direct	observation”	and	“suicide	watch”.	 Inmates	in	these	categories	
 are	housed	in	multiple	units	and	some	in	cells	which	are	not	suicide	resistant.	
 Whatever	the	processes	for	direct	custody	supervision	and	direct	observation/	
 suicide	watch	by	clinical	staff,	the	processes	are	failing	as	inmates	continue	to	gain	
 access	to	materials	that	can	be	used	for	self-	harm	or	suicide.	These	issues	have	
 been	 discussed	throughout	the	course	of	the	monitoring	process.	
         Female	inmates	continue	to	be	housed	in	the	OJC	general	population,	non-	
 mental	health	units,	with	only	two	suicide	resistant	cells	available	despite	the	unit’s	
 designation	as	housing	inmates	with	acute/sub-acute	and	step	down/residential	
 mental	health	needs.	 	




  																																Compliance	Report	#	9	–	August	29,	2018	             74	
    Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 89 of 174



             The	inmate	screening	process	has	been	implemented.	However,	the	
     effectiveness	of	the	screening	process	has	not	been	reviewed.	Recommended	
     changes	in	the	screening	process	have	not	been	implemented.	
     New	Recommendations:	
     	
     21.   CCS	must	provide,	track	and	assess	services	to	inmates	on	the	mental
	            health	caseload	who	have	been	identified	as	victims	of	assault	or
	            other	crimes	(including	sexual	assault)	while	at	OJC	or	Hunt.	
     22.     Determine	and	complete	the	number	of	necessary	suicide	resistant
	            cells.	Inspect	housing	areas	to	assure	the	physical	plant	poses
	            minimal	risk	for	inmates	to	harm	themselves.	Increase	the	ratio	of
	            CNA's	conducting	suicide	watches	to	1:2	and	direct	observation	to
	            1:1.	
     23.     Pursuant	to	policies,	continue	at	least	monthly	meetings	of	the	Mental
	            Health	 Review	Committee	to	document	appropriately	any	identified
	            concerns,	 problems	and	opportunities	to	improve	care,	and	to	analyze
	            performance	measures	of	mental	health	services	and	follow-up	on
	            implementation	and	results	of	corrective	actions,	including	morbidity
	            reviews	inmates	who	have	made	serious	and/or	repeated	suicide
	            attempts.	
	                             	




      																																Compliance	Report	#	9	–	August	29,	2018	        75	
        Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 90 of 174



    IV.	B.	2.	 Treatment		
	
            Findings:	
                              B.	2.	a.-	Partial	Compliance	
                              B.	2.	b.	-	Non-compliance	
                              B.	 2.	c.	-	Non-	Compliance	
                              B.	 2.	d.	-	Non-compliance	
                              B.	 2.	e.	-	Non-compliance	
                              B.		2.	f.	-	Partial	Compliance	
                              B.	 2.	g.	-Partial	Compliance	
																														B.	2.		h.	-	Non-compliance	
                                  	
              Measures	of	Compliance:	
                 •     Review	of	policies	and	procedures,	medical	records,	current	staffing,	and	quality	
                          management	data	and	analysis.	
                 •     Tour	of	OJC,	and	review	of	treatment	team	procedures	and	treatment	 services.	
                 •     Discussions	with	CCS	and	OJC	staff.	
                 •     Review	of	incident	reports.	
                 •     Review	of	sick	call	requests,	plaintiffs’	correspondence	and	grievances.		       	     		
         Observations:	
                    CCS	and	OPSO	must	implement	appropriate	mental	health	treatment	
         policies	and	procedures.	 The	current	continuum	of	services	is	inadequate.	 CCS	has	
         provided	 monthly	data	of	inmates	on	the	caseload,	numbers	of	inmates	
         participating	in	group	sessions,	individual	therapy,	and	counseling	services.	The	
         data	do	not	demonstrate	that	the	 numbers	of	inmates	receiving	these	services	are	
         sufficient	for	the	populations	in	need.	
                    Based	on	review	of	the	documents	and	discussion	with	CCS	and	OPSO	staff,	
          the	numbers	of	inmates	needing	services	requires	further	analysis	to	clarify	or	
          explain	the	wide	fluctuations	in	the	number	of	inmates	on	the	mental	 health	
          caseload	as	well	as	those	who	are	receiving	services	as	“special	needs”.		Better	
          reporting	of	the	data	is	required	regarding	inmates	who	are	receiving	counseling	
          services.	The	counseling	services	that	are	necessary	for	distinct	populations	as	per	
          the	Consent	Judgment,	have	not	been	adequately	provided	to	all	required	
          populations.	 For	those	instances	where	counseling	services	are	provided,	 there	is	no	
          reliable	estimate	or	identification	of	the	actual	number	of	inmates	who	 require	such	
          services	with	the	exceptions	of	juveniles	and	substance	abusers.	Therefore,	although	
          there	is	a	reported	and/or	planned	increase	 in	counseling	services,	the	distinct	



            																																Compliance	Report	#	9	–	August	29,	2018	                        76	
    Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 91 of 174



     populations	of	victims	of	sexual	abuse	and	inmates	on	the	caseload	who	are	victims	
     of	assault	are	not	defined,	compared	to	those	who	receive	them.	
           The	mental	health	evaluations	required	as	part	of	the	review	of	inmates	who	
    have	been	charged	with	internal	rule	violations			have	 been	under	discussion	for	some	
    time.	While	there	appears	to	be	agreement	on	policy	 that	the	inmates	on	the	mental	
    health	caseload	will	be	evaluated	with	regard	to	disciplinary	charges,	the	process	for	
    evaluating	the	needs	and	risks	of	the	inmates	have	not	been	implemented.		 When	
    the	process	is	implemented,	documentation	of	the	 required	requests	for	reviews,	the	
    timeliness	of	the	reviews,	the	outcome	of	the	 reviews,	and	assessment	of	the	impact	
    of	the	process	are	essential.	
           Development	of	the	process	for	appropriate	medication	management	
    continues;	including	the	planned	use	of	"med	holds"	to	assure	inmates	coming	into	
    OJC	are	assessed	for	their	medication	needs	in	a	timely	manner.	The	process	for	
    referrals	to	psychiatric	providers	within	relevant	and	necessary	timeframes	has	not	
    yet	been	fully	 implemented.	Therefore,	there	continue	to	be	unacceptable	delays	in	
    the	provision	of	assessments	for	psychotropic	medications	and	other	mental	health	
    therapeutic	programming.	
    New	Recommendation:	
     24.     OJC	 and	 CCS	 (including	 psychiatrists)	 implement	 performance
	            indicators	for	medication	management	practices	with	appropriate	data
	            collection	and	analysis	including	inmates	housed	in	OJC,	Hunt,	and	other
	            correctional	facilities.	
	                             	




      																																Compliance	Report	#	9	–	August	29,	2018	            77	
        Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 92 of 174



    	IV.	B.	3.		 Counseling	Services		
	
        Finding:	
           B.3.	a.	Partial	Compliance	
           B.3.	b.	Partial	Compliance	
	
          Measures	of	Compliance:	
               • Review	of	mental	health	caseload	and	diagnostic	categories.	
               • Review	of	performance	indicators	and	data	for	services	to	specific	special	needs	
                   populations.	
               • Interviews	with	inmates	and	staff.	
	
          Observations:	
                 CCS	has	begun	to	distinguish	mental	health	contacts/services	provided	to	
           specific	and	identified	groups	and	acknowledges	only	partial	counseling	services	
           are	being	recently	delivered	 to	some	groups	and	minimal	to	no	services	to	
           others	(including	victims	of	assault	or	sexual	abuse,	substance	abusers	and	
           individuals	in	general	population	in	need	of	mental	health	therapy).	The	
           number	of	inmates	requiring	these	services	has	not	been	specifically	identified.	
           The	availability	of	these	services	is	also	 compromised	by	inadequate	numbers	of	
           staff	and	non-confidential	(sound	privacy)	treatment	space.	
          New	Recommendation:	
          25.       CCS	and	OPSO	must	continue	to	identify	the	levels	of	need	for	mental
	                   health	and	special	population	inmates,	and	develop	performance
	                   indicators	for	each	group.	
	
	                                   	




           																																Compliance	Report	#	9	–	August	29,	2018	                  78	
        Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 93 of 174



    IV.		B.		4.		 Suicide	Prevention	and	Training	Program		
	
        Findings:	
              B.		 4.	a.	-	Non-Compliance	
              B.		 4.	b.	-	Partial	Compliance	
              B.		 4.	c.	-	Partial	Compliance	
              B.		 4.	d.	-	Non-Compliance	
              B.		 4.	e.	-	Partial	Compliance	
              B.		 4.	f.	-		Substantial	Compliance	
              B. 	4.	g.	-	Non-Compliance	
	
           Measures	of	Compliance:	
                  •      Review	of	policies,	procedures	and	training/lesson	plans.	
                  •      Discussions	with	staff.	
                  •      Review	of	incident	reports	and	Plaintiffs/DOJ	correspondence.	
                  •      Observations	and	interviews	of	inmates.	
                  •      Review	of	reported	suicidal	ideations,	attempts	and	completed	suicides.	
	
           Observations:	
                   Training	for	clinical	and	custody	staff	has	been	ongoing.	 An	inadequate	
           training	curriculum/lesson	plan	was	provided	and	was	essentially	a	
           cognitive/information	plan	rather	than	a	performance	based	(what	should	I	do?)	
           plan.	 Testing	for	a	 randomly	selected	5%	of	the	staff	trained	on	suicide	
           prevention	has	not	been	completed.	
                   The	suicide	risk	assessment	tool	has	been	amended	again	since	the	last	
           compliance	tour	and	appears	to	be	adequate	and	acceptable;	training	and	
           implementation	monitoring	is	essential.	 CCS	staff	administers	the	risk	
           assessments	in	a	non-confidential	setting	(i.e.,	cell	front	in	the	presence	of	other	
           inmates)	which	requires	correction.		
                   During	this	compliance	tour,	the	presence	and	accessibility	of	required	
           emergency	equipment	including	the	cut	down	tools	was	demonstrated	as	 staff	
           were	able	to	locate	the	suicide	cut	down	tool	in	all	control	pods	observed.		 OPSO	
           rank	are	also	required	to	have	the	tool	on	their	persons	and	nearly	all	requested	
           did.	
                   	 The	observations	of	inmates	on	suicide	precautions	are	compromised	
           by	allowing	ratios	of	1:2	for	direct	observation	and	1:5	for	suicide	precautions	
           and	on	the	acute/subacute	unit	2A;	one	CNA	was	responsible	for	10	inmates,	4	of	


           																																Compliance	Report	#	9	–	August	29,	2018	                 79	
        Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 94 of 174



          whom	were	not	in	suicide	resistant	cells,	because	the	other	CNA	assigned	had	
          gone	to	lunch.	CCS	reported	that	the	CNAs/LPNs	are	required	to	leave	the	units	
          when	a	deputy	 is	not	present	exposing	vulnerable	inmates	to	unacceptable	risk	
          and	inadequate	protection.	
                  CCS	reviews	all	completed	suicides;	however,	the	mortality	reviews	are	
          not	self-critical	and	do	not	include	analysis	of	systemic	and	recurring	concerns	
          and	opportunities	to	improve	care.	CCS	does	not	conduct	morbidity	reviews	of	
          serious	and/or	repeat	suicide	attempts.	Case	reviews	and	mock	demonstrations	
          are	planned	or	just	beginning.	
         New	Recommendations:	

         26.      CCS	revise	and	enhance	training	and	supervision	of	CNAs	with	regard	to
	                 direct	observation	and	suicide	watch	at	OJC.	 Train	staff	to	 appropriately
	                 interact	and	document	observations	of	the	inmate(s).	
         27.      CCS	provide	training	to	mental	health	staff	and	corrections	staff	with
	                 regard	to	direct	observation	and	transport/movement	of	inmates	who
	                 have	been	referred	or	presented	with	concerns	for	suicide	or	self-harm,
	                 and	 document	as	well	as	analyze	the	direct	observation/supervision	of
	                 those	inmates	by	corrections	staff	until	they	are	seen	and	evaluated	by
	                 mental	health	staff.	Provide	documentation	that	deputies	are	trained,	and
	                 inmates	are	adequately	searched	when	placed	on	suicide	precautions.	
         28.      OPSO	and	CCS	implement	performance-based	training	to	provide	a
	                 baseline;	consider	purchasing	training	packages	to	achieve	these	goals.	
         29.    Immediately	develop	a	process	for	which	inmates	on	suicide	precautions	
                receive	the	required	continual	observation	even	when	OPSO	deputies	must	
                leave	the	unit.		For	example,	require	a	supervisor	to	relieve	a	deputy	in	a	
                housing	unit	rather	than	remove	the	medical	staff	who	are	charged	with	
                helping	assure	the	safety	of	vulnerable	inmates.	
    	




	                                 	




          																																Compliance	Report	#	9	–	August	29,	2018	              80	
         Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 95 of 174



    IV.		B.		5.			 Suicide	Precautions			
	
            Findings:	
               B.			5.	a.	–	Partial	Compliance	
               B.			5.	b.	-	Partial	Compliance	
               B.		 5.	c.	-	Partial	Compliance	
               B.		 5.	d.	-	Partial	Compliance	
               B.		 5.	e.	-	Non-Compliance	
               B.		 5.	f.	-	Non-Compliance	
               B.		 5.	g.	-	Non-Compliance	
               B.		 5.	h	-	Non-	Compliance	
               B.		 5.	i.	–	Partial	Compliance	
               B.		 5.	j.	–	Partial	Compliance	
               B.	 5.	 k.	–	Non-Compliance	
	
            Measures	of	Compliance:	
               1. Review	of	medical	records,	incident	reports,	mortality	reviews.	
               2. Discussions	with	staff.	
               3. Observation	of	inmates	on	suicide	precautions	and	staff	monitoring	inmates.	
               4. Plaintiffs’	Reports	and	Grievances.	
	
            Observations:	
            	
                  OPSO	policies	for	suicide	prevention	and	management	are	being	
            developed	and/or	reviewed.	 Some	procedures	have	been	modified	(including	the	
            suicide	risk	assessment	tool)	and	appear	to	be	adequate;	however,	approval		
            and/or	 implementation	is	pending	for	others	(including	the	restraint	policy,	
            referral	policy,	and	emergency	medication	policy).	The	reported	number	of	
            inmates	with	suicidality/self-harm	varies;	the	numbers	reported	by	CCS	are	
            significantly	different	from	those	reported	by	OPSO.	 Numbers	reported	are	
            inconsistent,	without	adequate	explanation	or	resolution.	Twelve	suicide	
            resistant	cells	were	identified	during	this	site	visit.	During	this	compliance	tour,	
            the	number	of	inmates	on	suicide	watch	was	12	(four	were	not	in	suicide	
            resistant	cells),	many	of	whom	had	been	on	precautions	for	longer	than	72	hours	
            without	adequate	treatment	or	removal	or	recommendations	for	transfer	to	
            Hunt	for	acute	care.			
                   The	designated	“acute/subacute”	and	“step-down”	units	for	males	and	
           females	 include	a	mixture	of	mentally	ill	and	non-mentally	ill	inmates.	There	is	no	



            																																Compliance	Report	#	9	–	August	29,	2018	                81	
    Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 96 of 174



     appreciable	therapeutic	milieu	on	any	unit	in	OJC.	The	Hunt	acute	care	unit	
     provides	 acute	care	services	for	men	only.	 The	length	of	stay	combined	with	the	
     limited	number	of	beds	at	Hunt	(39	acute	care	 beds)	limits	the	actual	number	of	
     available	acute	care	inpatient	beds	for	men	at	any	 given	time.	No	acute	care	
     inpatient	beds	are	available	for	women.	
     													An	internal	audit	by	CCS	(CSSR)	in	December	2017	found	multiple	areas	of	
     deficiencies	and/or	opportunities	for	improvement	at	both	OPSO	and	Hunt.	Their	
     findings	were	very	consistent	with	previous	findings	and	recommendations	by	the	
     Monitors	and	reflected	in	multiple	Compliance	Reports.	
     New	Recommendations:	
	
     30.     OPSO	and	CCS	conduct	all	suicide	precautions	and	direct	observations
	            in	suicide	resistant	cells.	Limit	use	of	crisis	cells	to	72	hours,	unless
	            active	and	progressive	treatment	out	of	cell	is	conducted	to	allow	a
	            maximum	length	of	stay	of	10	days	with	transfer	to	Hunt	or	step
	            down/residential	as	indicated.	
     31.     As	part	of	the	Morbidity	and	Mortality	Review	process,	conduct		
            	self-critical	analysis	of	all	completed	suicides	and	serious	and/or	
            repeat	suicide	attempts.	
     32.     Implement	recommendations	of	the	CCS	(CSSR)	audit	from	December
	            2017.		
	                             	




      																																Compliance	Report	#	9	–	August	29,	2018	            82	
        Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 97 of 174



    	IV.		B.		6.		 Use	of	Physical	and	Chemical	Restraints		
	
           Findings:	
                  B.	6.	a.	–	Non-Compliance	
                  B.	6.	b.	–	Partial	Compliance	
                  B.	6.	c.	-		Non-Compliance	
                  B.	6.	d.	–	Non-Compliance	
                  B.	6.	e.	-	Non-Compliance	
                  B.	6.	f.	–	Non-Compliance	
                  B.	6.	g.-		Non-Compliance	
	
           Measures	of	Compliance:	
                1. Review	of	policies	and	procedures.	
                2. Discussions	with	staff	at	OJC.	
                3. Review	of	incident	reports.	
                4. Review	of	correspondence	from	Plaintiffs/DOJ.	
	
	
           Observations:	
                   OPSO	and	CCS	continue	to	develop	the	use	of	restraints	policies.	Draft	
           policies	should	be	reviewed	for	internal	consistency.	OPSO	and	CCS	report	that	
           therapeutic	restraints	are	not	used,	even	when	indicated	for	inmates	who	become	
           extremely	agitated	and	possibly	dangerous	to	themselves	and	others	and	cannot	
           receive	involuntary	or	emergency	medications	due	to	the	current	state	of	law	in	
           Louisiana.	 CCS	reports	the	use	of	 handcuffs	and/or	shackles	for	transport	of	
           inmates	on	suicide	precautions	as	a	 safety	measure;	these	procedures	and	
           practices	are	inconsistent	with	OPSO	policy.	 Episodes	of	lack	of	staff	supervision	
           –	for	example	acute	inmates	running	away	from	 staff	or	running	up	to	a	
           mezzanine	and	threatening	suicide	or	self-harm	continue,	even	 when	the	
           inmates	were	already	on	suicide	precautions	at	the	time	-	a	documented	pattern	
           at	OJC	since	the	building	opened.	Of	the	36	reported	suicide	attempts	at	OJC	from	
           January	thru	June	15,	2018,	at	least	four	involved	use	of	force	and/or	use	of	
           physical	restraints,	including	an	inmate	handcuffed	to	a	chair	while	on	suicide	
           watch	in	IPC.	These	areas	and	appropriate	review	by	CCS	and	OPSO	are	not	
           being	done,	nor	adequately	addressed	in	policies,	supervision	and/or	training.	
                   The	use	of	force	at	Hunt	including	use	of	chemical	munitions,	i.e.,	OC	
           spray,	uses	of	force	and	restriction	of	basic	programming	has	increased.	
           Documentation	that	mental	health	staff	were	involved	in	planned	uses	of	force,	


           																																Compliance	Report	#	9	–	August	29,	2018	               83	
    Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 98 of 174



      and	medical	clearances	were	provided	to	Hunt	staff	by	the	CCS	clinicians;	
      documentation	of	participation	and	clearance	by	CCS	has	not	been	provided.		
      Similarly,	in	the	two	reported	planned	uses	of	force	at	OJC,	documentation	of	CCS	
      involvement	was	absent.	
              There	must	be	comprehensive	policies	that	staff	have	been	trained	to	use	
      in	the	event	of	the	need	for	therapeutic	restraints	to	prevent	injury.	
     New	Recommendations:	
     33.    Assure	and	document	CCS	participation	in	planned	uses	of	force	at	OJC	and	
            Hunt	to	de-escalate	the	inmate	and	the	situation	prior	to	the	use	of	force,	
            except	in	an	emergency,	as	well	as	medical	clearance.			
     34.    Review	OJC	policies	and	reporting	of	two	planned	uses	of	force	from	Jan.					
            	 thru	May	2018.	
     35.    Resolve	differences/conflicts	in	OPSO,	Hunt	and	CCS	Restraint	Policies	to
            	 limit	overuse	and	underuse	of	therapeutic	physical	restraints	and	chemical
            	 restraints,	and	escort	of	inmates	on	suicide	precautions.	
	                             	




      																																Compliance	Report	#	9	–	August	29,	2018	              84	
     Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 99 of 174



IV.	B.	7.	Detoxification	and	Training	
	



        Finding:	
               B.	7.	a.	–	Partial	Compliance	
               B.	7.	b.	–	Partial	Compliance	
               B.	7.	c.	–	Partial	Compliance	
               B.	7	d.	–	Partial	Compliance	
	
        Measure	of	compliance:	
             1 Document	review	of	course	outline,	lesson	plan,	training	records,	and	medical	records.	
        	
        Observations:	
              Performance	has	improved	in	this	area	since	Compliance	Report	#8,	
      including:	1)	the	CCS	intake	screen	that	includes	clear	queries	regarding	the	risk	of	
      withdrawal	is	used;	2)	CCS	has	implemented	CIWA	and	COWS	medical	tags	for	
      monitoring	for	patients	at	risk	of	withdrawal;	and	3)	CCS	staff	is	now	well-trained	
      and	is	performing	well.	
              However,	substantial	improvement	is	needed.	For	example,	a	focused	
      review	of	patients	monitored	for	withdrawal	from	drugs	and/or	alcohol	indicated	
      that	most	were	seen	every	12	hours	instead	of	every	eight	hours.	Further,	there	is	
      no	curriculum	(lesson	plans)	for	corrections	staff	recognition	of	urgent	medical	
      conditions.	 There	is	no	current	plan	for	oversight	of	the	training	program.		Some	
      inmates	at	risk	of	withdrawal	spend	more	hours,	or	days,	in	IPC	rather	than	being	
      assigned	to	a	bed	in	a	housing	unit;	this	puts	them	at	risk	of	harm.	
      New	Recommendations:	
      36.       OPSO,	in	conjunction	with	CCS,	develop	and	implement	training
	               for	corrections	staff	on	recognition	of	urgent	medical	conditions.	
      37.       OPSO	and	CCS	improve	communication	regarding	the	need	for
	               rapid	transfer	out	of	IPC	to	appropriate	housing	(monitoring,
	               bottom	bunk,	etc.)	for	patients	at	risk.	
      38.     CCS	should	revise	the	detox	protocols	to	include	practitioner	visits,	especially	
              for	those	at	high	risk.		CCS	should	oversee	implementation	of	the	detox	
              protocol	to	assure	staff	adherence.		                                         	




        																																Compliance	Report	#	9	–	August	29,	2018	                         85	
    Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 100 of 174



IV.	B.	8.	Medical	and	Mental	Health	Staffing	
        	
        Finding:	
               B.	8.	a.	–	Partial	Compliance	
               B.	8.	b.	 –	Partial	Compliance	
        Observations:	
                CCS	staff	turnover	appears	to	have	stabilized,	though	some	nursing	staff	
        express	reluctance	to	go	to	housing	units	because	of	the	paucity	of	corrections	
        staff	 supervision	in	inmate	living	areas.						CCS	has	engaged	a	full-time,	qualified	
        medical	director.	 This	should	 lead	to	better	clinical	care	through	supervision.	
                Through	medical	record	review,	it	is	apparent	that	there	are	ample	
        opportunities	for	improvement	in	training	and	supervision	of	clinical	staff.	 CCS	
        is	actively	involved	in	this	enhanced	training	and	supervision.	
              There	is	very	little	cross	training	of	nursing	and	administrative	staff.	 The	
      result	is	that	if	one	staff	member	is	not	present	at	work	there	is	no	one	who	can	
      fulfill	the	function.	 CCS	has	begun	to	cross-train	staff;	for	example,	the	CNAs	w h o 	
      watch	suicidal	inmates	rotate	to	the	medical	area	to	work	as	medical	assistants.	The	
      nurse	doing	infection	control	has	someone	cross-trained.	 The	nurse	engaged	for	
      performance	measurement	has	been	on	long	term	leave	and	no	one	was	cross-
      trained	to	perform	these	duties	in	her	absence.	There	is	no	one	cross-trained	as	the	
      grievance	coordinator	for	CCS.	

                Closer	collaboration	between	health	staff	and	OJC	leadership	remains	as	
        an	 opportunity	for	improvement.	
      New	Recommendations:	
      39.       CCS	continue	training	and	supervision	of	all	clinical	staff,	including
	               cross	 training	for	all	nursing	and	administrative	functions.	
	                               	




        																																Compliance	Report	#	9	–	August	29,	2018	                  86	
    Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 101 of 174



IV.	B.	9.	Risk	Management		
       Findings:	
       B.	9.	a	–	Partial	Compliance	
       B.	9.	b.	–	Partial	Compliance	
       B.	9.	c.	–	Partial	Compliance	
       B.	9.	d.	–	Non-Compliance	
       B.	9.	e.	–	Non-Compliance	
       B.	9.	f.	–		Non-Compliance	
	
       Measures	of	Compliance:	
              1.   Review	of	quality	management	information	from	CCS.	
              2.   Review	of	minutes	of	meetings.	
              3.   Interviews	of	staff.	
       	
       Observations:	
       	Dr.	 Greifinger:	
            Performance	measurement	and	quality	management	program	–	the	program	
       is	limping	along,	with	continuing	unreliability	in	some	areas	of	measurement.		
       Reliability	was	fair	for	chronic	disease,	ambulatory	sensitive	conditions	requiring	
       emergency	room	visits,	and	health	assessments.		Measurement	of	the	timing	of	
       intake	screening	was	inaccurate;	the	sample	was	not	selected	properly	for	health	
       assessment	and	reviewers	were	understating	missed	opportunities	for	patients	
       sent	to	the	ER	for	ambulatory	sensitive	conditions.		Reliability	is	poor	for	detox	
       services	and	mental	health	treatment	planning.		Data	analysis	is	weak	and	there	
       has	been	very	little	trending	of	performance	data	to	see	if	actions	have	been	
       effective.	
            	 There	is	scant	organized	supervision	of	mid-level	practitioners	and	no	
       focused	audits	of	their	care.	
       Dr.	Patterson:	
                The	Mental	Health	committee	meets	after	the	MAC	meetings.	 The	results	
       are	that	there	is	still	only	data	reported,	with	little	or	no	analysis;	and	no	
       corrective	action	plans	or	follow-up.	Neither	the	Mental	Health	Review	
       Committee	nor	the	Morbidity	and	Mortality	Review	Committee	review	serious	
       or	repeat	suicide	attempts;	inmate	incident	reports	in	which	de-escalation	
       techniques	by	CCS	and/or	therapeutic	restraints	may	have	prevented	or	reduced	


        																																Compliance	Report	#	9	–	August	29,	2018	             87	
Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 102 of 174



  the	likelihood	of	harm	are	not	reviewed.	There	were	36	reported	suicide	
  attempts	from	January	thru	June	15,	2018,	with	at	least	4	involving	use	of	force	
  and/or	restraints.	NONE	of	these	incidents	were	reviewed	by	CCS	and	OPSO	
  jointly	to	assess	individual	or	systemic	issues	or	to	determine	the	root	causes	of	
  the	behaviors.	OPSO	reports	a	general	downward	trend	in	altercations	and	
  determined	that	inmates	on	the	mental	health	caseload	were	involved	in	inmate	
  on	inmate	altercations	in	45%	for	males	and	64%	for	females	in	May	2018.	The	
  Interim	Independent	Compliance	Director	has	ordered	an	analysis	of	the	
  possible	role	of	medication	refusals	in		incidents	of	altercations	involving	
  caseload	inmates.	CCS	is	required	to	provide	counseling	to	inmates	on	the	
  caseload.	
          While	there	are	meetings	held	to	discuss	quality	management	and	data	
  presented,	there	is	very	little	to	no	analysis	of	the	information,	trend	analysis,	or	
  corrective	actions/recommendations	to	implement	a	comprehensive	risk	
  management	system	to	address	the	mental	health	screening	and	assessment	
  process,	suicide	risk	assessment	and	management,	timeliness	of	responses	to	
  inmate	sick	call	requests	and	staff	referrals,	provision	of	acute	care	inpatient	
  services	for	women,	the	provision	of	an	adequate	continuum	of	mental	health	
  care,	and	the	effectiveness	of	mental	health	treatment	planning	and	services	to	
  minimize	and	prevent	harm.	Analysis,	corrective	actions,	and	collaboration	
  between	OPSO,	CCS,	and	Hunt	are	necessary.	Composition	of	the	
  Interdisciplinary	Team	includes	the	Medical	Director	and	Director	of	Nursing	
  for	functions	that	appear	to	be	appropriate	for	the	Multidisciplinary	Treatment	
  Teams.	
 New	Recommendations:	

 40.    CCS	develop	and	implement	an	organized	process	for	evaluation	and	
        feedback	regarding	care	provided	by	mid-level	practitioners	and	staff	
        physicians.
 41.    CCS,	OPSO	and	Hunt	revisit	the	quality	management	program	and
        	 composition	of	committees	to	assure	reliable	data	abstraction,	quantitative	



  																																Compliance	Report	#	9	–	August	29,	2018	                 88	
Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 103 of 174



        and	qualitative	data	analysis,	with	trending,	and	 implementation	of	specific	
        corrective	action	plans	to	remedy	identified	opportunities	for	improvement.
        	 This	program	should	integrate	clinical	performance	measurement,
        	 morbidity	and	mortality	review,	grievance	 analysis	and	other	elements	of	a	
        comprehensive	quality	management	program	including	a	program	plan	and	
        annual	evaluation.
 42.    The	need	for	quality	review	of	suicide	attempts	cannot	be	overemphasized.	
        Inmates	in	need	of	treatment	must	be	identified	and	services	provided,	while	
        those	who	may	engage	in	threatening	and/or	self-	destructive	behaviors	
        require	appropriate	management	and	possibly	treatment	to	reduce	the	
        likelihood	of	harm	to	themselves	and	others.	CCS	and	OPSO	should	review	
        and	assess	these	incidents	and	determine	strategies	and	corrective	actions.		




  																																Compliance	Report	#	9	–	August	29,	2018	           89	
        Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 104 of 174



    IV.		 C.		 Medical	Care		
    Summary
           Since	Compliance	Tour	8,	CCS	has	had	significant	leadership	turnover,	including	
    the	mental	health	director,	health	services	administrator	and	director	of	nursing.		In	
    that	committee	minutes	are	scant	and	poorly	documented,	institutional	memory	is	lost	
    with	employee	turnover	of	the	on-site	leadership	team.	
           Corrections	staff	are	often	unavailable	to	escort	nurses	onto	the	housing	units	and	
    to	escort	patients	to	the	medical	clinic.		CCS	is	not	keeping	track	of	missed	appointments	
    on-site	due	to	lack	of	security	escort,	therefore	is	not	possible	to	quantify	this	barrier	to	
    the	 provision	of	timely	care	for	patients	with	acute	and	chronic	medical	needs,	including	
    timely	 receipt	of	medication.	
           There	are	no	special	needs	beds	(e.g.	infirmary)	at	OJC	and	no	specific	plans	to	
    provide	this	much-needed	space,	except	for	the	vague	promise	of	a	Phase	III	building.	 	
    An	architect	has	been	selected	and	program	planning	is	scheduled	for	September	
    2018.	 	 The	OJC	is	neither	designed	nor	equipped	for	housing	special	populations	 and	
    is	poorly	designed	for	the	efficient	delivery	of	medical	care.	
    Assessment	Methodology	
           •       June	11	–	14,	2018	on-site	tour.	
           •       Meetings	with	OPSO	and	CCS	staff,	tour	of	OJC.	
           •       Medical	record	review	and	reliability	testing	of	CCS	clinical	
                   performance	measurement.	
           •       Medical	record	reviews	of	selected	incidents,	patients	referred	to	the	
                   emergency	department	for	ambulatory	sensitive	conditions,	trauma,	
                   detoxification	and	withdrawal,	intake	screening,	sick	call,	chronic	
                   disease	 (anticoagulants,	asthma,	diabetes,	seizure	disorder,	
                   medication	management)	and	referrals	from	the	attorneys	for	the	
                   Plaintiff	class.	
           •       Performance	measurement	and	quality	management	documents,	
                   grievances,	grievance	analyses.	
	                                 	




                            	Compliance	Report	#	9	–	August	29,	2018	                                90	
    Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 105 of 174



      Measures	of	compliance:	
           1. Quality	management	documents.	
           2. Inmate	complaints	and	grievances.	
           3. Medical	records.	
	

      Observations:	
             Medical	Care	services	have	been	stable	since	Compliance	Report	#8.	
             Access	to	care:	There	are	continuing	lags	in	access	to	care.			The	monitoring	
      team	reviewed	the	intake	assessments	of	29	inmates,	selected	randomly	and	
      booked	between	since	December	2017.		Only	55	percent	were	seen	within	five	
      hours	of	admission;	only	53	percent	of	patients	with	significant	chronic	disease	
      were	seen	by	a	practitioner	within	24	hours;	and	only	75	percent	of	critical	
      medications	were	ordered	within	24	hours.		History	and	physical	examinations	
      are	only	performed	within	14	days	on	82	percent	of	inmates	in	custody	for	more	
      than	14	days;	and	only	21	percent	of	the	histories	and	physicals	are	reviewed	by	a	
      practitioner	within	24	hours.			
             Sick	call	performance	has	ample	opportunities	for	improvement;	requests	
      are	not	screened	in	a	timely	manner,	patients	are	not	seen	by	practitioners	in	a	
      timely	manner,	and	nursing	documentation	is	insufficient.		Patients	with	chronic	
      disease	are	not	seen	in	a	timely	manner	and	nationally-accepted	clinical	guidelines	
      are	not	routinely	followed.			
             Emergency	room	utilization:		CCS	has	been	able	to	reduce	the	use	of	the	ER	
      by	50%	since	the	peak	in	August	2017,	with	most	recent	downward	trend	in	April	
      -May	2018.		Both	trauma-related	and	medical	“routes”	have	declined,	with	no	
      adverse	consequences	for	patients.	
             Housing	for	Pregnant	Women:		Pregnant	inmates	are	now	housed	in	
      general	population.	 This	is	an	improvement.		CCS	issued	a	policy	on	counseling	
      care	for	pregnant	patients	on	May	24,	2018.		The	policy	includes	access	to	
      counseling	and	assistance	provided	in	accord	with	the	patient’s	expressed	desires	
             Medical	 recordkeeping:	 Medication	 administration	 records	 are	 now	
      integrated	into	the	electronic	medical	record	(ERMA)	via	hand-held	tablets.	 The	
      tablets	have	just	been	issued	and	training	is	ongoing.		This	is	an	improvement.			



                       	Compliance	Report	#	9	–	August	29,	2018	                           91	
Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 106 of 174



         Language	assistance: 	 Bilingual	officers	assist	clinical	staff	with	services	for	
  Spanish-only	speaking	patients.	 The	CCS	language	line	is	used	for	others,	although	
  documentation	was	not	available	as	to	how	often	it	is	used	(as	of	tour	#8).	
         Medication	management:	Continuity	of	medication	on	intake	remains	far	
  below	expectations.	 For	example,	in	a	focused	study	of	incoming	inmates	with	
  chronic	disease,	only	75	percent	had	orders	written	within	24	hours	of	intake	and	
  only	89	percent	received	their	first	dose	within	24	hours	of	the	order.	
         In	a	focused	study	of	inmates	with	seizure	disorder,	86	percent	had	
  appropriate	blood	level	testing	for	adjustments	to	dosing;	this	is	improved	from	
  63	percent	six	months	ago.	 	
         As	noted	above,	CCS	and	OPSO	need	to	work	together	to	mitigate	any	
  delayed	medication	passes	due	to	short-staffing	of	security	posts.	
        Continuity	on	release:	The	provision	of	discharge	medication	continues	to	be	
 scant,	with	only	three	patients	picking	up	discharge	medication	in	May	2018	out	of	
 less	than	approximately	two	dozen	ordered.		One	significant	reason	for	small	
 numbers	is	that	CCS	does	not	receive	timely	notice	of	impending	releases,	where	
 available.	
        Continuity	on	transfer:	CCS	is	preparing	transfer	summaries	to	and	from	the	
 Hunt	facility	and	whenever	necessary	otherwise.	 The	summaries	are	more	
 comprehensive	than	they	had	been	in	the	past.	
         IPC	design:	There	is	no	change	from	prior	periods.	
         Jail	Design	–	Phase	II:	Although	medical	and	psychiatric	patients	are	
  clustered	on	general	population	housing	units,	there	is	no	provision	for	housing	
  patients	with	special	needs,	neither	medical	nor	psychiatric,	in	the	OJC.	 Plans	
  for	 Phase	III	housing	for	inmates	with	special	needs	remain	elusive.	
         Grievance	Process:	Grievance	responses	are	more	respectful.		Three	of	seven	
  grievances	reviewed	did	not	address	all	aspects	of	the	complaint.		The	grievances	
  reflected	delays	in	care	and	lapses	in	medication	that	were	valid.		There	is	no	
  substantive	analysis	of	grievance	data	to	inform	staff	of	persistent	barriers	to	
  medication	and	care.	
 Emergency	Preparedness:	Cut-down	tools	and	first	aid	kits	were	present	in	the	IPC	


                  	Compliance	Report	#	9	–	August	29,	2018	                               92	
    Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 107 of 174



     and	all	housing	units.		This	is	an	improvement.		No	data	were	 available	as	to	the	
     proportion	of	current	custody	staff	trained	for	medical	 emergencies.			Medical	
     urgency	training	has	not	begun	and	medical	response	to	urgent/emergent	needs	is	
     inadequate.		Members	of	the	monitoring	team,	along	with	Plaintiffs’	counsel,	
     observed	an	emergency	response	and	noted	opportunities	for	improvement.	
             Nursing	Response	to	Use	of	Force:	Not	evaluated	on	this	tour.	
             Care	for	inmates	in	medical	restraints:	A	policy	has	recently	been	developed.		
             No	training	data	were	available.	
             Care	for	inmates	at	the	out-of-parish	facilities:	Transfer	criteria	have	been	
      developed.		At	the	time	of	this	tour,	OPSO	represented	there	were	no	inmates	
      housed	in	out-of-parish	facilities.			
	
	                           	




                      	Compliance	Report	#	9	–	August	29,	2018	                               93	
    Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 108 of 174



IV.	C.	1.	Quality	Management	of	Medication	Administration	
          Findings:	
                 C.	1.	a.	Partial	Compliance	
                 C.	1.	b.	Partial	Compliance	
                 C.	1.	c.	Partial	Compliance	
                 C.	1.	d.	Partial	Compliance	
          	
          Measures	of	compliance:	
                1.   Quality	management	documents.	
                2.   Inmate	complaints	and	grievances.	
                3.   Medical	records.	
                4.   Plaintiffs’	complaints.	
          	
          Observations:	
                 Performance	in	this	area	has	been	stable	since	Compliance	Tour	#8.	There	
          has	been	no	substantial	progress	nor	regression	regarding	compliance	in	these	
          sections	of	the	Consent	Judgment.	 Information	on	discharge	medication	remains	
          incomplete.		As	noted	above,	very	few	prescriptions	are	written	for	discharging	
          inmates	and	fewer	are	picked	up.	
      	New	Recommendation:	
      43.       CCS	attend	to	the	matter	of	lost	institutional	memory	with	staff	turnover	by	
                keeping	of	meaningful	and	complete	minutes	of	meetings	and	recording	
                relevant	procedural	information.	
      	
                                 	




                           	Compliance	Report	#	9	–	August	29,	2018	                         94	
       Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 109 of 174



    IV.	C.	2.	Health	Care	Delivered	                                                                      	
            	
            Findings:	
                  C.	2.	a.	Partial	Compliance	
                  C. 2.	b.	Partial	Compliance	
	
                  Measures	of	compliance:	

                      1.   Reports	on	numbers,	as	specified	in	the	Consent	Judgment.	
                      2.   Reports	on	clinical	performance,	with	discussion	of	problem	
                           identification	and	 remedies.	
                      3.   Medical	record	review.	
           	
           Observations:	
                  Performance	in	this	area	has	been	stable	since	Compliance	Tour	#8.	
                  A	review	of	complaints	from	the	attorneys	for	Plaintiff	class	and	a	focused	
           review	of	records	for	inmates	with	ambulatory	sensitive	conditions	returning	
           from	the	hospital,	found	significant	problems.	 For	example,	30	percent	of	the	
           sample	of	ten	randomly	selected	inmates	in	the	focused	review	had	conditions	
           that	had	 deteriorated	unnecessarily	during	the	period	prior	to	the	hospital	visit.			
           Documentation	that	the	hospital	recommendations	were	followed	by	CCS	was	
           available	for	only	90	percent	of	 the	sample.		This	is	an	improvement.	
                  There	is	no	documentation	of	ongoing	oversight	of	CCS	care	by	OPSO	or	
           the	contractor,	the	City	of	New	Orleans.		The	Interim	Independent	Compliance	
           Director	is	searching	for	a	medical	liaison	who	will,	among	other	things,	provide	
           some	oversight	for	OPSO.	
           		




                            	Compliance	Report	#	9	–	August	29,	2018	                               95	
       Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 110 of 174



    IV.	C.	3.	 Release	and	Transfer	
                                                                                                       	
           Finding:	
                  C.	3.	a.	Partial	Compliance	
                  C.	3.	b.	Partial	Compliance	
                  C.	3.	c.	Partial	Compliance	
                  C.	3.	d.	Partial	Compliance	
                  	

                  Measures	of	compliance:	

                        1.       Interviews.	
                        2.       CCS	documents.	
	

           Observation:	
                  Performance	in	this	area	has	not	improved	since	Compliance	Tour	#8.	
                  Very	few	released	patients	receive	prescriptions	for	their	chronic	medical	
           and	mental	illness	and	very	few	get	transition	planning.	 Despite	the	availability	
           of	data	on	medical	holds,	there	is	no	denominator	data	to	assess	the	proportion	
           of	patients	on	medication	who	get	prescriptions.	


	




                             	Compliance	Report	#	9	–	August	29,	2018	                           96	
      Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 111 of 174
		
	
IV.	D.	Sanitation	and	Environmental	Conditions	
Introduction	
	       This	report	summarizes	the	compliance	findings	for	the	Sanitation,	Environmental	
Conditions	and	Fire	and	Life	Safety	provisions	of	the	Consent	Judgment.			The	conclusions	
are	based	on	the	Monitor’s	tour	conducted	June	11-14,	2018,	and	review	of	materials	
provided	prior	to	the	on-site	work.19	
	The	Monitor	toured:		inmate	housing	units	in	the	Orleans	Justice	Center	(OJC),	the	
Temporary	Detention	Center	(TDC),	and	the	Kitchen/Warehouse/Central	Plant.		The	
Monitor	spoke	with	inmates,	deputies,	and	supervisors.			                    	
        This	report	includes	new	recommendations	for	OPSO’s	consideration	for	the	
purpose	of	achieving	compliance.		Outstanding	recommendations	from	previous	tours,	are	
noted	Appendix	B	in	Compliance	Report	#	8.	
        Since	the	previous	tour	in	November	2017,	there	is	progress	toward	compliance	
with	the	Sanitation	and	Environmental	Conditions	and	Fire	and	Life	Safety	provisions	
including:	
        •        Hiring	of	a	full-time	Sanitarian	in	February	2018;	and	
        •        Findings	in	this	report	of	Substantial	Compliance	with	four	of	the	seven	fire	
and	life	safety	provisions,	inspections,	fire	drills,	training	and	emergency	keys.	
        Work	remains	to	achieve	compliance	including,	but	not	limited	to:		
        •        completing	policies;	
        •        developing	lesson	plans;		
        •        conducting	employee	and	contractor	training,	including	measuring	
knowledge	of	trainees;	
        •        providing	documentation	of	policy	and	procedure	implementation	and	
compliance;	and		




19	The	on-site	work	included	meetings	with	key	staff	including	the	Independent	Compliance	Director,	Chief	of	
Corrections,	Director	of	Facilities	Management,	Fire	Safety	Officer,	and	Environmental	Inspector.	In	addition,	
the	Monitor	was	accompanied	by	on	the	first	day	by	Eric	Foley,	attorney	for	the	Plaintiff	class.	
                                                                                                           		
		
                                                                                                            97	
            	                			Compliance	Report	#	9	–	August	29,	2018	
        Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 112 of 174



          •         assuring	meaningful	leadership	oversight	to	objectively	assess	if	the	policies	
and	procedures	are	consistently	followed	and	achieve	the	requirements	of	the	Consent	
Judgment.		
          Impacting	sustainable	compliance	is	the	need	for	staff	in	key	positions	including	full-
time	Safety	Sanitation	Deputies	(who	are	assigned	only	to	these	duties)	to	assure	duties	are	
consistently	performed	related	to	housekeeping,	chemical	control,	tool	control,	and	
laundry.			         The	Independent	Compliance	Director’s	(ICD)	report	of	November	1,	2017,	
60-day	noted	that	four	“Sanitation	Deputies”	were	authorized	to	work	under	the	
supervision	of	the	Sanitarian.		However,	at	the	time	of	this	compliance	tour,	only	two	of	the	
four	positions	were	filled.		The	Sanitarian	reported	that	these	two	deputies	are	frequently	
reassigned	by	“rank”	to	perform	other	security	tasks.		The	Stipulated	Action	Plan	dated	
June	15,	2018,	noted	that	a	staffing	requisition	was	posted	April	23,	2018,	and	that	there	
was	“Still	an	ongoing	effort	to	get	a	fully	staff	(sic)	sanitation	department.”		
           Cleaning	and	sanitation	of	common	and	administrative	areas	was	observed	by	
    the	Monitor	and	found	to	be	at	an	acceptable	level.		However,	housekeeping	in	inmate	
    living	areas	and	cells	continues	to	be	a	challenge.		Inmates	interviewed	in	two	inmate	
    living	areas	reported	inadequate	or	missing	cleaning	supplies.	The	Monitor	observed	
    supplies	to	be	missing	from	the	carts	and	supply	closets	in	several	inmate	living	areas.		
    Spray	bottles	in	several	inmate	living	areas	were	observed	by	the	Monitor	to	be	in	the	
    possession	of	inmates	throughout	open	dorms	and	in	individual	cells.	These	
    observations	indicate	either	a	lack	of	training	or	unit	supervision	on	the	part	of	the	
    deputies	assigned	to	the	units.	The		
           Monitor	also	observed	that	at	least	two	chemical	concentrate	dispensers	located	
    in	the	supply	closets	had	been	tampered	with	indicating	a	lack	of	supervision	by	
    deputies	when	inmates	accessed	the	secure	closets.		Unsupervised	access	to	the	
    equipment	and	concentrated	chemicals	presents	a	potential	safety	and	security	risk	to	
    both	inmates	and	staff.		
	         The	OPSO	April	2018	Grievance	Monthly	Trend	Report	notes	for	the		period	January	
-	April,	there	were	a	total	of	530	environmental	and	sanitation	grievances.		Although	the	




                	             		Compliance	Report	#	9	–	August	29,	2018	                        98	
	
      Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 113 of 174
		
	
number	decreased	from	95	in	March	to	65	in	April,	environmental	complaints	involving	
sanitation	constituted	12%	of	the	total	filed	in	April,	a	substantial	number.		
	       The	inmate	laundry	operation	is	currently	contracted	to	an	outside	vendor.		The	
laundry	exchange	plan	calls	for	inmate	uniforms	to	be	exchanged	twice	weekly.		The	
Sanitarian	reports	that	due	to	the	lack	of	Sanitation	Deputies	and	chronic	performance	
issues	with	the	contractor,	uniform	exchange	is	only	accomplished	once	a	week	with	no	
additional	clean	uniforms	provided	in	the	interim	period.	This	practice	leads	to	inmates	
hoarding	uniforms	and	destroying	or	altering	uniform	items	for	other	than	their	intended	
purpose.	The	Monitor	observed,	in	the	majority	of	inmate	living	areas	inspected,	an	
excessive	number	and/or	altered	uniform	items.	The	inmates	also	attempt	to	wash	uniform	
items	either	in	hand	sinks	or	the	washing	machines,	then	hang	the	clothing	from	bunks	to	
dry	which	obstruct	the	deputies’	clear	view	into	these	areas.	The	clothes	dryers	located	in	
OJC’s	inmate	housing	units	intended	to	dry	inmates’	personal	clothing	continue	to	need	
repairs	and	are	routinely	vandalized	–	thus	creating	contraband	and	significant	security	
issues.	The	volume	of	washing	and	drying	of	inmates’	personal	laundry	appears	to	be	
beyond	the	capacity	of	the	current	equipment,	especially	as	there	is	no	preventive	
maintenance.		As	noted	in	previous	Compliance	Reports,	the	dryers	are	in	dangerous	
condition:					
        •       The	lint	vents	have	been	vandalized	by	the	inmates	and	provide	a	source	of	
                weapons;	and	
        •       There	was	missing	vent	tubing,	broken	flexible	vents,	missing	clamps	used	to	
                secure	the	vents	to	the	dryer,	wall	vents	torn,	and	missing	lint	traps	inside	the	
                dryers.		
The	current	conditions	of	the	dryers	create	safety	and	security	issues	for	inmates	and	
deputies	including	potential	fire	hazards	from	the	lint.	The	Monitor’s	suggestions	in	this	
regard	have	not	changed	since	the	last	report.		
        Additional	issues	required	by	the	Consent	Judgment	needing	attention,	include,	but	
are	not	limited	to:	
        •       Development	and	implementation	of	a	plan	to	assure	adequate	trained	staff	for	
                support	services.	
                                                                                                 		
		
                                                                                                     99	
            	                 			Compliance	Report	#	9	–	August	29,	2018	
        Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 114 of 174



         •   Completion	of,	training	in,	and	implementation	of	support	services	policies.	
         •   Training	and	implementation	of	a	written	processes	for	tool	and	chemical	
             inventory	and	control	in	the	Kitchen/Warehouse.	
         •   Assignment	of	a	sufficient	number	of	deputies	in	inmate	housing	units	to	manage	
             and	oversee	inmate	living	conditions	as	well	as	supervise	proper	storage	of	
             inmate	property	to	control	clutter	and	fire	hazards	in	cells	as	required	in	the	
             Inmate	Handbook.	
         •   Address	the	lack	of	daily	inspections	of	housing	units/cells	to	identify	and	
             eliminate	blocked	air	vents	in	inmate	cells	effectively	restricting	adequate	air	
             flow.		
         •   Timely	replacement	of	broken,	damaged,	or	missing	glass	panels.		
         •   Develop,	train,	and	implement	a	comprehensive	Infection	Control	Policy.				
Additionally,	as	noted	below,	it	is	recommended	that	OPSO	consider	hiring	qualified	
civilian	employees	to	perform	sanitation	and	life	safety	duties	in	all	facilities	and	on	all	
shifts.		This	will	allow	the	deployment	of	sworn	personnel	to	inmate	supervision	and	
security	duties.			These	civilian	employees	can	be	supervised	by	qualified	personnel,	and	
trained	for	their	specific	duties.	
	
    	
	                              	




               	           		Compliance	Report	#	9	–	August	29,	2018	                           100	
	
     Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 115 of 174
		
	
V.	D.	1.		Sanitation	and	Environmental	Conditions	
IV.	D.	1.	a.	Oversight	and	Supervision	of	Routine	Cleaning	
	
        Finding:	Non-Compliance	
        	
          Measures	of	Compliance:	
               1.       Written	policies	and	procedures	for	cleaning	and	disinfecting,	monitoring	process	
                        with	responsibility	and	accountability	assigned	developed	in	collaboration	with	
                        Monitors.	
               2.       List	of	controlled	inventory	of	acceptable	cleaning	and	disinfecting	chemicals.	
               3.       Development	and	implementation	of	an	effective	weekly	[or	more	frequently]	
                        auditing	process	with	assigned	responsibility	and	accountability	and	
                        documentation.	
               4.       Monitors’	onsite	verification	of	implementation	of	both	the	policy(s)	and	the	
                        auditing	process	and	report,	along	with	corrective	action	when	non-conformities	
                        to	the	policy/procedures	are	documented.	
               5.       Observation	of	conditions	along	with	interviews	with	inmates	and	staff.	
	
      Observations:	
              OPSO	has	not	finalized	two	policies	pertaining	to	this	paragraph,	1101.04,	
      “Cleaning	Procedure-Facility”,	and	1101.06,	“Inmate	Hygiene.”		OPSO	has	not	
      provided	any	evidence	of	training	for	inmate	workers,	or	the	employees	assigned	to	
      manage	housekeeping.			
              OPSO	provided	a	cleaning	schedule	that	identifies	the	housekeeping	
      frequency,	by	area,	for	both	OJC	and	TDC.		However,	no	documentary	evidence	was	
      provided	to	demonstrate	implementation.		The	Sanitarian	and	Environmental	
      Officer	commented	that	maintaining	regular	cleaning	schedules	was	inconsistent	
      due	to	staffing	levels.	This	observation	was	supported	by	the	Life	Safety	inspection	
      documentation	consistently	reporting	“housekeeping”	issues	primarily	in	inmate	
      living	areas.		
              OPSO	has	also	developed	a	“Pod	Daily	and	Weekly	Cleaning	Schedule	
      Checklist.”		The	checklist	is	to	be	completed	daily	by	the	deputy	assigned	to	a	
      housing	unit	and	submitted	weekly	to	the	Safety	Sanitation	Deputy	(SSD).		As	
      reported	in	the	last	Compliance	Report,	there	was	no	evidence	provided	that	the	
      checklist	process	has	been	implemented,	and	the	Sanitarian	reported	that	no	SSDs	
      are	assigned	to	these	duties	due	to	a	lack	of	staff.		Staff	reported	that	previously	

                                                                                                      		
		
                                                                                                      101	
        	                 			Compliance	Report	#	9	–	August	29,	2018	
    Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 116 of 174



     designated	SSDs	are	pulled/re-assigned	from	managing	housekeeping	and	chemical	
     control	to	assist	with	other	line	and	support	functions.		
              As	reported	in	Compliance	Report	#7,	OJC	had	not	developed	a	staff	and/or	
     inmate	training	program	for	sanitation	that	includes	mattress	cleaning,		and	
     chemical	use	and	control.		No	evidence	was	provided	to	demonstrate	that	this	has	
     changed.	The	Monitor	observed	mattresses	which	were	improperly	stored	in	an	
     outside	hallway	at	the	TDC	facility.	
              Based	on	the	findings	in	Compliance	Report	#	6,	OPSO	purchased	two	“All	
     Surface	Cleaning”	machines	to	clean	inmate	showers.		OPSO	recently	assigned	a	
     deputy	to	environmental	services	to	clean	“inmate	showers.”		The	Environmental	
     Inspector	stated	that	the	deputy	responsible	for	managing	shower	cleanliness	in	all	
     housing	units	is	unable	to	perform	this	function	due	to	staffing	shortages.	The	
     Environmental	Inspector	reported	that	he	attempts	to	accomplish	this	task	as	his	
     schedule	permits.	
              The	Environmental	Inspector	and	Life	Safety	Officer	continue	to	conduct	
     inspections	of	all	housing	units.		The	Monitor	reviewed	the	periodic	inspection	
     reports	provided	by	OPSO	for	2017	and	for	the	period	since	the	October	2017	
     compliance	tour.	The	reports	identify	the	same	housekeeping	issues	in	the	same	
     units	at	subsequent	inspections.	The	Monitor	believes	the	housekeeping	issues	
     persist	due	to	a	lack	of	training	for	the	deputies	assigned	to	housing	units,	or	if	the	
     staff	are	adequately	trained,	then	the	problem	may	lie	with	inadequate	staffing,	a	
     lack	of	initiative/responsibility	on	the	individual	deputy’s	part	and/or	the	failure	of	
     supervisory	staff	to	hold	the	staff	accountable	when	deficiencies	are	observed.	The	
     lack	of	security,	supervision	and	accountability	with	cleaning	supplies	continues	to	
     contribute	to	the	problem	as	well.	
              In	touring	inmate	housing	units,	the	Monitor	identified	several	
     safety/security	and	cleanliness	issues	that	will	benefit	from	effective	and	consistent	
     oversight	by	deputies	and	supervisors	as	well	as	direct	supervision	of	inmates.		
     Examples	include,	but	not	limited	to:	




          	             		Compliance	Report	#	9	–	August	29,	2018	                         102	
	
     Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 117 of 174
		
	
            •     Accumulation	of	lint	behind	dryers	resulting	from	missing	or	broken	
                  dryer	vents	in	numerous	OJC	housing	units.		For	solutions,	OPSO	
                  should	identify	a	safe	solution	to	the	vent	issue	as	well	as	anchoring	
                  the	machines	themselves	to	prevent	inmates	from	moving	the	
                  machines;	or	remove	the	washers	and	dryers	completely	and	develop	
                  other	options	for	the	laundering	of	the	inmates’	personal	items.	
            •     Inmates’	personal	items	(paperwork,	commissary	purchases,	and	
                  other	approved	items)	are	not	stored	as	prescribed	in	OJC’s	Inmate	
                  Handbook	in	the	personal	property	bags	provided	by	OJC.		The	
                  inmates	are	either	not	instructed	in	what	they	may	keep	and	where	to	
                  store	it;	or	staff	choose	to	ignore	the	issue.	
            •     Inmates	are	hoarding	mattresses,	and	mattresses	are	placed/stored	
                  on	the	floor	of	cells	rather	than	on	assigned	bunks.	
            •     Numerous	exhaust	and	return	air	vents	in	inmate	cells	at	OJC	blocked	
                  by	inmates	to	reduce	air	flow,	clearly	visible	during	a	housing	unit	
                  inspection.		
            •     Cell	door/	food	pass	locks	tampered	with	thus	making	them	
                  inoperable	and	a	security	threat.	
            •     Lower	bunks	wrapped	with	a	blanket	to	prevent	deputy’s	observation	
                  of	the	inmate.		
            •     Dayroom	chairs	in	cells	in	OJC,	chairs	stacked	to	block	deputy	vision	
                  into	toilet	areas	in	OJC,	and	chairs	in	showers.	
            •     Lack	of	supervision	and	accountability	for	cleaning	chemicals	and	
                  tools:	
                  o Missing	cleaning	spray	bottles	in	housing	units;	chemical	spray	
                      bottles	found	in	inmate	cells;	
                  o Chemical	storage	closet	door	in	a	housing	unit	was	tampered	with	
                      to	prevent	it	from	securing;		
                  o Floor	mops	in	mop	buckets	holding	dirty	water,	not	allowing	mops	
                      to	be	cleaned	and	dried	between	uses,	mop	heads	unable	to	be	
                                                                                          		
		
                                                                                       103	
        	            			Compliance	Report	#	9	–	August	29,	2018	
    Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 118 of 174



                            properly	cleaned,	disinfected	and	dried	between	uses;	dust	mops	
                            with	no	process	or	schedule	to	clean;	and	
                         o Brooms	had	detachable	handles	making	the	handles	into	weapons,	
                            documented	in	inmate	on	inmate	assaults	by	OPSO.	Several	
                            handles	were	in	the	possession	of	inmates	in	dayrooms.	
               •         Complaints	from	inmates	of	chemicals	not	available	for	cleaning	cells	
                         or	dormitories.	
               •         Insulated	meal	trays	kept	in	unit	which	are	to	be	returned	after	each	
                         meal	service.	
               •         Excess	inmate	uniforms	and	blankets	in	cells.	
               •         Numerous	occurrences	of	cell	light	shields	covered	with	paper	“glued”	
                         to	the	covering	with	toothpaste.		Deputies	have	no	tools	to	remove	or	
                         clean	the	light	shields.		
               •         Broken	glass	panels	in	shower	windows	(two	locations).		
               •         Graffiti	on	walls	in	dormitories	and	cells.	
     These	issues	were	identified	in	previous	compliance	reports.	
     New	Recommendations:	
     44.       OPSO	develop	and	implement	a	process	for	selection	and	training	of	inmate	
               workers.	
     45.       OPSO	immediately	consider	options	to	relocate	the	clothes	dryers	located	in	
               inmate	housing	units,	including	removal	to	prevent	vandalism,	fire	risk,	and	
               fires.	
     	
	                               	




           	                		Compliance	Report	#	9	–	August	29,	2018	                       104	
	
     Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 119 of 174
		
	
IV.		D	.1.	b.		Preventive	Maintenance	
        	
        Findings:	Partial	Compliance	
        	
            Measures	of	Compliance:	
                 1.     Review	of	the	preventative	maintenance	plan	to	determine	who	has	
                        responsibility	to	file	work	orders.	
                 2.     Evidence	of	meeting	the	timelines	for	submission	of	work	orders.	
                 3.     Evidence	of	training	of	those	assigned	the	responsibility	to	file	work	orders.	
                 4.     Observation	of	practice	and	conditions.	
                 5.     Work	orders,	invoices,	and	purchases	in	support	of	the	preventive	maintenance	
                        plan.	
      	
      Observations:	
              OPSO	Policy	601.02,	Reporting	and	Addressing/Repairing	Maintenance	
      Needs	specifically	requires	that	any	staff	member	observing	a	maintenance	issue	
      “shall	call	the	CMMS	work	order	facilitator”	to	report	the	issue,	“or	leave	a	message”.	
      The	Monitor	observed	that	this	policy	and	procedure,	as	written,	likely	results	in	
      miscommunication	of	maintenance	issue	and	may	result	in	unnecessary	delay	of	any	
      repairs.		For	example,	neither	the	housing	unit	deputy	nor	control	room	staff	could	
      verify	whether	work	orders	had	been	submitted	to	repair	obvious	issues	such	as	
      broken	glass,	damaged	dry	vent	lines,	broken	washer/dryer,	etc.		Deputies	working	
      in	a	housing	unit	and	control	room	staff	report	they	cannot	learn	whether	work	
      orders	had	been	submitted	for	on-going,	visible	issues.		Further,	the	Maintenance	
      Director	confirmed	no	work	order	existed	for	the	broken	glass	panels	observed	by	
      the	Monitor.	The	Monitor’s	interviews	with	both	staff	and	the	Facility	Maintenance	
      Director	provided	conflicting	information	as	to	why	line	staff	were	permitted	to	
      enter	work	orders	using	the	on-line	system.		Line	staff	stated	that	“Maintenance”	did	
      not	want	them	to	enter	work	orders			to	avoid	“duplicating”	work	orders.		
              The	Facility	Maintenance	Director	stated	it	is	desirable	line	staff	have	first-
      hand	knowledge	of	the	problem	which	have	been	previously	entered	into	the	work	
      order	system.		As	noted	in	the	previous	Compliance	Reports,	staff	assigned	to	
      perform	inspections	typically	enter	work	orders.		It	is	the	Monitor’s	view	that	this	
      strategy	does	not	facilitate	efficient	and	timely	fixes	of	maintenance	issues	nor	allow	

                                                                                                   		
		
                                                                                                   105	
          	             			Compliance	Report	#	9	–	August	29,	2018	
    Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 120 of 174



     line	staff	to	check	the	status	of	pending	work	orders.		Allowing	line	staff	to	directly	
     enter	and	track	maintenance	issues	will	address	the	problems	noted	above,	and	also	
     be	consistent	with	the	Unit	Management	concept	being	implemented.				
               Most	if	not	all	work	orders	continue	to	be	generated	as	a	result	of	inspections	
     conducted	by	the	Environmental	Inspector	or	by	maintenance	staff	which,	again,	
     does	not	result	in	the	timely	and	efficient	repair	of	maintenance	repair	issues.		
               The	Environmental	Inspector	did	advise	that	he	has	resumed	more	frequent	
     inspections	of	housing	units	along	with	the	submission	of	observed	maintenance	
     issues	since	the	hiring	of	the	Sanitarian	in	February	2018.			
               The	Facility	Maintenance	Director	was	able	to	provide	system	reports	
     demonstrating	that	maintenance	staff	did	respond	to	and	repair	issues	in	a	timely	
     fashion	once	the	issues	were	reported.		
     New	Recommendations:	
     46.       OPSO	revise	policy	601.02	to	allow	any	staff	member	observing	a	
               maintenance	issue	to	enter	the	work	order	directly	into	the	reporting	system.	
     47.       OPSO	develop	specific	training	for	all	line	staff	on	utilizing	the	work	order	
               system	and	provide	evidence	of	deputy	training	regarding	the	entering	work	
               orders.		
     		
               	                            	




           	               		Compliance	Report	#	9	–	August	29,	2018	                       106	
	
     Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 121 of 174
		
	
IV.	D.	1.	c.	Adequate	Ventilation	
	
        Findings:	Partial	Compliance	
        	
           Measures	of	Compliance:	
                   1.   Written	policy	and	procedure	specifying	the	process	of	how	adequacy	of	
                        ventilation	will	be	measured	in	accordance	with	the	mechanical	code	adopted	by	
                        the	applicable	state	or	local	jurisdiction.	
                   2.   Evidence	of	a	contract	with	a	qualified/licensed	mechanical	contractor	to	
                        demonstrate	that	the	ventilation	system	complies	with	the	International	
                        Mechanical	Code	in	effect	in	Louisiana.	
                   3.   Reports	from	vendor	regarding	the	ventilation	system,	air	flow,	etc.		

       Observations:	
              During	the	tour	of	OJC,	the	Monitor	identified	several	blocked	supply	and	
       return	air	vents	in	individual	inmate	cells.		Several	cells	(upper	and	lower	tier)	in	the	
       same	quadrant	of	a	housing	unit	were	also	noted	to	be	considerably	warmer	than	
       other	cells	in	the	same	unit	indicating	a	potential	issue	with	a	damper/VAV	unit	
       supplying	the	area.	The	Facility	Maintenance	Director	stated	the	control	system	had	
       been	checked	and	stated	there	was	no	issue	with	the	functioning	of	the	equipment.			
              The	Monitor	observed	excessive	condensation	in	some	showers	of	the	
       dormitory	housing	units	in	OJC.		This	is	the	same	findings	as	the	previous	two	
       Compliance	Reports.		While	no	significant	mold	or	mildew	issues	were	noted	during	
       the	compliance	tour,	the	condensation	continues	to	pose	a	slip/fall	risk,	risk	for	
       mold/mildew	growth,	and	obscures	security	staff’s	view	of	the	area	during	security	
       checks.		
              The	Facility	Maintenance	Director	provided	building	specifications	noting	
       that	exhaust	fans	were	properly	sized	for	these	multi-head	showers.		There	was	no	
       evidence	that	this	issue	had	been	further	addressed	from	the	previous	compliance	
       tours.	In	an	attempt	to	address	the	issues,	as	noted	in	the	previous	Compliance	
       Reports,	maintenance	staff	had	removed	the	window	in	the	shower	door	in	Unit	4A.		
       The	increase	in	make-up	air	appears	to	have	mitigated	the	condensation	problems	
       in	that	unit,	somewhat,	but	will	cause	maintenance	issues	with	the	door	itself	due	to	
       moisture	damage/rust	in	the	future	and	is	not	a	properly	engineered	or	long-term	


                                                                                                   		
		
                                                                                                   107	
         	               			Compliance	Report	#	9	–	August	29,	2018	
    Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 122 of 174



     solution.			Similarly designed shower rooms (multi-head) should be reviewed by
     Maintenance staff to determine the extent to which the problem persists in other areas.	
	                          	




          	            		Compliance	Report	#	9	–	August	29,	2018	                           108	
	
     Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 123 of 174
		
	
IV.	D.	1.	d.	Adequate	Lighting	
      Findings:	Substantial	Compliance	
         Measures	of	Compliance:	
                1.     Maintenance	of	pending	work	order	list	showing	the	purchase	order	for	pending	
                       work	order	regarding	lighting	fixtures.		Review	of	work	order	lists.	
                2.     Visual	observation	conditions.	
	
      Observations:	
             Sufficient	lighting	is	provided	in	housing	units	of	both	OJC	and	TDC.		OJC	
      continues	to	maintain	a	supply	of	replacement	bulbs,	transformers,	or	ballasts	to	
      repair	malfunctioning	lighting.		At	this	tour,	there	were	no	outstanding	electrical	
      work	orders	beyond	routine	bulb	replacement.					
             It	was	noted	in	at	least	one	pod	that	lights	in	several	cells	were	completely	
      out.	Upon	inspection,	the	Monitor	was	advised	that	the	pod	deputies	had	the	ability	
      to	turn	off	all	lighting	in	individual	cells	and	apparently	were	doing	so	on	demand	
      from	the	inmates.	
      New	Recommendation:	
      48.    The	Wardens	consult	with	the	Maintenance	Director	to	determine	if	lighting	
             capability	can	be	adjusted	to	ensure	some	level	of	lighting	in	individual	cells	
             (e.g.	“night	light”)	at	all	times	to	ensure	the	safety	and	security	of	the	inmates	
             and	staff.	
	                             	




                                                                                                 		
		
                                                                                                 109	
        	                  			Compliance	Report	#	9	–	August	29,	2018	
     Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 124 of 174



IV.	D.	1.	e.	Pest	Control	
        	
        Findings:		Partial	Compliance	
        	
          Measures	of	Compliance:	
                 1.     Written	policy	and	procedures.	
                 2.     Copy	of	valid	contract	for	integrated	pest	control	services	with	a	licensed	pest	
                        control	contractor.	
                 3.     Map	showing	the	location	of	all	bait	and	trap	stations	both	internally	and	
                        externally.	
                 4.     Copies	of	pest	control	reports	provided	by	the	licensed	pest	control	operator	
                        showing	areas	of	concern,	recommendations	for	corrective	actions	needed	to	be	
                        taken	by	sanitation	and	maintenance.	
                 5.     Evidence	of	corrective	action	taken	for	recommendations	provided	by	the	
                        licensed	pest	control	contractor.	
                 6.     Evidence	of	a	pest	control	log	where	deputies	can	log	sighting	of	pest	showing	
                        date,	time,	location,	and	type	of	pest.	
                 7.     Visual	observation	of	pest	activity	and	inmate	interviews.	
                 8.     Inmate	grievances	regarding	sanitation	and	maintenance.	

       Observations:	
                OPSO	continues	to	maintain	a	pest	control	contract	with	a	State	licensed	
       company	resulting	in	monthly	service	for	all	housing	areas	and	bi-weekly	service	for	
       the	Kitchen/Warehouse.		
                As	noted	in	the	previous	Compliance	Reports,	the	Monitor	observed	inmates	
       keeping	food	from	previous	meals	in	their	cells,	in	violation	of	OPSO	policy,	along	
       with	opened	commissary	food	items	being	not	stored	in	the	inmates’	property	bags.		
       Dirty	food	service	trays	were	also	observed	stored	in	the	cabinets	located	near	the	
       deputy	work	station.		
                Increased	pest	infestation	opportunities	will	occur	if	inmates	continue	to	be	
       permitted	to	maintain	opened	food	from	commissary	stored	on	window	ledges,	
       upper	bunks	and	not	stored	in	their	personal	property	bags,	and	food	left	over	from	
       meals	in	their	cells.		As	per	OPSO	policy,	all	food	must	be	removed	promptly	
       following	meal	service.			
                “Drain	flies”	were	noted	in	and	around	the	drain	in	an	open	dorm	shower	and	
       in	a	floor	drain	in	the	meal	tray	service	area	on	the	second	floor	of	the	OJC.		Ants	
       were	noted	on	the	dust	mops	in	the	occupied	TDC	dorms	as	the	mops	were	not	
       cleaned	after	use	and	stored	with	the	heads	on	the	floor.		A	non-functioning	bug-
       light	was	observed	in	a	food	storage	area	of	the	main	kitchen	facility.	These	issues	

            	             		Compliance	Report	#	9	–	August	29,	2018	                                   110	
	
     Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 125 of 174
		
	
      were	pointed	out	to	staff	and	the	pest	control	contractor	was	on-site	the	next	day.	
      The presence of these insects observed during the compliance tour indicates that while
      issues such as drain flies are being noted on inspections, the requisite follow-up to have
      the pest control contractor address the issue is not being done or there is a lack of
      documentation noting such follow-up. As such documentation is specifically required,
      this requirement is to be in partial compliance.	
	                            	




                                                                                              		
		
                                                                                              111	
        	                			Compliance	Report	#	9	–	August	29,	2018	
     Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 126 of 174



IV.	D.	1.	f.	Biohazardous	Spills	
       Findings:	Partial	Compliance	
          Measures	of	Compliance:	
               1. Written	policy	and	procedures.	
               2. Development	and	implementation	of	a	training	syllabus	for	blood	
                  borne	pathogens.		Qualifications	of	the	trainer(s).	
               3. Documented	list	of	deputies	and	inmates	trained	in	blood	borne	
                  pathogens.	
               4. Development	and	implementation	of	a	biohazardous	waste	policy	and	
                  procedures	for	effective	and	safe	clean-up	of	any	spills.	
               5. Maintenance	of	a	supply	of	biohazardous	spill	kits	including	personal	
                  protection	items	including,	but	limited	to	eye	shield,	mask,	gloves,	
                  gown	with	cap,	CPR	barrier,	towelettes,	absorbent	powder,	scraper,	
                  scoop	bag,	and	biohazard	bag.		
               6. Observation	and	demonstration	of	knowledge	by	staff	and	trained	
                  inmates.	
               7. Inmate	interviews,	inmate	grievances.	
               8. Medical	policy	and	procedures.	
	
       Observations:	
                Policy	1101.07,	“Bio-hazardous	Spill	Cleaning	Procedures”	[Revised	
       1/18/2018]	establishes	in	Section	VIII.	A.	1,	“With	the	exception	of	bio-hazardous	
       spills	that	occur	in	medical	treatment	areas,	OPSO	deputies	trained	in	bio-hazardous	
       spill	response	procedures	and	the	proper	use	of	PPEs	shall	be	responsible	for	
       training	and	supervising	inmate	workers	assigned	to	clean	up	any	bio-hazardous	
       spill	areas.”	This	revision	permits	properly	trained,	supervised	and	equipped	
       inmates	to	clean	bio-hazardous	spills.		(One	instance	of	a	bio-hazard	cleanup	
       process	being	performed	by	an	inmate	was	observed	by	a	monitor	during	the	
       compliance	tour.)		However,	Section	VIII.	A.	3	of	OJC	Policy	1101.03,	“Cleaning	
       Procedures-Pods”	appears	to	be	in	conflict	with	this	revision	stating	“Inmates	shall	
       never	be	asked,	allowed,	or	required	to	clean	up	bio-hazardous	spills.		Designated	
       and	trained	staff	will	don	protective	clothing	and	equipment	(PPE),	and	use	
       designated	cleaning	supplies	to	clean	up	bio-hazardous	materials.”	
                Training	curricula	indicated	that	all	staff	are	receiving	initial	training	in	bio-
       hazardous	cleanup	procedures.	No	documentation	was	provided	to	indicate	that	
       inmates	receive	the	requisite	training	prior	to	performing	such	tasks.	Section	IX.	B.	


            	              		Compliance	Report	#	9	–	August	29,	2018	                          112	
	
     Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 127 of 174
		
	
      4.	a-c.	requires	the	deputy	assigned	to	the	spill	area	to	“complete	an	incident	report”	
      to	include	staff	and	inmates	involved	in	the	cleanup,	training,	direction	and	PPE	
      provided	to	the	inmate(s),	and	that	the	issue	was	reported	to	a	supervisor.		
      Supervisors	are	required	by	policy	to	ensure	the	Sanitarian	is	advised	of	the	incident	
      to	ensure	bio-hazard	spill	kits	are	replenished	as	soon	as	possible.		Both	the	
      Sanitarian	and	the	Environmental	Officer	reported	that	they	do	not	receive	reports	
      or	official	notification	of	such	incidents	and	only	become	aware	during	inspections	
      or	when	speaking	with	line	staff.	Documentation	provided	prior	to	the	compliance	
      tour	noted	only	one	bio-hazard	cleanup	incident	since	December	2017,	but	the	
      Environmental	Officer	stated	he	had	replaced	“several”	response	kits	documenting	
      that	the	reporting	process	is	not	being	trained,	enforced	or	both.		An	inventory	of	
      spill	response	kits	is	not	being	maintained	by	the	Sanitarian	therefore,	the	total	
      number	of	kits	used	could	not	be	verified.	
             If	inmates	will	be	assigned	bio-hazardous	spill	clean-up	as	currently	reported	
      by	OJC	staff,	OPSO	must	provide	training	regarding	required	OSHA	regulations	and	
      OPSO	Policy	procedures.		Additionally,	all	staff	and	inmates	must	be	trained	on	
      OPSO’s	Infection	Control	Policy,	once	it	is	completed.			
      New	Recommendations:	
      49.    Review	policy	changes/updates	to	ensure	no	conflict	arises	with	other	
             related	policies.	
      50.    Devise	and	implement	a	procedure	that	ensures	bio-hazardous	cleanup	
             incidents	are	reported	to	the	Sanitarian	and	Environmental	Officer	within	
             one	business	day	of	the	incident	in	order	to	comply	with	existing	policy	
             requiring	a	copy	of	bio-hazard	incident	reports	be	provided	to	the	Sanitarian.	
             The	reports	may	be	provided	via	manual	copies,	automated	reporting	
             processes,	or	by	providing	the	Sanitarian	and	Environmental	Officer	with	the	
             necessary	access	and	training	to	obtain	the	reports	themselves	from	the	
             system	on	a	daily	basis.	
	                           	


                                                                                            		
		
                                                                                            113	
        	               			Compliance	Report	#	9	–	August	29,	2018	
    Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 128 of 174



IV.	D.	1.	g.	Cleaning	Chemicals	
    	
        Findings:	Partial	Compliance	
        	
             Measures	of	Compliance:	
                   1.     Written	policy	and	procedures.	
                   2.     Inventory	of	cleaning	and	disinfecting	chemicals.	
                   3.     Lesson	plans/curriculum	-	evidence	of	effective	training	of	deputies	and	
                          inmates	responsible	for	cleaning	and	disinfecting	surfaces	in	housing	and	
                          common	areas.	
                   4.     Policy	and	procedures	an	effective	cleaning	and	disinfection	policy	and	
                          procedures	for	all	facilities.	
                   5.     Observation	of	effective	implementation	and	demonstration	of	knowledge.	
                   6.     Inmate	interviews,	inmate	grievances.	
	
      Observations:	
                Policy	1101.03,	“Cleaning	Procedures	–	Pods”	[December	6,	2016]	establishes	
      the	requirements	for	cleaning	supplies	and	equipment.		The	policy	requires	that	
      when	not	in	use,	cleaning	supplies	and	equipment	shall	be	stored	in	locked,	
      sanitation	closets/areas	that	are	inaccessible	to	inmates.		During	the	tour,	the	
      Monitor	observed	cleaning	supplies	in	OJC	that	were	not	securely	stored	in	locked	
      sanitation	closets/areas	in	the	housing	units.		All	but	one	closet	in	a	housing	unit	
      was	properly	secured,	with	the	one	door	having	had	the	lock	tampered	
      with/jammed,	allowing	inmate	access.	The	Monitor	noted	that	the	mop	racks	in	
      every	closet	not	of	a	sufficient	height	to	allow	the	mops	to	hang	and	dry	properly.	
      Many	mops	were	not	placed	in	the	racks	at	all.		Two	units	had	mop	buckets	with	
      dirty	water	remaining	in	them	and	one	with	the	mop	resting	in	the	dirty	water.		
      Several	chemical	dispensers	were	observed	to	have	been	tampered	with	or	
      damaged	indicating	a	lack	of	supervision	and/or	correction	by	staff.	The	
      Environmental	Officer	noted	that	inmates	routinely	have	access	to	and	remove	
      concentrated	cleaning	chemicals	from	the	damaged	dispensers	making	impossible	
      an	accurate	inventory	of	the	chemicals	used	or	replaced.	In	OJC,	the	Monitor	
      observed	chemical	spray	bottles	in	several	inmate	cells	and	stored	on	top	of	bunks	
      and	on	the	floor	in	the	dorms	in	plain	view	of	staff.			
                The	Sanitarian	provided	documentation	noting	that	five	spray	bottles	had	
      been	labeled	and	provided	to	each	housing	unit.	The	Monitor	noted	discrepancies	in	


            	             		Compliance	Report	#	9	–	August	29,	2018	                                   114	
	
     Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 129 of 174
		
	
      the	number	of	bottles	present,	and	that	labels	did	not	match	the	designated	housing	
      unit,	in	many	cases	indicating	bottles	were	being	pilfered	or	swapped	around	among	
      housing	unit	by	staff	and/or	inmates.	Most	housing	units	had	two	or	fewer.		
             As	previously	noted,	policy	(1101.03)	requires	pod	deputies	routinely	
      inventory	cleaning	supplies	and	equipment	and	log	chemical	usage.		Based	on	
      observations	in	virtually	every	housing	unit	visited,	this	is	not	being	accomplished.		
      This	is	further	exacerbated	by	the	routine	replacement	of	chemicals	without	an	
      accurate	accounting	of	their	usage.	
	                          	




                                                                                          		
		
                                                                                         115	
        	              			Compliance	Report	#	9	–	August	29,	2018	
    Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 130 of 174



IV.	D.	1.	h.	Infection	Control	Plan	
    	
        Findings:	Non-compliance	
	
              Measures	of	Compliance:	
                    1.     Written	policy	and	procedures	for	an	infection	control	plan	and	policy	
                           following	Center	for	Disease	Control’s	recommendations.	
                    2.     Lesson	plans/curriculum	-	evidence	of	training	of	all	deputies,	staff	and	
                           inmates	responsible	for	cleaning	and	disinfecting	all	medical	and	dental	areas	
                           within	OJC.	
                    3.     Demonstration	of	knowledge	of	the	policy	and	plan.	
                    4.     Observation.	
                    5.     Inmate	interview,	inmate	grievances.	
	
      Observations:	
                OPSO	hired	the	new	Sanitarian	in	February	2018.	Final	infection	control	
      policy	is	not	in	place.	No	additional	documentation	was	available	to	the	Monitor	
      regarding	compliance	regarding	the	requisite	training	of	staff	and	the	meetings	of	
      the	OJC	Infection	Control	Committee.			
      	
	
	                            	




            	             		Compliance	Report	#	9	–	August	29,	2018	                                  116	
	
     Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 131 of 174
		
	
IV.	D.	2.	Environmental	Control	
IV.	D.	2.	a.	Repair	of	Electrical	Panels	
        	
        Findings:	Partial	Compliance	
        	
          Measures	of	Compliance:	
                 1.     Written	policy	and	procedure.	
                 2.     Evidence	of	implementation	of	the	Provision	in	accordance	with	the	National	
                        Electrical	Code.	
                 3.     Maintenance	of	pending	work	order	list	showing	the	purchase	order	for	pending	
                        work	order	regarding	electrical	panels.	
                 4.     Observation	of	practice.	
                 5.     Observation	of	facilities’	conditions.	
       	
       Observations:	
               OPSO	Policies	601.02	“Reporting	and	Addressing	Maintenance	Needs”	and	
       Policy	601.03	“Preventive	Maintenance”	[August	15,	2016]	and	are	implemented.		
       Major	electrical	panels	at	OJC	and	TDC	are	located	in	secure	maintenance	spaces	
       inaccessible	to	inmates.			
               During	the	recent	tour,	however,	the	Monitor	identified	unsecured	breaker	
       panels	and	disconnect	boxes	in	the	food	tray	prep	area	where	inmate	workers	are	
       routinely	present.	Keyed	locks	on	the	breaker	panels	were	not	in	use	and	padlocks	
       or	“lockouts”	were	not	in	use	on	the	disconnects.	The	lack	of	security	provides	
       inmates	with	the	opportunity	to	tamper	with	live	electrical	circuits	creating	an	
       electrocution	hazard,	disrupt	power	to	affected	areas,	and	shut	off	power	to	food	
       warmers	without	staff	being	aware.		
               The	central	plant	area	had	no	major	issues	aside	from	an	uncovered	junction	
       box	and	a	missing	cover/exposed	wiring	on	a	generator	control	system	that	was	
       reportedly	being	worked	on	by	a	contractor.	Wiring	should	not	be	left	uncovered	
       when	workers	are	not	present.		
	      New	Recommendations:	

       51.     Immediately	secure	electrical	breaker	panels	and	disconnects	accessible	to	
               inmates;	develop	a	system	for	daily	checking	of	the	security	of	the	areas.	

	

                                                                                                  		
		
                                                                                                  117	
           	             			Compliance	Report	#	9	–	August	29,	2018	
    Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 132 of 174



	
IV.	D.	2.	b.	Implement	a	System	for	Maintenance	of	Electrical	Panels,	Devices	&	Wires		
        	
        Findings:	Substantial	Compliance	
        	
             Measures	of	Compliance:	
                   1.     Written	policy	and	procedure	for	preventative	maintenance	and	repairs	for	
                          electrical	issues.	
                   2.     Evidence	that	all	repairs	are	completed	in	accordance	with	the	National	
                          Electrical	Code.	
                   3.     Evidence	that	all	repairs	are	completed	within	a	reasonable	time	to	assure	
                          that	inmates	and	staff	are	not	exposed	to	hazards	that	could	cause	injury.	
                   4.     Observation	of	conditions.	
	
      Observations:		
                Policy	601.02,	“Reporting	and	Addressing/Repairing	Maintenance	Needs”	is	
      implemented.			The	Monitor	finds	that	the	issue	is	not	about	maintenance,	but	rather	
      basic	correctional	practice.	The	breaker	box	panels	were	not	broken,	just	not	
      locked/secured.		The	inmates	could	access	the	panels	to	turn	off	equipment,	lights,	
      whatever	is	controlled	by	that	box.		It's	also	a	safety	issue	in	that	the	inmates	could	
      potentially	access	the	higher	voltage	feeder	lines	inside	the	boxes.		
                Exposed/damaged	wiring/cabling	was	observed	in	several	housing	pod	
      cleaning	supply	closets	and	a	missing	outlet	cover	in	unit	2F.	The	Safety	Officer	
      advised	that	work	orders	would	be	submitted	to	repair,	remove	or	otherwise	make	
      safe	the	wiring	issues.			
	                            	




            	            		Compliance	Report	#	9	–	August	29,	2018	                                 118	
	
     Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 133 of 174
		
	
IV.	D.	3.	Food	Service	
       This	report	summarizes	the	findings	for	the	Food	Service	provisions	of	the	Consent	
Judgment	based	on	the	Monitor’s	tour	conducted	June	11-12,	2018,	and	review	of	
documents.		The	Monitor	inspected	the	Orleans	Justice	Center	(OJC)	Kitchen/Warehouse	
and	second	floor	retherm	kitchen;	observed	meal	service	activities;	and	spoke	with	OPSO	
supervisors	and	deputies,	Catering	by	Marlins	(CBM)	contracted	food	service	employees,	
and	inmates.		Please	note	that	the	Food	Service	Monitor	began	work	on	January	1,	2018,	
and	this	was	the	Monitor’s	first	official	tour.			
       Since	the	last	tour	on	October	30,	2017	through	November	2,	2017,	there	has	been	
progress	toward	compliance	with	the	Food	Service	provisions.		This	progress	includes	
drafts	of	the	1001.01,	Meal	Preparation	and	Transport	and	1001.04,	Food	Service	
Inspections	and	Reviews	policies	and	it	is	expected	that	they	will	be	finalized	before	the	
next	scheduled	tour.		However,	completion	of	the	food	service	policies	does	not	mean	that	
training	has	been	initiated	or	completed;	nor	that	the	policies	have	been	fully	implemented.		
The	provision	of	documented	orientation	and	training	for	newly	assigned	inmate	kitchen	
workers	that	includes	watching	a	video	on	basic	sanitation	and	safety	followed	by	a	written	
test	of	comprehension	is	progress	towards	compliance	with	the	food	service	training	
requirements	specified	in	Compliance	Report	#8,	Appendix	E,	IV.,	D.,	16.		Outstanding	
recommendations	from	previous	tours,	are	noted	Compliance	Report	#8,	Appendix	E.	
	      The	April	2018	Inmate	Grievance	System	Monthly	Trend	Report	indicates	that	545	
grievances	were	filed	in	23	categories,	with	60	grievances	filed	regarding	food	service.		This	
is	the	fourth	highest	category	of	grievances	filed	behind	Medical,	Facility,	and	
Environmental	Complaints	(Sanitation).					
	                              	




                                                                                           		
		
                                                                                          119	
         	                			Compliance	Report	#	9	–	August	29,	2018	
     Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 134 of 174



IV.	D.	3.	a.	Training	
        	
        Findings:	Partial	Compliance	
        	
           Measures	of	Compliance:	
                   1.     Written	policy	and	procedure.	
                   2.     Development	of	a	training	syllabus	for	annual	training	for	food	safety	and	
                          hygiene.		
                   3.     Evidence	of	Food	Service	Manager	Certification	in	accordance	with	Louisiana	
                          Retail	Food	Regulations.	
                   4.     Evidence	of	training	of	food	service	staff	and	inmate	workers.	
                   5.     Demonstration	of	knowledge	by	the	food	service	staff	and	inmates.	
                   6.     Observation.	
                   7.     Inmate	interviews,	inmate	grievances.	
                   8.     Health	Department	inspection	reports.	
	
      Observations:	
                OPSO	drafted	Policy	1001.01,	Meal	Preparation	and	Transport,	Section	VIII.	
      establishes	requirements	for	kitchen	staff	and	inmate	worker	training.		New	inmate	
      kitchen	worker	orientation,	including	watching	a	contractor	provided	video	
      accompanied	by	a	written	exam	to	test	comprehension,	was	observed	on	June	12,	
      2018.		Additionally,	records	of	prior	kitchen	worker	orientations	were	provided	and	
      comply	with	the	requirement	for	inmate	kitchen	worker	orientation	training.		
      However,	the	kitchen	training	logs	reveal	that	the	monthly	training	that	was	
      scheduled	for	January,	February,	and	March	of	2018	was	all	conducted	on	April	17,	
      2018,	rather	than	during	the	specified	month.		CBM’s	Employee	Safety	and	Training	
      document	acknowledges	that	training	is	an	“essential	element”	and	that	a	failure	to	
      provide	consistent,	well	planned,	mandatory	training	is	not	only	a	“breach	of	
      contract”	but	also	a	“disservice”	to	their	employees	and	clients.			
                OPSO	requires	that	all	contractor	employees	are	required	to	attend	an	eight-
      hour	OPSO	contactor/volunteer	training	class.		To	date,	that	has	not	occurred.			
                CBM	staff	are	also	required	to	complete	the	training	on	the	Prison	Rape	
      Elimination	Act	(PREA)	held	on-site.		Evidence	of	completion	of	this	in-person	
      training	will	be	required	for	OPSO	to	achieve	success	in	the	PREA	audit.	(See	section	
      IV.A.12	Sexual	Abuse).	
                Violations	of	the	Louisiana	Food	Regulations	and	OPSO	policies	were	
      observed.		These	findings	are	indicators	of	a	lack	of	training	or	ineffective	training	as	

            	             		Compliance	Report	#	9	–	August	29,	2018	                                 120	
	
     Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 135 of 174
		
	
      well	as	ineffective	supervision.		Significant	findings	are	summarized	below,	and	
      additional	examples	can	be	found	in	sections	IV.	D.	3.	b.	Cleanliness	and	IV.	D.	3.	c.	
      Record	Keeping/Temperatures	of	this	report.			
                 •   OPSO	Policy	1001.06,	Control	of	Kitchen	Sharps,	Utensils,	and	
                     Cleaning	Tools,	was	authorized	on	April	12,	2017.		Problems	were	
                     observed	regarding	the	control	of	kitchen	knives	and	utensils.		A	10”	
                     knife	was	not	properly	checked	in	and	an	extra	set	of	metal	tongs	was	
                     found	in	the	shadow	board	cabinet.		Kitchen	staff	stated	that	the	tongs	
                     were	mistakenly	placed	in	the	shadow	board	cabinet	and	should	have	
                     been	stored	in	the	party	room.		This	is	a	violation	of	OPSO	policy	
                     1001.06,	VIII,	A.	1.,	as	it	specifies	that	all	kitchen	sharps	and	utensils	
                     shall	be	etched,	checked	in/out,	and	inventoried.		The	mishandling	of	
                     a	10”	knife	and	metal	tongs	presents	a	serious	safety	and	security	
                     threat.		
                 •   The	CBM	Food	Service	Director	was	unable	to	demonstrate	
                     knowledge	of	the	required	sanitizing	temperature	for	the	automatic	
                     dishwasher	or	the	maximum	temperature	for	thawing	food	under	
                     running	water.		Working	knowledge	of	food	code	temperatures	is	
                     fundamental	for	someone	in	her	position	and	cause	for	concern	
                     regarding	her	ability	to	train	others	and	provide	meaningful	
                     supervision.		
                 •   Inmates	report	that	the	food	portion	sizes	are	small.		A	random	dinner	
                     tray	was	examined,	and	the	portion	size	of	the	coleslaw	was	found	to	
                     be	half	of	the	amount	specified	on	the	dietitian	certified	menu.		
                     Inadequate	portion	sizes	cause	problems	with	facility	morale	and	can	
                     negatively	impact	nutritional	adequacy.															
             To	achieve	substantial	compliance,	OPSO	and	CBM	must	fully	implement	and	
      adhere	to	food	service	policies	and	procedures	that	ensure	food	safety,	provide	
      documented,	effective	training	in	a	timely	manner,	and	ensure	that	managers	and	
      supervisors	are	proficient	and	provide	competent	supervision.			
                                                                                              		
		
                                                                                             121	
        	               			Compliance	Report	#	9	–	August	29,	2018	
    Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 136 of 174



IV.	D.	3.	b.	Cleanliness	
    	
        Findings:	Non-Compliance	
        	
          Measures	of	Compliance:	
                   1.     Written	policy	and	procedure	for	the	cleaning	and	sanitization	of	all	food	service	
                          equipment	following	the	equipment	manufacturer’s	specified	cleaning	
                          instructions.	
                   2.     Maintenance	of	a	documented	cleaning	schedule	for	equipment	and	areas	
                          including	kitchens,	storage	areas,	ware	washing,	refrigerators	and	freezers	with	
                          assigned	responsibility	for	oversight.	
                   3.     Visual	evidence	of	effective	cleaning	and	interviews	with	staff	and	inmates	on	
                          cleaning	procedures	
                   4.     Evidence	of	a	cleaning	log	for	all	equipment	and	observation	of	practice	meeting	
                          the	policy/procedures.	
                   5.     Inmate	worker	interviews.	
                   6.     Health	Department	inspection	reports.	
	
      Observations:	
                 Completion	and	successful	implementation	of	draft	policies	1001.01,	Meal	
      Preparation	and	Transport	and	1001.04,	Food	Service	Inspections	and	Reviews,	
      along	with	compliance	with	all	previous	implemented	policies	and	the	Louisiana	
      Food	Regulations	is	required	to	achieve	substantial	compliance.		Issues	and	
      violations	identified	during	the	inspection	of	the	kitchen	include,	but	are	not	limited	
      to:	
                    •   A	CBM	employee	was	observed	cleaning	a	probe	thermometer	with	a	
                        plain	paper	towel,	instead	of	a	sanitizing	wipe,	while	taking	the	
                        temperature	of	food	on	meal	trays.		This	is	an	unsafe	practice	because	
                        the	thermometer	itself	can	cross	contaminate	bacteria	between	foods.	
                    •   An	infestation	of	drain	flies	was	found	in	the	OJC	2nd	floor	kitchen.		
                        The	OPSO	Sanitarian	previously	reported	drain	flies	or	live	flying	
                        insects	in	her	inspection	reports	on	February	15,	2018,	February	26,	
                        2018,	and	March	2,	2018.		Drain	flies	are	filth	flies	and	can	be	
                        controlled	with	good	cleaning	practices.			
                    •   The	CBM	“Items	Requiring	Daily	Cleaning	-	Checklist”	does	not	
                        adequately	document	cleaning.		This	is	demonstrated	by	the	fact	the	
                        form	is	not	properly	completed.		The	instructions	indicate	that	the	


             	             		Compliance	Report	#	9	–	August	29,	2018	                                    122	
	
     Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 137 of 174
		
	
                   employee	that	performs	the	cleaning	is	supposed	to	initial	the	box,	but	
                   instead	there	is	simply	a	checkmark	in	every	box,	which	does	not	
                   specify	the	employee	that	was	assigned	and	responsible	for	
                   performing	the	cleaning	task.	
               •   Numerous	plastic	insulated	food	carrier	boxes,	referred	to	as	
                   “suitcases”	were	found	to	be	in	poor	condition	as	they	were	cracked	
                   and	broken,	exposing	the	inner	insulation.		The	condition	of	the	boxes	
                   is	not	conducive	to	proper	cleaning	and	sanitizing.				
	
	                         	




                                                                                       		
		
                                                                                       123	
        	             			Compliance	Report	#	9	–	August	29,	2018	
    Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 138 of 174



IV.	D.	3.	c.	Record	Keeping/Temperatures	
      	
      Findings:	Partial	Compliance	
      	
        Measures	of	Compliance:	
                 1.     Written	policy	and	procedures	for	measuring	and	recording	temperatures	of	all	
                        refrigerators,	freezers,	hot	food	holding	equipment,	wash	and	rinse	
                        temperatures	of	ware	washing	equipment,	in	accordance	with	the	Louisiana	
                        Food	Regulations.	
                 2.     Development	and	implementation	of	temperature	logs	demonstrating	effective	
                        measurements	as	required	in	this	provision	and/or	the	Louisiana	Food	
                        Regulations.	
                 3.     Review	of	logs	and	direct	observations	of	measurements	being	taken	and	
                        recorded.	
                 4.     Observation	of	conditions.	
	
      Observations:	
               As	noted	above,	OPSO	has	not	completed	the	food	service	policies	that	
      incorporate	the	requirements	of	this	paragraph.			
               Refrigeration	temperature	logs	continue	to	remain	in	compliance,	except	that	
      the	temperatures	of	the	OJC	2nd	Floor	Kitchen	walk-in	cooler	are	not	logged.		The	
      staff	stated	that	they	did	not	log	temperatures	because	the	cooler	is	not	used;	
      however,	a	crate	of	milk	was	observed	stored	in	the	cooler,	indicating	that	it	is	used	
      for	the	storage	of	food.	
               “Hot	Holding	Equipment	Temperatures”	logs	were	submitted,	but	they	did	
      not	identify	which	of	several	hot	food	holding	units	the	log	represented,	nor	did	they	
      specify	the	food	item.		Therefore,	the	logs	do	not	provide	sufficient	information	to	
      effectively	document	food	temperatures.		Additionally,	problems	were	found	with	
      the	completion	of	food	production	records,	that	should	log	the	temperatures	of	
      cooked	food.		When	the	Monitor	requested	the	food	production	records	for	one	of	
      the	dinner	meals,	the	CBM	Food	Service	Director	stated	that	they	were	not	done.					
               Significant	problems	were	found	related	to	food	holding	temperatures	that	
      place	inmates	at	risk	of	foodborne	illness.		After	cooking,	food	items	are	deposited	
      into	metal	pans,	which	are	placed	in	plastic	insulated	carrier	boxes,	and	then	
      allowed	to	sit	at	room	temperature	for	hours	before	being	transported	to	the	OJC	2nd	
      floor	kitchen	and	placed	in	the	warming	ovens.		CBM	staff	report	that	they	do	not	


           	             		Compliance	Report	#	9	–	August	29,	2018	                                124	
	
      Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 139 of 174
		
	
        take	the	temperatures	of	the	food	when	it	is	transferred	from	the	carrier	boxes	into	
        the	warming	ovens.		When	food	temperatures	were	measured	by	the	Monitor,	
        numerous	foods	were	found	to	be	below	the	Louisiana	Food	Regulation	minimum	
        required	temperature,	in	a	range	known	as	the	temperature	danger	zone,	which	is	
        conducive	to	the	growth	of	disease	causing	microorganisms.20	
                	This	serious	food	safety	issue	can	be	corrected	by	placing	the	pans	of	food	
        into	the	warming	ovens	in	the	main	kitchen	while	awaiting	transport	to	the	OJC	2nd	
        floor	kitchen,	thereby	significantly	reducing	the	amount	of	time	that	foods	are	held	
        outside	of	safe	temperature	control.													
                The	temperatures	of	the	automatic	dishwasher	have	not	been	logged	since	
        April	25,	2018.		OPSO	staff	report	that	they	stopped	logging	the	temperatures	upon	
        directive	of	the	Compliance	Director	and	that	CBM	is	supposed	to	log	them.		
        However,	the	CBM	Food	Service	Director	confirmed	that	dishwasher	temperatures	
        are	not	logged.					
                To	achieve	substantial	compliance,	OPSO	and	CBM	must	understand	and	
        acknowledge	that	temperature	monitoring,	logging,	and	taking	documented	
        corrective	action	when	problems	are	found	is	a	critical	aspect	of	operating	a	safe	
        kitchen	and	not	simply	logging	temperatures	for	the	sake	of	creating	
        documentation.											
        	
	
	

	                                	




20	The	Louisiana	Food	Code	specifies	that	hot	foods	must	be	held	at	a	temperature	of	135°F	or	above.		
Random	temperatures	were	taken	of	the	dinner	food	items	on	June	11,	2018.		Sausage	was	measured	at	
125°F	and	127°F;	rice	was	at	102°F,	106°F,	114°F,	and	129°F;	and	mixed	vegetables	were	found	at	123°F	and	
129°F.		Corrective	action	was	taken.		Random	food	temperatures	were	also	taken	during	the	June	12,	2018	
lunch	meal	service.		All	temperatures	exceeded	the	minimum	135°F	requirement,	except	for	the	hot	dogs	
which	were	found	to	be	at	114°F,	122°F,	and	128°F.		Corrective	action	was	taken,	and	the	hot	dogs	were	
reheated	to	a	safe	temperature.								
                                                                                                         		
		
                                                                                                         125	
            	                			Compliance	Report	#	9	–	August	29,	2018	
     Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 140 of 174



IV.	D.	4.	Sanitation	and	Environmental	Conditions	Reporting	
IV.	D.	4.	a.	(1)	–	(7)	Periodic	Reporting	
	
    Findings:	Non-Compliance	       	
    	 	
      Measures	of	Compliance:	
              1.       Written	policy	and	procedure	governing	reporting.	
              2.       Evidence	of	written	report	provided	as	specified	in	the	provision.	
     	
     	
         Observations:	
                  The	2017	Sanitation	and	Environmental	report	was	available	to	the	Monitor	
         in	the	requisite	format	and	substantial	reporting	of	information	noted	by	the	end	of	
         CY2017.	No	semi-annual	report	was	received	prior	to	the	compliance	tour	on	June	
         11-14,	2018.	
	                                	




              	             		Compliance	Report	#	9	–	August	29,	2018	                       126	
	
     Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 141 of 174
		
	
IV.	D.	4.	b.	Review	of	Sanitation	and	Environmental	Conditions	Report	
        	
        Findings:		Partial	compliance		
        	
          Measures	of	Compliance:	
                      1.           Written	policy	and	procedure	governing	reporting	on	environmental	conditions.	
                      2.           Evidence	of	a	review	of	the	sanitation	and	environmental	conditions	report	by	
                                   staff	responsible	for	implementing	policies	and	procedures	for	blood	borne	
                                   pathogens,	chemical	control,	sanitation,	and	preventive	maintenance.	
                      3.           Evidence	of	written	audits	of	the	facilities.	
                      4.           Evidence	of	command	staff	review.		Determination	by	OJC	that	the	implemented	
                                   policies	and	procedures	are	effective	to	address	the	provisions	of	this	
                                   Agreement.	
                      5.           Evidence	of	effective	Corrective	Actions	are	taken	to	address	non-conformities	
                                   identified	during	the	review	process.	
                      6.           Changes	to	policy,	training	curriculum,	etc.	resulting	from	these	reviews.	
	
      Observations																																																																																																																																																																						
                  Policy	101.04	[July	17,	2017]	establishes	that	the	OPSO	Management	Team	
      review	the	periodic	management	reports	during	regularly	scheduled	meetings.		No	
      documentation	of	the	management	review	process	was	provided.		OPSO	provided	
      the	Monitor	with	detailed	sanitation	reports	covering	each	inmate	housing	area	
      from	January	2018	thru	March	2018	in	addition	to	the	Life	Safety	monthly	
      inspections.		These	reports	repeatedly	note	sanitation	issues	in	common	areas	and	
      individual	cells	as	well	as	inmates	accumulating	excess	food	items,	uniforms,	
      blankets,	books	and	paper	items.	There	is	no	indication	that	effective	corrective	
      action	was	taken	as	the	Monitor	observed	the	same	conditions	during	the	recent	
      compliance	tour.




                                                                                                                                                       		
		
                                                                                                                                                      127	
         	                          			Compliance	Report	#	9	–	August	29,	2018	
     Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 142 of 174



IV.	E.			Fire	and	Life	Safety	
	
IV.	E.	1.	a.	Fire	and	Life	Safety	Equipment	
         	
         Findings:		Partial	compliance	
         	
           Measures	of	Compliance:	
                  1.     Written	policy	and	procedure	governing	the	procedures	and	staff	responsibility	
                         and	accountability	assigned	for	a	minimum	of	quarterly	inspections,	repair	
                         and/or	replacement	of	all	fire	and	life	safety	equipment,	included	in	the	
                         controlled	document	inventory.	
                  2.     Inspections	shall	be	completed	by	competent	fire	inspector	having	at	a	
                         minimum	successfully	passed	“Fire	Inspector	II”	training	and	examination	in	
                         accordance	with	NFPA	1031,	Professional	Inspector	Level	II	Qualifications	and	
                         all	requirements	of	the	Office	of	the	Louisiana	State	Fire	Marshall.		
                  3.     Development	and	maintenance	of	a	complete	inventory	of	all	fire	and	life	safety	
                         equipment	for	each	facility.		The	list	needs	to	include,	but	not	limited	to	
                         sprinkler	heads,	fire	alarm	pull	boxes,	smoke	detectors,	fire	suppression	
                         systems,	fire	extinguishers,	defibrillators,	SCBA	equipment	and	etc.	
                  4.     Annual	master	calendar	for	all	internal	and	external	inspection	of	all	fire	and	life	
                         safety	system	equipment.	
                  5.     Development	of	a	facility	specific	audit	form	that	demonstrates	the	date	of	
                         completion	of	inspection,	identification	of	all	non-conforming	equipment,	along	
                         with	a	corrective	action	report	form	that	can	demonstrate	that	effective	
                         corrective	action	was	taken	for	all	non-conformities.	
                  6.     Lesson	plans/curriculum	for	staff	assigned	as	auditors/inspectors.	
                  7.     Execution	of	contract	with	a	qualified	contractor	to	perform	the	inspections	
                         specified	in	this	provision.	
                  8.     Evidence	of	a	completed,	signed,	and	supervisory	review	of	all	inspection	and	
                         testing	reports,	along	with	documented	corrective	actions	taken	to	resolve	
                         identify	issue	on	non-conformance.	
                  9.     Fire	Department	inspection	reports.	
                  10.    Interview	with	Fire	Department	officials.	
	
       Observations:	
                Policy	701.01,	“Emergency	Equipment	Inspections	and	Testing”	[April	12,	
       2017]	establishes	that	all	fire	and	life	safety	equipment	is	to	be	inspected	and/or	
       tested,	the	assigned	responsibility	(either	contractor	or	Fire	Safety	Officer),	and	the	
       inspection/testing	frequency.				
                The	OPSO	Fire	Safety	Officer	continues	to	implement	the	policy.		The	“Facility	
       Dude”	work	order	system	maintains	the	schedule	of	inspections	and	notifies	the	
       Officer	when	an	inspection	is	due.		OPSO	continues	to	maintain	contracts	with	
       licensed	vendors	to	complete	annual	inspections	of	all	fire	and	life	safety	equipment.		
       Prior	to	this	tour,	OPSO	provided	evidence	of	the	most	recent	equipment	
       inspections,	in	accordance	with	policy.			

            	             		Compliance	Report	#	9	–	August	29,	2018	                                      128	
	
     Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 143 of 174
		
	
              OPSO	provided	copies	of	quarterly	inspections	conducted	by	the	Fire	Safety	
      Officer	for	Kitchen/Warehouse,	OJC,	and	TDC	for	first	quarter	of	2018.		This	
      documentation,	supported	by	observations	during	the	compliance	tour,	indicates	
      that	OPSO	ensures	that	necessary	fire	and	life	safety	equipment	is	properly	
      maintained	and	inspected	at	required	intervals.		These	inspections	are	conducted	by	
      a	qualified	fire	safety	officer	or	a	qualified	contractor,	as	required	by	the	Consent	
      Judgment.			
              The	Monitor	noted	two	fire	extinguishers	were	out	of	date	located	in	the	OJC	
      staff	locker	rooms.	The	date	of	last	inspection	of	these	extinguishers	was	2015	
      indicating	that	the	required	inventory	of	such	equipment	is	not	complete.				
              No	lesson	plans/curriculum	for	staff	assigned	as	auditors/inspectors	was	
      provided.	Chief	Lampard	who	is	trained	and	experienced	in	performing	the	in-house	
      life	safety	inspections	is	the	only	Life	Safety	Officer	for	the	all	facilities.	
      Supervisory	review	consists	of	the	Life	Safety	Officer	presenting	inspection	
      forms/results	to	supervisors	who	sign	off	on	the	forms.	There	is	no	documentation	
      to	reflect	that	any	corrective	action	is	taken	unless	the	issue	is	a	specific	repair	
      addressed	by	a	contractor	or	facility	maintenance	staff.		
      	
	                            	




                                                                                              		
		
                                                                                              129	
          	              			Compliance	Report	#	9	–	August	29,	2018	
     Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 144 of 174



IV.	E.	1.	b.	Monthly	Inspections	
       	
       Findings:	Partial	Compliance		
       	
         Measures	of	Compliance:	
                  1.     Job	description/post	orders,	including	qualifications	for	a	fire	safety	officer	in	
                         accordance	with	NFPA	requirements	for	a	“Certified	Fire	Inspector	Level	II”		
                  2.     Written	policy	and	procedures	including	evidence	of	attendance	at	any	and	all	3-
                         year	certification	seminars	for	certification	renewal	or	current	license	from	the	
                         Office	of	the	State	Fire	Marshall	
                  3.     Also	include	measures	3,	4,	5,	7	of	IV.E.1.a.		
                  4.     Review	and	observation	of	completed	reports	and	corrective	actions	taken.	
                  5.     Interview	with	fire	safety	officer.	
	
       Observations:	
       		       Policy	701.01	addresses	all	fire	and	life	safety	inspections	and	frequency	of	
       the	inspections.		Policy	601.03,	“Preventive	Maintenance”	[August	15,	2016]	
       requires	the	Facilities	Maintenance	(FM)	test	all	life	safety	equipment	and	systems	
       in	accordance	with	National	Fire	Protection	Association	(NFPA)	and/or	Authority	
       Having	Jurisdiction	(AHJ)	requirements.					
                The	Monitor	was	provided	with	the	monthly	inspection	documents	for	the	
       Kitchen	&	Warehouse,	OJC,	and	TDC	facilities	from	October	2017	thru	May	2018.	
       The	reports	are	thorough	and	complete,	except	as	noted	below.				
                OPSO	Policy	701.01	also	establishes	a	review	of	the	report	between	the	
       warden	of	each	facility	and	the	watch	commander.	It	also	requires	a	review	by	the	
       Chief	of	Corrections.		The	Safety	Officer	stated	that	his	practice	is	to	review	the	
       reports	with	command	staff,	and	noted	that	the	chronic	issues	continue	to	be	
       housekeeping	and	inmates	being	allowed	to	accumulate	excess	items	in	their	cells	
       and	bunk	areas.		Evidence	of	such	accumulation	was	noted	by	the	Monitor	in	every	
       housing	unit	observed.		Such	accumulation	of	excess	flammable	materials	such	as	
       books,	paperwork,	excess	uniforms	and	blankets	creates	a	significant	hazard	in	
       terms	of	fire	threat	particularly	given	the	chronic	contraband	issue	with	lighters.	
       This	problem	was	evidenced	on	May	17,	2018,	when,	on	three	separate	occasions	
       during	a	twenty-four	hour	period,	an	inmate	was	able	to	ignite	and	fuel	a	significant	
       fire	in	his	cell	that	caused	a	major	response	by	staff	and	posed	a	significant	risk	to	


            	             		Compliance	Report	#	9	–	August	29,	2018	                                     130	
	
     Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 145 of 174
		
	
      the	inmate	in	question	and	other	inmates	in	the	unit.	The	Monitor	also	observed	
      chronic	issues	with	damaged	or	missing	dryer	vent	lines	in	most	every	housing	unit.		
      This	also	poses	a	fire	risk	as	does	the	lack	of	staff	supervision	of	inmates	using	the	
      dryers.	The	implementation	of	the	“unit	management”	scheme	of	supervision	may	
      address	this	issue	going	forward.		
             During	the	tour,	the	Monitor	observed	three	instances	where	items	were	
      stored	too	close	to	the	ceiling	in	the	Warehouse	and	in	an	Intake	area	closet,	and	
      several	instances	where	access	to	fire	extinguishers	and	alarm	pull	stations	were	
      blocked	by	surplus	or	broken	equipment	and	chairs	in	the	Warehouse	and	wheeled	
      carts	in	the	Kitchen.	Exit	signs	were	functional	throughout	the	facilities,	but	
      evacuation	routes	were	not	sufficiently	posted	in	the	Kitchen/Warehouse	facility.	
      Only	one	of	the	deficiencies	were	noted	on	the	monthly	and	quarterly	inspection	
      reports	provided	for	the	period	October	2017	through	May	2018.	Each	monthly	
      report	did	note	that	evacuation	routes	were	not	sufficiently	posted	in	the	
      Kitchen/Warehouse,	but	no	action	was	taken	to	remedy	the	deficiency	observed	by	
      the	Life	Safety	Officer.		Other	than	items	entered	as	maintenance	issues	in	“Facility	
      Dude”,	there	is	no	corrective	action	report	form	that	can	demonstrate	that	effective	
      corrective	action	was	taken	for	all	non-conformities.		
             No	lesson	plans/curriculum	for	staff	assigned	as	auditors/inspectors	was	
      submitted	by	OPSO	for	review.		
             These	provisions	are	in	partial	compliance	because	the	documentation	of	
      chronic	safety	issues	with	no	corrective	action(s).	
      New	recommendations:		
      52.    Add	recurring	issues	to	the	inspection	forms;	specifically,	items	stored	too	
             close	to	the	ceilings	in	storage	areas	and	blocked	access	to	fire	
             extinguishers/fire	alarm	pulls.	
      53.    Paint,	tape	or	otherwise	mark	all	storage	room	and	warehouse	walls	with	the	
             maximum	height	items	can	be	stored	in	a	given	area	to	ensure	fire	
             suppression	systems	are	not	compromised.	


                                                                                            		
		
                                                                                           131	
        	               			Compliance	Report	#	9	–	August	29,	2018	
    Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 146 of 174



     54.       Require	that	inspection	form	“remarks”	indicate	the	person	responsible	for	
               corrective	action/due	date/re-inspection	date	and	result.	
     55.       Document	corrective	action	plan(s)	for	any	deficiencies	that	are	
               reviewed/signed	by	supervisory	personnel	in	the	quarterly/monthly	reports.		
     56.       Devise	a	bracket	or	brace	system	that	can	be	installed	on	the	dryers	and	
               washers	in	the	housing	units	effectively	anchoring	the	appliances	to	the	floor	
               at	the	optimal	distance	from	the	wall	to	allow	the	vent	lines	to	work	but	not	
               allow	easy	access	to	back	of	the	machines	by	inmates;	or	identify	other	
               options.	
	                             	




           	               		Compliance	Report	#	9	–	August	29,	2018	                      132	
	
     Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 147 of 174
		
	
IV.	E.	1.	c.	Fire	Drills	
        Findings:	Partial	Compliance	
        	
          Measures	of	Compliance:	
                    1.   Written	policy	and	procedures	governing	staff	responsibilities	and	accountability	for	
                         conducting	fire	drills	within	each	facility	in	accordance	with	the	provision.		The	
                         policy	shall	include	applicable	drill	reports	that	outline	at	a	minimum	start	and	stop	
                         times	of	the	drills	and	the	number	and	location	of	inmates	who	were	moved	as	part	
                         of	the	drills,	a	review	process	for	each	drill	that	identifies	the	root	cause	and	
                         verification	of	effective	corrective	actions	as	necessary	for	non-conformities	with	the	
                         fire	safety	and	evacuation	plan(s)		
                    2.   Development	and	implementation	of	fire	drill	audit	form(s)	
                    3.   Annual	schedule	of	drills	for	each	facility;	demonstrating	rotating	drills	to	assure	all	
                         areas	are	drilled	at	a	specified	frequency.	
                    4.   Observation	of	drills	and/or	drill	reports.	
                    5.   Evidence	of	collaboration	with	the	NOFD;	interview	with	NOFD.	
                    6.   Interviews	with	inmates.	
              	
         	
        Observations:	
                  Policy	401.05,	“Fire/Smoke	Event	and	Evacuation	Training	and	Drills”	
        [October	14,	2016]	establishes	that	Level	1	fire	and	evacuation	drills	are	required	to	
        be	conducted	on	all	shifts	at	least	once	each	month	and	Level	2	fire	and	evacuation	
        drills	be	conducted	quarterly.					Policy	701.06,	“Emergencies	–	Fire/Smoke	Events”	
        [May	23,	2016]	requires	staff	be	knowledgeable	to	appropriately	respond	to	drills.		
                  The	CJ	requires	comprehensive	fire	drills	every	six	months.		OPSO	provided	
        copies	of	the	monthly	and	quarterly	fire	drills	which	meet	the	CJ	requirements	
        including	start	and	stop	times	and	the	number	and	location	of	inmates	who	were	
        moved	as	part	of	the	drills.		All	drills	were	conducted	under	the	direction	of	the	Fire	
        Safety	Officer.	Each	drill	report	documented	that	the	Fire	Safety	Officer	tested	all	
        exit	doors	with	the	emergency	key	set	and	verified	that	the	fire	alarm	activation	was	
        received	by	the	company	responsible	for	annual	testing	and	monitoring	of	the	fire	
        alarm	system.			
                  Per	OPSO	policy,	the	participation	of	all	staff	in	at	least	one	drill	per	quarter	
        could	not	be	readily	verified	by	the	manual	drill	records.	The	Fire	Safety	Officer	
        reported	that	he	could	not	confirm	that	all	current	staff	were	up-to-date	on	drills	
        per	OPSO	policy	as	he	did	not	have	an	up-to-date	staffing	roster	for	the	facility.	

                                                                                                              		
		
                                                                                                              133	
          	                   			Compliance	Report	#	9	–	August	29,	2018	
    Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 148 of 174



     Documentation	of	the	drill’s	conduct	and	participation	reflects	an	adequate	
     response	by	staff	based	upon	comments	by	the	Life	Safety	Officer.			The	drill	reports	
     themselves	contain	bulleted	comments	related	to	the	sequence	of	events	and	actions	
     by	staff.	There	are	no	comments	or	review	that	note	whether	or	not	the	drill	
     conformed	with	the	relative	training,	procedures,	plans,	etc.	The	CJ	requires	a	
     review	process	for	each	drill	that	identifies	the	root	cause	and	verification	of	
     effective	corrective	actions	as	necessary	for	non-conformities	with	the	fire	safety	
     and	evacuation	plan(s)		
              Performance	under	actual	conditions	is	a	prime	indicator	of	a	successful	
     training	and	drill	program.	However,	the	actual	response	by	staff	to	the	May	17,	
     2018,	fire	events	in	an	inmate	cell	demonstrated	a	lack	of	training	by	staff	directly	
     responding	as	evidenced	by	video	footage	of	the	incident	viewed	by	the	Monitor.	
     Too	many	staff	responded	directly	into	the	unit	and	the	cell	without	any	fire	
     extinguishers	or	other	response	gear.		No	one	took	charge	of	the	chaotic	scene	and	
     an	individual	deputy	attempted	to	drag	flaming	material	from	the	cell	across	the	
     length	of	the	entire	dayroom	to	the	recreation	yard,	effectively	spreading	flames	and	
     smoke	throughout	the	dayroom.			
              As	this	was	a	single	incident,	it	is	not	clear	if	it	is	indicative	of	endemic	
     problems	with	the	drills	and	training,	and	OPSO	should	use	this	event	as	a	training	
     example	going	forward.	The	same	review	process/root	cause	analysis	and	
     corrective	action	plan	required	of	drills	should	also	be	required,	per	OPSO	policy,	
     with	actual	fire	or	emergency	events	that	occur	in	the	facilities.	OPSO	does	not	
     maintain	a	master	schedule	of	required	drills.	As	of	the	date	of	the	compliance	tour,	
     no	critical	incident	review	had	been	completed	nor	had	staff	reports	and	incident	
     video	been	provided	to	the	Life	Safety	Officer	for	review.		
              OPSO	is	in	partial	compliance	with	the	provision.	
	                            	




          	              		Compliance	Report	#	9	–	August	29,	2018	                            134	
	
         Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 149 of 174
		
	
          New	Recommendations:			
          57.   Conduct	timely	critical	reviews/root	cause	analysis	of	fire	and	fire-related	
                events	and	responses.		Develop	specific	corrective	action	plans	to	address	
                identified	deficiencies.	
          58.   Identify	specific	corrective	actions	based	on	the	May	and	subsequent	fire	
                incidents	in	the	OJC,	identifying	supervisors,	training,	response,	and	
                equipment	issues.	
     	                             	




                                                                                            		
		
                                                                                            135	
            	             			Compliance	Report	#	9	–	August	29,	2018	
    Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 150 of 174



IV.	E.	1.	d.	Competency-Based	Training	
        	
        Findings:		Partial	Compliance	
        	
           Measures	of	Compliance:	
                 1.   Development	and	implementation	of	a	competency-based	training	policy	for	all	
                      correction	staff	on	safe	and	effective	use	of	all	fire	and	emergency	equipment,	
                      firefighting,	safe	evacuation.	
                 2.   Development	and	implementation	of	a	fire	and	emergency	practices	and	procedures	
                      training	course	syllabus/outline,	along	with	a	written	exam	that	measures	the	
                      competency	of	the	corrections	staff	for	the	fire	safety	and	evacuation	plan	and	
                      establishes	an	acceptable	passing	score.	
                 3.   Written	directive	regarding	how	OPP	will	identify	each	officer	and	staff	who	is	
                      required	to	receive	training,	the	training	date,	name	of	officer/staff	trained.	
	
               The	CJ	requires	competency-based	training	to	staff	on	proper	fire	and	
      emergency	practices	and	procedures	at	least	annually.		OPSO	has	developed	the	
      requisite	policy,	training	course	syllabus/outline	and	written	directives.	However,	
      the	performance	by	staff	during	an	actual	fire	event	on	May	17,	2018,	calls	into	
      question	compliance	with	these	initiatives	as	their	application	results	in	partial	
      compliance	with	this	section.	
               The	absence	of	sworn	staff	assigned	as	Life	Safety	Officers	has	exacerbated	
      this	issue	in	the	opinion	of	the	Monitor.	The	hiring	of	at	least	two	qualified	civilian	
      employees	to	serve	in	the	Life	Safety	Officer	role	and	augment	Chief	Lampard’s	
      efforts	is	recommended.		The	hiring	of	civilian	staff	would	obviate	the	practice	of	
      pulling	deputies	in	support	roles	to	fill	line	function	vacancies.		An	example	would	
      be	hiring	off-duty	NOFD	firefighters	in	a	part-time	capacity	and	training	them	in	
      specific	OPSO	policies,	procedures,	and	practices.	
      Observations:	
               Through	observation	and	staff	interviews,	the	Monitor	noted	that	while	Chief	
      Lampard	is	putting	forth	a	tremendous	effort	in	keeping	up	with	all	life	safety	drills	
      and	inspections,	the	Monitor	does	not	believe	the	current	levels	of	performance	are	
      sustainable	long-term	due	to	a	lack	of	trained	staff	who	are	able	to	assist	in	these	
      tasks	and	carry	them	out	in	Chief	Lampard’s	absence.		The	Monitor	was	advised	that	
      two	additional	Safety	Officers	were	to	have	been	hired	but	this	has	not	materialized.			
	                              	


           	               		Compliance	Report	#	9	–	August	29,	2018	                              136	
	
     Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 151 of 174
		
	
      New	Recommendation:	
      59.   Hire	two	full	time	equivalents	to	perform	the	role	of	Fire	Safety	Officer.		Off	
            duty	NOFD	firefighters	could	be	hired	part	time.	
            	                            	




                                                                                          		
		
                                                                                          137	
        	             			Compliance	Report	#	9	–	August	29,	2018	
     Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 152 of 174



IV.	E.	1.	e.	Emergency	Keys	
        	
        Findings:	Substantial	compliance	
        	
           Measures	of	Compliance:	
                  1.   Written	policy	and	procedures	regarding	staff	responsibility	and	accountability	for	
                       the	systematic	marking	of	all	emergency	keys,	including	sight	and	touch	
                       identification	and	designated	locations	for	quick	access	for	all	keys.		All	policies	and	
                       procedures	are	to	be	reviewed	and	updated	as	necessary	and	at	least	annually	on	a	
                       schedule.	
                  2.   Implementation	of	the	policy	and	procedure	
                  3.   Documented	evidence	of	officer	and	staff	training	on	the	policy	and	procedure.	
                  4.   Observation	of	keys.			
                  5.   Observation	of	staff	utilizing	keys.	
        	
       Observations:	
                The	Monitor	found	the	physical	security	and	accountability	for	emergency	
       keys	to	be	in	substantial	compliance	with	Policy	801.35	“Key	and	Key	Card	Control”	
       on	July	28,	2017.		Inspection	reports	note	the	routine	verification	of	the	keys	and	the	
       Fire	Safety	Officer	documents	the	periodic	testing	of	the	keys	to	verify	they	are	
       operational	and	the	Fire	Safety	Officer	trains	staff	on	the	use	of	the	location	and	use	
       of	the	keys	during	the	fire	and	life	safety	training	curriculum	provided	to	all	staff	at	
       the	training	academy.		As	the	in-service	training	is	developed,	life	safety	training	to	
       include	the	use	of	emergency	keys	should	be	incorporated	in	the	training	each	year.		
	                                	




            	                		Compliance	Report	#	9	–	August	29,	2018	                                      138	
	
     Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 153 of 174
		
	
IV.	E.2	Fire	and	Life	Safety	Reporting	
IV.	E.	2.	a.	(1)	–	(3)	Periodic	Reporting	
	
    Findings:	Partial	Compliance	
    	
       Measures	of	Compliance:	
               1.   Written	policy	and	procedure	governing	required	reporting.	
               2.   Evidence	of	written	report	provided	as	specified	in	the	provision.	
	
       Observations:	
                Policy	101.04,	“Administrative	Reporting	Requirements”	[July	17,	2017]	
       establishes	required	periodic	reporting,	report	contents,	analysis,	and	
       responsibilities	of	the	reviewing	authority.		
                The	most	recent	semi-annual	report	was	not	available	for	review	at	the	time	
       of	the	inspection.	Monthly	and	quarterly	inspection	reports,	external	reports	and	
       inspections	were	provided,	but	as	noted	in	the	last	report,	no	summary	as	required	
       by	the	CJ	was	provided	of	the	following:	
                1. The	number	and	type	of	violations	reported	by	fire	and	life	safety	
                     inspectors	(internal	inspectors);	
                2. The	fire	code	violations	during	annual	fire	inspections	(in	this	period	
                     there	were	none	reported	according	to	the	specific	reports	for	OJC	and	
                     TDC.);	
                3. The	number	of	occurrences	of	hazardous	clutter	in	housing	units	that	
                     could	lead	to	a	fire	(in	virtually	every	monthly	report	for	OJC,	it	was	noted	
                     as	a	violation	“housekeeping	needs	improvement”	with	no	action	plan	or	
                     progress	noted).		
       	        The	lack	of	communication	from	security	staff	to	the	Fire	Safety	Officer	is	an	
       on-going	concern	as	noted	previously.		For	example,	the	reports	and	video	of	the	
       May	17,	2018	fire	incident	mentioned	previously	had	not	been	provided	to	the	Fire	
       Safety	Officer	for	review	as	of	the	date	of	the	compliance	tour	in	June	2018.		See	the	
       recommendation	above,	regarding	critical	incident	reviews/root	cause	analysis	of	
       fire	and	fire-related	incidents,	as	well	as	corrective	action	plans.	

                                                                                               		
		
                                                                                              139	
           	                 			Compliance	Report	#	9	–	August	29,	2018	
     Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 154 of 174



IV.	E.		2.		b.	Addressing	Deficiencies	
                                                      	
       Findings:	Partial	compliance	
       	
         Measures	of	Compliance:	
                      1.    Written	policy	and	procedure	governing	required	reporting.	
                      2.    Evidence	of	reviews	of	the	fire	and	life	safety	conditions	report	by	staff	
                            responsible	for	implementing	policies	and	procedures.	
                      3.    Evidence	of	written	audits	of	the	facilities.	
                      4.    Evidence	of	command	staff	review.		Determination	by	OJC	that	the	policies	and	
                            procedures	are	effective	to	address	the	requirements	of	this	Judgment.	
                      5.    Documentation	of	Corrective	Actions	taken	to	address	non-conformities	
                            identified	during	the	review	process.	
                      6.    Changes	to	policy,	training	curriculum,	etc.	resulting	from	these	reviews.	
                      7.    Review	of	Fire	Department	reports/inspections;	interviews	with	NOFD.	




       Observations:	
                 	Policy	101.04	[July	17,	2017]	establishes	that	the	OPSO	Management	Team	
       review	the	periodic	management	reports	during	regularly	scheduled	meetings.		
       These	reports	were	not	provided.		The	paragraph	remains	in	partial	compliance	as	
       the	policy	is	completed;	but	there	is	no	documentation	of	implementation.		This	is	a	
       serious	matter	as	there	have	been	escalating	number	of	fire-related	incidents.		A	
       coordinated	initiative,	along	with	decreasing	contraband	flow	in	the	facility,	needs	
       to	be	a	priority.	
                 		
                 	
	




             	               		Compliance	Report	#	9	–	August	29,	2018	                                 140	
	
     Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 155 of 174



IV.	F.	 Language	Assistance	
	
           Findings:		
                 F.1.a.	-	Partial	Compliance			
                 F.2.a	-	Not	Applicable				
                 F.2.b.	-	Not	Applicable			
                 F.3.a.	-	Partial	Compliance				
                 F.4	-	Non-compliance		
                 	
             Measures	of	compliance:	
                1. Comprehensiveness	of	policy;	comprehensive	language	assistance	plan.	
                2. Training.			
                3. Review	of	inmate	files.	
                4. Interviews.	
	
       Observations:	
                OPSO’s	policy	on	Language	Assistance	(801.25)	[March	2016.]	addresses	the	
       provisions	of	the	paragraph,	but	as	noted	in	previous	compliance	reports,	the	
       critical	step	of	implementation	has	not	occurred.		OPSO	assessed	compliance	as	
       partial.				OPSO’s	required	work	to	gain	compliance	includes:	
                •   Develop	and	implement	a	comprehensive	language	assistance	plan	
                    (separate	from	the	policy).	
                •   Annually	identify	and	assess	demographic	data	collected	through	the	
                    intake	and	classification	processes.	Specifically,	track	the	number	of	
                    Limited	English	Proficiency	(LEP)	individuals.		(Note,	the	attorneys	for	
                    the	Plaintiff	class,	OPSO,	and	Monitors	mutually	agreed	to	change	this	
                    requirement	from	monthly	to	annual	reporting.).	
                •   Document	the	provision	of	timely,	meaningful	language	assistance	
                    services	for	LEP	inmates	by	OPSO	staff.		(“Meaningful	services”	must	
                    extend	beyond	the	availability	of	the	language	line.)	
                •   Assess	regularly	the	proficiency	and	qualifications	of	bilingual	staff	to	
                    serve	as	authorized	interpreters.	
                •   Create	and	maintain	a	list	of	authorized	interpreters.		(This	list	should	be	
                    posted	on	the	OSPO	shared	drive	to	ensure	ready	access	by	all	staff,	
                    particularly	intake	and	classification	officers.	



         	              			Compliance	Report	#	9	–	August	29,	2018	
                                                                                                 141	
	
    Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 156 of 174



            •    Document	that	LEP	inmates	are	not	asked	to	sign	or	initial	documents	in	
                 English	without	the	benefit	of	a	translation	from	an	authorized	
                 interpreter.	
            •    Provide	at	least	eight	(8)	hours	of	LEP	training	for	all	corrections	and	
                 medical/mental	health	staff	who	have	direct	contact	with	LEP	inmates.	
            •    Post	bilingual	staff	in	housing	units.	
            •    Ensure	at	least	one	bilingual	staff	member	is	available	on	each	shift.	
            As	OPSO	states	that	they	do	not	hold	ICE	inmates,	in	compliance	with	Section	
     IV.	A.	9.	b.	of	the	Consent	Judgment,	the	Monitors	consistently	evaluate	paragraphs	
     IV.	F.	1.	and	2.	as	not	applicable.		
            OPSO	contracts	with	the	City’s	Office	of	Homeland	and	Security	and	
     Emergency	Preparedness	for	language	line	services.		OPSO	has	not	be	able	to	
     provide	a	record	of	these	calls	since	September	2017.			
            OPSO	notes	that	although	there	is	a	policy	regarding	bi-lingual	staff	(301.25),	
     it	is	not	implemented.		The	responsibility	to	do	so	has	been	delegated	to	the	newly	
     hired	Human	Resources	Director	who	anticipated	implementation	90	days	from	
     June	12,	2018.		As	there	is	no	movement	regarding	this	paragraph	(IV.F.4.)	since	the	
     last	compliance	report,	this	remains	in	non-compliance.	
            		      	
	




       	            			Compliance	Report	#	9	–	August	29,	2018	
                                                                                             142	
	
         Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 157 of 174



IV.	G.		 Youthful	Prisoners	
	
    Findings:	 Partial	compliance	
    	
     	    Measures	of	Compliance:	
                1. Written	policy/procedures	governing	classification	and	housing	of	youthful	inmates,	
                     including	but	not	to	sight/sound	separation,	provision	of	services,	protective	custody,	
                     education	and	other	services,	services	for	youthful	inmates	with	mental	illness	or	who	
                     are	developmentally	disabled,	access	to	medical	and	mental	health	services.	
                2. Housing	plan;	classification	plan.	
                3. Observation.	
                4. Interview	with	youthful	inmates.	
                5. Review	of	recreation	and	program	schedules.	
                6. Review	of	inmate	files	(developmentally	disabled,	mental	illness).	
                7. Review	of	housing	unit	logs,	program	schedules.	
	
          Observations:	
                  This	paragraph	of	the	Consent	Judgment	has	several	provisions:			
                       •   maintenance	of	separation	of	youthful	inmates	from	adults,	unless	
                           providing	direct	supervision	of	the	inmates,		
                       •   assure	youthful	inmates	in	protective	custody	status	shall	have	no	
                           contact	with,	or	access	to	or	from,	non-protective	custody	inmates,	
                           and		
                       •   provision	of	developmentally	appropriate	mental	health	and	
                           programming	services.	
                  As	these	requirements	are	in	a	single	paragraph,		OPSO	believes	it	has	
          achieved	partial	compliance;	the	Monitor	finds	this	paragraph	in	partial	compliance	
          as	well.		
                  The	housing	options	in	OJC,	that	is,	the	large	housing	units,	prevent	the	
          separation	of	youth	who	are	in	protective	custody	from	non-protective	custody.			
          Female	juvenile	inmates	held	in	OJC,	although	not	as	large	a	number	of	male	
          youthful	inmates,	cannot	be	separated	from	adult	female	inmates.		OPSO	continues	
          to	work	with	the	Youth	Study	Center	to	find	a	way	to	move	juveniles	to	that	facility.	
                  OPSO	provided	two-months	of	staffing	logs	indicating	that	the	unit	holding	
          youthful	males	was	staffed	on	all	shifts.	(See	also	Stipulated	Agreement	of	February	



            	              			Compliance	Report	#	9	–	August	29,	2018	                                   143	
		
	
     Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 158 of 174



      11,	2015,	paragraph	7.b.)	What	is	not	documented	is	whether	deputies	are	relieved	
      when	they	take	meal	breaks	or	escort	an	inmate.		
             Completed	policies	to	guide	operations	for	these	inmates	are	not	completed,	
      pending	since	Compliance	Report	#8.	Also,	as	referenced	in	the	last	Compliance	
      Report,	an	inmate	handbook	appropriate	for	youthful	offenders	is	being	drafted	by	
      OPSO.				Preliminary	drafts	of	the	text	and	related	appendices	were	provided	to	the	
      Monitor	for	review.	
             The	Monitors	acknowledge	that	the	implementation	of	a	school	program	
      represents	significant	progress	toward	compliance.		
             CCS	is	responsible	for	providing	developmentally	appropriate	mental	health	
      services	for	this	population.		The	CCS	psychologist	provided	a	schedule	of	activities,	
      which	include	card	games,	strategy	games,	educational	games,	paper	games,	sleep	
      hygiene,	creative	therapy,	anger	management,	coping	skills,	social	skills,	leisure	
      activity	and	board	games.		The	Monitor	requested	additional	information	providing	
      the	bases	for	the	programming	offered,	specifically	a	needs	assessment	or	similar	
      document	connecting	the	programming	offered	with	the	diagnoses	of	the	youthful	
      offenders.		Although	additional	information	was	provided,	this	specific	information	
      was	not.					The	Monitors	look	forward	to	the	maturation	of	these	two	programs	–	
      Travis	Hill	School	and	developmentally	appropriate	mental	health	services	and	
      seeing	progress	at	the	next	tour.	
             		
             	
	                            	




        	           			Compliance	Report	#	9	–	August	29,	2018	                             144	
		
	
     Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 159 of 174



VI.			A	–	D.	The	New	Jail	Facility	and	Related	Issues	
        	
A.      New	Jail			
       Finding	–	Substantial	Compliance.	
       The	Orleans	Jail	Center	opened	for	inmates	on	September	15,	2015.	
B.     Design	and	Design	Document		
             Finding	–	Substantial	Compliance			
                This	provision	provides	that,	“The	Defendant	shall	obtain	the	services	of	a	
       qualified	professional	to	evaluate,	design,	plan,	oversee,	and	implement	the	
       construction	of	any	new	facility	[emphasis	added].		At	each	major	stage	of	the	facility	
       construction,	Defendant	shall	provide	the	Monitor	with	copies	of	design	documents.”	
                Judge	Africk	has	directed	that	the	City	provide	plans	for	the	Phase	III	(a	
       special	needs’	facility)	to	Drs.	Patterson	and	Greifinger	for	review	as	available.	
                Therefore,	the	finding	of	compliance	for	the	new	jail	is	substantial	
       compliance.		For	Phase	III,	implementation	is	pending.	
C.     Staffing	-			The	Consent	Judgment	requires	that	the	Defendant	shall	consult	with	a	
       qualified	corrections	expert	as	to	the	required	services	and	staffing	levels	needed	
       for	any	replacement	facility.		The	Monitors	will	await	planning	for	Phase	III	to	
       ascertain	future	compliance.	For	now,	the	paragraph	is	in	substantial	compliance.	
D.     Compliance	with	Codes	and	Standards	
       Finding	–	Not	evaluated	
                The	Monitors	do	not	have	the	knowledge	base	to	evaluate	compliance	with	
       this	paragraph.		
	                             	




         	             			Compliance	Report	#	9	–	August	29,	2018	                            145	
		
	
     Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 160 of 174



VII.		Compliance	and	Quality	Improvement	
	
VII.	A.	Policies,	Procedures,	Protocols,	Training	Curriculum	and	Practices	
       	
          Finding:	 Partial	Compliance	
									
	         Measures	of	Compliance:	
       	         1. Policies	and	procedures	manual.	
              2.   Process/spreadsheet	to	identify	all	existing	and	planned	written	directives,	
                   dates	when	expected	to	be	submitted	for	Monitors’	review.	

      Observations:	
             Policies	and	procedures	are	not	completed.		The	in-process,	almost	complete,	
      policy	governing	the	written	directive	system	is	a	step	forward,	and	will	require	
      standard	operating	procedures	for	the	OPSO’s	organizational	components.			OPSO	
      self-assesses	that	this	provision	is	in	partial	compliance.	
VII.	(H).	B.		Written	Quality	Improvement	Policies	and	Procedures	
	
      Finding:	 	Partial	compliance	
	
      Measures	of	Compliance:	
      1. Written	policy/procedure	governing	quality	improvement.			
      2. Written	report.	
      3. Results	of	action	plan	from	written	report.	
	
      Observations:	
             Partial	compliance	with	this	paragraph	is	based	on	OPSO’s	policy	801.21	
      (dated	April	5,	2016)	regarding	critical	incident	reviews.		OPSO	has	produced,	to	the	
      Monitor’s	knowledge,	one	critical	incident	review.		There	have	been	many	incidents	
      which	require	review	for	improvement.			Once	the	Monitors	can	evaluate	the	
      reviews,	the	aligned	corrective	action	plans,	and	the	implementation,	this	paragraph	
      will	gain	compliance.		OPSO	self-assesses	that	this	provision	is	in	partial	compliance.	
             		
	                              	




        	             			Compliance	Report	#	9	–	August	29,	2018	                                  146	
		
	
          Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 161 of 174



VII.		(I).	C.	Full-Time	Compliance	Coordinator	
	        	
         Finding:		Partial	Compliance.	
         	
         Observation:	
                           Debra	Hammons	was	hired	as	the	compliance	coordinator	in	November	
             2017,	and	has	done	extraordinary	work	to	frame	the	compliance	initiatives.		Based	
             on	the	specific	language	of	the	Consent	Judgment,	however,	the	Monitors	assess	
             partial	compliance.		The	areas	requiring	attention	are	described	in	the	Introduction	
             to	this	report	(based	on	the	language	of	the	Consent	Judgment).21		
VII.		(J.)	D.	Self-Assessment		
	
             Finding:	 Non-Compliance.	
             Observations:			
                           The	provision	provides	“On	a	bi-annual	basis,	OPSO	will	provide	the	public	
             with	a	self-assessment	in	which	areas	of	significant	improvement	or	areas	still	
             undergoing	improvement	are	presented	either	through	use	of	the	OPSO	website	or	
             through	issuance	of	a	public	statement	or	report.”	
                           OPSO	asserts	that	they	are	in	substantial	compliance	with	this	paragraph	as	
             town	hall	meetings	are	held	quarterly.		OPSO	provided	the	PowerPoint	
             presentations	used	at	those	meetings.		The	Monitor	believes	that	this	paragraph	is	
             not	about	the	townhall	meetings,	conducted	pursuant	to	the	Stipulated	Agreement	
             of	2016,	but	rather	in	writing	on	the	website	or	through	issuance	of	a	public	
             statement.	
	                                                     	

																																																								
21
   The	Parties	agree	that	OPSO	will	hire	and	retain,	or	reassign	a	current	OPSO	employee	for	the	duration	of	
this	Agreement,	to	serve	as	a	full-time	OPSO	Compliance	Coordinator.	The	Compliance	Coordinator	will	serve	
as	a	liaison	between	the	Parties	and	the	Monitor	and	will	assist	with	OPSO’s	compliance	with	this	Agreement.	
At	a	minimum,	the	Compliance	Coordinator	will:	coordinate	OPSO’s	compliance	and	implementation	
activities;	facilitate	the	provision	of	data,	documents,	materials,	and	access	to	OPSO’s	personnel	to	the	
Monitor,	SPLC,	DOJ,	and	the	public,	as	needed;	ensure	that	all	documents	and	records	are	maintained	as	
provided	in	this	Agreement;	and	assist	in	assigning	compliance	tasks	to	OPSO	personnel,	as	directed	by	the	
Sheriff	or	his	or	her	designee.	The	Compliance	Coordinator	will	take	primary	responsibility	for	collecting	
information	the	Monitor	requires	to	carry	out	the	duties	assigned	to	the	Monitor.


                 	                      			Compliance	Report	#	9	–	August	29,	2018	                    147	
		
	
      Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 162 of 174



VIII.		Reporting	Requirements	and	Right	of	Access	
VIII.		A.	Periodic	Compliance	Reporting	
        Finding:	 Non-Compliance.	
        Observations:			
        	        This	provision	requires	that	OPSO	submit	periodic	compliance	reports	to	the	
        Monitors	describing	the	OPSO’s	actions	during	the	reporting	period	to	implement	
        the	Consent	Judgment.		The	report	is	also	required	to	summarize	audits	and	
        continuous	improvement	plans,	quality	assurance	activities	and	contain	findings	
        and	recommendations	that	would	be	used	to	track	and	trend	data.		The	report	is	
        also	to	capture	data	that	is	tracked	and	monitored	under	the	reporting	provisions	
        related	to	use	of	force,	suicide	prevention,	health	care	delivered,	sanitation	and	
        environmental	conditions,	and	fire	and	life	safety.		
        	        OPSO	asserts	that	it	is	in	substantial	compliance	with	this	paragraph.		OPSO	
        provided	documentation.	22
                 The	OPSO	Compliance	“master	document”	provided	does	not	include	
        information	on	the	specific	activities	that	OPSO	is	undertaking	to	gain	and	sustain	
        compliance	by	paragraph.		OPSO	provided	a	memorandum	that	there	is	currently	a	
        review	of	what	incidents	will	be	reviewed	as	critical	incidents.	
                 Based	on	the	information	provided	and	the	requirements	of	this	paragraph,	
        the	Monitors	assess	this	paragraph	as	being	in	non-compliance.		The	compliance	
																																																								
22	A	summary	page	of	the	responsibilities	of	staff	vis-à-vis	the	early	intervention	system,	grievances,	mental	
health	counseling	and	risk	management	reports	(the	last	two	assigned	to	a	CCS	staff	no	longer	employed);		No	
such	report	has	been	provided	for	either	2016	or	to-date	for	2107;	a	review	of	the	Early	Intervention	System	
(EIS)	(4/2/18);	a	spreadsheet	with	EIS	alerts;		the	report	of	the	1st	quarter	of	2018	regarding	the	inmate	
grievance	system;		a	Quarterly	Compliance	Report	from	CCS	for	the	2018,	which	does	not	include	suicide	
prevention	activities	or	respond	directly	to	the	requirements	of	the	health	care	section	of	the	Consent	
Judgment;		the	inmate	disciplinary	track	spreadsheet,	which	will	include,	according	to	OPSO,	analysis	and	
tracking	in	the	future;	the	tentative	in-service	training	schedules	for	both	sworn	and	civilian	staff;	a	
programming	master	schedule;	May	2018	IAD	Investigative	Review;		inmate	classification	summaries,	
internal	audits	and	training	(see	also	Section	IV.A.	10);	staffing	overtime	report	for	May	2018;	list	of	approved	
paid	details	worked	May	2018’	What	is	unlabeled	but	appears	to	be	a	listing	of	hours	worked	by	reserve	
deputies	in	OJC;	list	of	missed	medical	appointments	from	CCS,	with	no	analysis	or	action	plan;		policy	index	
and	due	dates;		Use	of	Force	Review	Board	Dispositions	(January	through	May	2018);	Use	of	Force	reviews	
for	what	appears	to	be	2018	quarterly	(unable	to	open	document);	2018	EIS	alerts;	and		6/15/18	–	Stipulated	
Audit	Action	Plan	Environmental/Sanitation	Department.	
	

            	            			Compliance	Report	#	9	–	August	29,	2018	                                        148	
		
	
     Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 163 of 174



       initiatives	of	OPSO	should	address	the	specific	requirements	of	this	paragraph	and	
       develop	the	systems	needed.		This	will	be	essential	to	sustainability	of	the	
       requirements.	
VIII.	B.		(Notification	of)	Death	of	Any	Prisoner	
       Finding:	 Substantial	Compliance	
       Observations:			
               Notifications	have	been	provided	within	12	hours	of	an	inmate’s	death.		
       Better	communication	between	the	OPSO	and	the	Monitors	and	attorneys	for	the	
       Plaintiff	class/DOJ	is	needed	as	to	the	post-death	investigations.	
VIII.	C.	Records	
       Finding:	 Partial	Compliance	
       Observations:			
       	       The	Monitors	are	heartened	by	the	improvement	in	the	production	of	
       accurate	and	meaningful	data.			OPSO	self-assesses	that	this	provision	is	in	partial	
       compliance.	
       	




           	          			Compliance	Report	#	9	–	August	29,	2018	                         149	
		
	
           Case
            Report2:12-cv-00859-LMA
                   # 1 Report # 2 Report # Document
                                           3 Report # 4 1188
                                                         Report #Filed 08/29/18
                                                                  5 Report        Page
                                                                           # 6 Report # 7 164 of #174
                                                                                           Report  8 Report # 9
 Section
              2/13/14    8/26/14    2/25/15    9/9/15      3/17/16   10/25/16    5/1/17    1/12/18    8/25/18
7/30/18
IV.A. 1. Use of Force Policies and Procedures/Margo Frasier
IV. A. 1.a.   ND         NC         NC        PC        NC             PC         PC         PC         PC
IV. A. 1.b.   ND         NC         NC        PC        NC             PC         PC         PC         SC
IV. A. 1.c.   ND         NC         NC        PC        NC             NC         PC         PC         PC
IV.A.2. Use of Force Training/Margo Frasier
IV. A. 2.
              ND         NC         NC        NC        NC
a.                                                                     PC         PC         PC         PC
IV. A. 2.
              ND         NC         NC        NC        NC
b.                                                                     PC         PC         PC         PC
IV. A. 2. c.
              ND         NC         NC        NC        NC             NC         NC         NC
                                                                                                        PC
IV.A.3. Use of Force Reporting/Margo Frasier
IV. A.3 a.      ND         NC        NC         PC          NC         PC         PC         PC         PC
IV. A.3 b.      ND         NC        NC         NC          NC         NC         PC         PC         PC
IV. A.3 c.      ND         NC        NC         NC          NC         NC         PC         PC         PC
IV. A.3 d.      ND         NC        NC         PC          NC         NC         PC         PC         PC
IV. A.3 e.      ND         NC        NC         PC          PC         PC         PC         PC         SC
IV. A.3 f.      ND         NC        NC         PC          NC         PC         PC         PC         PC
IV. A.3 g.      ND         NC        NC         PC          PC         PC         PC         PC         SC
IV. A.3 h.      ND         NC        NC         NC          NC         NC         NC         NC         PC
IV.A.4. Early Intervention System (“EIS”) /Margo Frasier
IV.A.4.a.       ND         NC        NC         PC          PC         PC         NC         NC         PC
IV.A.4.b.       ND         NC        NC         PC          PC         PC         PC         PC         PC
IV.A.4.c.       ND         NC        NC         PC          PC         PC         PC         PC         SC
IV.A.4.d.       ND         NC        NC         NC          NC         PC         PC         NC         NC
IV.A.4.e.       ND         ND        ND         ND          NC         NC         NC         NC         NC
IV.A.5. Safety and Supervision/Margo Frasier
IV.A.5.a.       ND         NC        NC         NC          NC         NC         NC         NC         NC
IV.A.5.b.       ND         NC        NC         NC          NC         NC         NC         NC         NC
IV.A.5.c.       ND         NC        NC         NC          NC         NC         NC         PC         PC
IV.A.5.d.       NC         NC        PC         PC          NC         NC         NC         NC         PC
IV.A.5.e.       ND         NC        NC         PC          PC         NC         NC         NC         NC
IV.A.5.f.       ND         NC        NC         PC          PC         SC         SC         PC         PC
IV.A.5.g.       ND         NC        ND         PC          NC         NC         NC         NC         NC
IV.A.5.h.       ND         NC        NC         NC          NC         NC         NC         NC         NC
IV.A.5.i.       ND         NC        NC         PC          PC         PC         PC         PC         SC
IV.A.5.j.       ND         NC        PC         PC          NC         NC         NC         NC         PC
IV.A.5.k.       ND         NC        PC         PC          PC         PC         PC         PC         PC
IV.A.5.l.       ND         NC        NC         NC          PC         PC         PC         PC         PC
IV.A.6. Security Staffing/Susan McCampbell
IV.A.6.a.       NC         NC        NC         NC          NC         NC         NC         NC         NC
 IV.A.6.a.(
                ND         PC        PC         PC          SC         SC         PC         PC         PC
     1)
 IV.A.6.a.(     ND         PC        PC         PC          NC         SC         SC         SC         SC
 IV.A.6.a.(
                ND         SC        NC         SC          NC         SC         NC         SC         NC
     3)
 IV.A.6.a.(     ND         NC        PC         PC          PC         PC         PC         PC         PC
IV.A.6.b.       ND         NC        PC         PC          NC         PC         PC         PC         PC




                                               August 29, 2018
           Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 165 of 174
            Report # 1 Report # 2 Report # 3 Report # 4 Report # 5 Report # 6   Report # 7 Report # 8 Report # 9
 Section
             2/13/14    8/26/14    2/25/15     9/9/15    3/17/16    10/25/16      5/1/17    1/12/18    8/25/18

IV.A.7 Incidents and Referrals/Margo Frasier
IV.A.7.a.      ND         NC         NC          NC       NC        PC             PC         PC         PC
IV.A.7.b.      ND         NC         NC          PC       NC        PC             PC         PC         PC
IV.A.7.c.      ND         NC         PC          PC       PC        PC             SC         SC         SC
IV.A.7.d.      ND         NC         NC          NC       NC        NC             NC         PC         PC
IV.A.7.e.      ND         NC         PC          PC       PC        PC             PC         PC         PC
IV.A.7.f.      ND         NC         NC          PC       PC        PC             PC         PC         PC
IV.A.7.g.      ND         NC         NC          PC       PC        PC             PC         PC         PC
IV.A.7.h.      ND         NC         NC          PC       PC        PC             PC         PC         PC
IV.A.7.i.      ND         NC         NC          PC       NC        NC             NC         NC         NC
IV.A.7.j.      ND         NC         NC          NC       NC        NC             NC         NC         NC
IV.A.8. Investigations/Margo Frasier
IV.A.8.a.      ND         NC         PC          PC       PC        SC             SC         SC         SC
IV.A.8.b.      ND         NC         PC          PC       PC        SC             SC         SC         SC
IV.A.8.c.      ND         NC         PC          PC       PC        SC             SC         SC         SC
IV.A.8.d.      ND         NC         NC          PC       PC        SC             SC         SC         SC
IV.A.8.e.      ND         NC         NC          PC       PC        PC             PC         SC         SC
IV.A.8.f.      ND         NC         NC          PC       PC        PC             PC         PC         SC
IV.A.9. Pretrial Placement in Alternative Settings/Susan McCampbell
IV.A.9.a.      PC         PC         PC          SC       SC        SC             SC         SC         SC
IV.A.9.b.      PC         PC         PC          SC       SC        SC             SC         SC         SC
IV.A.10. Custodial Placement within OPP/Patricia Hardyman
IV.A.10.a.     NC         PC         SC          SC       SC        SC             PC         PC         PC
IV.A.10.b.     NC         NC         NC          SC       SC        SC             SC         SC         SC
IV.A.10.c.     NC         NC         PC          PC       PC        PC             PC         SC         SC
IV.A.10.d.     NC         NC         PC          PC       PC        PC             PC         NC         PC
IV.A.10.e.     NC         NC         PC          SC       PC        PC             SC         PC         PC
IV.A.10.f.     NC         NC         NC          NC       NC        PC             PC         PC         NC
IV.A.10.g.     NC         NC         NC          NC       NC        PC             PC         PC         PC
IV.A.10.h.     ND         NC         NC          PC       PC        PC             PC         PC         PC
IV..A.11. Prisoner Grievance Process/Susan McCampbell
IV.A.11.a      PC         PC         PC          PC       PC        PC             PC         PC         PC
IV.A.12. Sexual Abuse/Susan McCampbell
IV.A.12.       PC         PC         PC          PC       PC        PC             PC         PC         PC
IV.A.13. Access to Information/Susan McCampbell
IV.A.13.       PC         PC         PC          PC       PC        PC             PC         PC         PC




                                              August 29, 2018
           Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 166 of 174
            Report # 1 Report # 2 Report # 3 Report # 4 Report # 5 Report # 6   Report # 7 Report # 8 Report # 9
 Section
             2/13/14    8/26/14    2/25/15     9/9/15    3/17/16    10/25/16      5/1/17    1/12/18    8/25/18

IV. B. Mental Health Care
IV.B.1. Screening and Assessment/Raymond Patterson
IV.B.1.a.      NC         NC        PC       PC       PC              PC           PC         PC         PC
IV.B.1.b.      NC         NC        PC       PC       PC              PC           PC         PC         PC
IV.B.1.c.      NC         NC        PC       PC       PC              PC           PC         PC         SC
IV.B.1.d.      NC         NC        PC       PC       PC              PC           PC         PC         PC
IV.B.1.e.      NC         NC        PC       PC       PC              PC           PC         PC         PC
IV.B.1.f.      NC         NC        NC       NC       NC              NC           NC         NC         NC
IV.B.1.g.      NC         NC        NC       NC       NC              NC           NC         NC         PC
IV.B.1.h.      NC         NC        NC       NC       NC              NC           NC         NC         PC
IV.B.1.i.      NC         NC        NC       NC       NC              NC           NC         NC         NC
IV.B.1.j.      NC         NC        NC       PC       NC              NC           NC         NC         NC
IV.B.1.k.      NC         NC        NC       PC       NC              NC           NC         NC         NC
IV.B.1.l.      NC         NC        NC       NC       NC              NC           NC         NC         NC
B. 2. Treatment/Raymond Patterson
IV.B.2.a.      NC         NC        NC       PC       PC              PC           PC         PC         PC
IV.B.2.b.      NC         NC        NC       NC       NC              NC           NC         NC         NC
IV.B.2.c.      NC         NC        NC       NC       NC              NC           NC         NC         NC
IV.B.2.d.      NC         NC        NC       NC       NC              NC           NC         NC         NC
IV.B.2.e.      NC         NC        NC       PC       PC              PC           PC         NC         NC
IV.B.2.f.      NC         NC        NC       PC       PC              PC           NC         PC         PC
IV.B.2.g.      NC         NC        NC       PC       PC              PC           NC         PC         PC
IV.B.2.h.      NC         NC        NC       PC       PC              PC           PC         PC         NC
IV.B.3. Counseling/Raymond Patterson
IV.B.3.a.      NC         NC        NC       NC       PC              NC           NC         PC         PC
IV.B.3.b.      NC         NC        NC       NC       PC              NC           NC         PC         PC
IV.B.4. Suicide Prevention Training Program/Raymond Patterson
IV.B.4.a.      NC         NC        NC       PC       PC              PC           PC         PC         NC
IV.B.4.b.      NC         NC        NC       PC       PC              PC           PC         PC         PC
IV.B.4.c.      NC         NC        NC       PC       PC              PC           PC         PC         PC
IV.B.4.d.      NC         NC        NC       PC       NC              NC           NC         NC         NC
IV.B.4.e.      NC         NC        NC       PC       NA              PC           PC         PC         PC
IV.B.4.f.      NC         NC        NC       NC       PC              PC           NC         NC         SC
IV.B.4.g.      NC         NC        NC       SC       PC              NC           NC         NC         NC
IV.B.5. Suicide Precautions/Raymond Patterson
IV.B.5.a.      NC         NC        NC       NC       NC              NC           NC         PC         PC
IV.B.5.b.      NC         NC        NC       NC       NC              NC           NC         PC         PC
IV.B.5.c.      NC         NC        NC       NC       NC              NC           NC         PC         PC
IV.B.5.d.      NC         NC        NC       NC       NC              NC           NC         NC         PC
IV.B.5.e.      NC         NC        NC       NC       NC              NC           NC         NC         NC
IV.B.5.f.      NC         NC        NC       NC       NC              NC           NC         NC         NC
IV.B.5.g.      NC         NC        NC       NC       NC              NC           NC         NC         NC
IV.B.5.h.      NC         NC        NC       NC       NC              NC           NC         PC         NC
IV.B.5.i.      NC         NC        NC       NC       NC              NC           NC         PC         PC
IV.B.5.j.      NC         NC        NC       NC       NC              NC           NC         PC         PC
IV.B.5.k.      NC         NC        NC       NC       NC              NC           NC         PC         NC




                                              August 29, 2018
           Case
            Report2:12-cv-00859-LMA
                   # 1 Report # 2 Report # Document
                                           3 Report # 4 1188
                                                         Report #Filed 08/29/18
                                                                  5 Report        Page
                                                                           # 6 Report # 7 167 of #174
                                                                                           Report  8 Report # 9
 Section
              2/13/14    8/26/14    2/25/15    9/9/15     3/17/16   10/25/16     5/1/17    1/12/18    8/25/18
IV.B.6. Use of Restraints/Raymond Patterson
IV.B.6.a.       PC        NC         PC         PC        PC          PC          PC         PC         NC
IV.B.6.b.       NC        NC         PC         PC        PC          PC          PC         PC         PC
IV.B.6.c.       ND        NC         PC         PC        PC          PC          PC         PC         NC
IV.B.6.d.       ND        NC         PC         PC        PC          PC          PC         PC         NC
IV.B.6.e.       NC        NC         PC         PC        PC          PC          PC         PC         NC
IV.B.6.f.       NC        NC         PC         PC        PC          PC          PC         PC         NC
IV.B.6.g.       NC        NC         PC         PC        PC          PC          PC         PC         NC
IV.B.7. Detoxification and Training/Robert Greifinger
IV.B.7.a.       NC        NC         PC         PC        PC          PC          PC         PC         PC
IV.B.7.b.       NC        NC         PC         PC        PC          PC          PC         PC         PC
IV.B.7.c.       NC        NC         PC         PC        PC          PC          PC         PC         PC
IV.B.7.d.       NC        NC         PC         PC        PC          PC          PC         PC         PC
IV.B.8. Medical and Mental Health Staffing/Robert Greifinger
IV.B.8.a.       NC        NC         PC         PC        PC          PC          PC         PC         PC
IV.B.8.b.       NC        NC         PC         PC        PC          PC          PC         PC         PC
IV.B.9. Risk Management/Robert Greifinger
IV.B.9.a.       NC        NC         NC         PC        PC          PC          PC         PC         PC
IV.B.9.b.       NC        NC         NC         PC        PC          PC          PC         PC         PC
IV.B.9.c.       NC        NC         NC         NC        PC          PC          PC         PC         PC
IV.B.9.d.       NC        NC         NC         NC        NC          NC          NC         NC         NC
IV.B.9.e.       NC        NC         NC         NC        PC          PC          PC         PC         NC
IV.B.9.f.       NC        NC         NC         NC        PC          PC          PC         PC         NC
IV.C. Medical Care
IV. C. Quality Management of Medication Administration
IV.C.1.a.       NC        NC         PC         PC        PC          PC          PC         PC         PC
IV.C.1.b.       NC        NC         PC         PC        PC          PC          PC         PC         PC
IV.C.1.c.       NC        NC         PC         PC        PC          PC          PC         PC         PC
IV.C.1.d.       NC        NC         PC         PC        PC          PC          PC         PC         PC
IV.C.2. Health Care Delivered/Robert Greifinger
IV.C.2.a.       NC        NC         NC         PC        PC          PC          PC         PC         PC
IV.C.2.b.       NC        NC         NC         PC        PC          PC          PC         PC         PC
IV.C.3. Release and Transfer/Robert Greifinger
IV.C.3.a.       NC        NC         NC         PC        PC          PC          PC         PC         PC
IV.C.3.b.       NC        NC         NC         PC        PC          PC          PC         PC         PC
IV.C.3.c.       NC        NC         NC         PC        PC          PC          PC         PC         PC
IV.C.3.d.       NC        NC         NC         PC        PC          PC          PC         PC         PC
IV.D. Sanitation and Environmental Conditions/Shane Poole
IV.D. 1.a.      NC        NC         NC         NC        NC          NC          NC         NC         NC
IV. D. 1.b.     NC        NC         PC         PC        PC          PC          PC         PC         PC
IV. D. 1.c.     NC        NC         PC         PC        NC          NC          PC         SC         PC
IV. D. 1.d.     NC        NC         NC         NC        SC          SC          SC         SC         SC
IV. D. 1.e.     NC        PC         PC         PC        PC          PC          PC         SC         PC
IV. D. 1.f.     NC        NC         NC         NC        PC          PC          PC         PC         PC
IV. D. 1.g.     NC        NC         NC         NC        PC          PC          PC         PC         PC
IV. D. 1.h.     NC        NC         NC         PC        NC          PC          NC         NC         NC




                                               August 29, 2018
           Case
            Report2:12-cv-00859-LMA
                   # 1 Report # 2 Report # Document
                                           3 Report # 4 1188
                                                         Report #Filed 08/29/18
                                                                  5 Report        Page
                                                                           # 6 Report # 7 168 of #174
                                                                                           Report  8 Report # 9
 Section
              2/13/14    8/26/14    2/25/15    9/9/15     3/17/16   10/25/16     5/1/17    1/12/18    8/25/18
IV. D. 2. Environmental Control/Shane Poole
IV. D. 2.a.     NC         NC         PC       PC        PC         SC         SC            SC         PC
IV. D. 2.b.     NC         NC         NC       NC        NC         SC         PC            SC         SC
IV. D. 3. Food Service/Diane Skipworth
IV. D. 3.a.     NC         NC         NC       PC        PC         PC         NC            PC         PC
IV. D. 3.b.     NC         NC         NC       PC        PC         PC         NC            NC         NC
IV. D. 3.c.     NC         NC         NC       PC        NC         NC         PC            PC         PC
IV. D. 4. Sanitation and Environmental Conditions Reporting/Shane Poole
IV. D. 4.a.
                NC         NC         PC       PC        PC         PC         PC            PC         NC
1-7
IV. D. 4.b.     NC         NC         NC       NC        PC         NC         NC            PC         PC
IV.E. Fire and Life Safety/Shane Poole
IV. E. 1. Fire and Life Safety
IV. E. 1.a.     NC         PC         PC       PC        PC         PC         PC            SC         PC
IV. E. 1.b.     NC         NC         NC       PC        PC         PC         PC            PC         PC
IV. E. 1.c.     PC         PC         PC       PC        NC         PC         PC            SC         PC
IV. E. 1.d.     NC         NC         NC       NC        NC         NC         PC            SC         PC
IV. E. 1.e.     ND         NC         PC       PC        PC         PC         PC            PC         SC
IV. E. 2. Fire and Life Safety Reporting
IV. E.
                ND         NC         PC       PC        PC         PC         PC            PC         PC
2.a.1-3
IV. E. 2.b.     ND         NC         NC       PC        NC         NC         NC            PC         PC
IV.F. Language Assistance
IV.F.1. Timely and Meaningful Access to Services/Susan McCampbell
IV.F.1.a.       ND         PC         PC       PC        PC         PC         PC            PC         PC
IV.F.2. Language Assistance Policies and Procedures/Susan McCampbell
IV.F.2.a.       ND         PC         PC       PC     Not App Not App        Not App       Not App    Not App
IV.F.2.b.       ND         PC         PC       PC     Not App Not App        Not App       Not App    Not App
IV.F.3. Language Assistance Training/Susan McCampbell
IV.F.3.a.       NC         PC         PC       PC        PC         PC         PC            PC         PC
IV.F.4. Bilingual Staff/Susan McCampbell
IV.F.4.         NC         PC         PC       PC        PC         NC         NC            NC         NC
IV.G. Youthful Prisoners/Susan McCampbell
IV.G.           NC         NC         NC       PC        PC         PC         NC            NC         PC
VI. The New Jail Facility/Susan McCampbell
VI. A.          ND         PC         PC       SC        SC         SC         SC            SC         SC
VI. B.          NC         PC         SC       SC        SC         SC         SC            SC         SC
VI. C.          ND         PC         SC       SC        PC         PC         PC            PC         SC
VI. D.                                    Monitors Not Qualified to Evaluate
VII. Compliance and Quality Improvement/Susan McCampbell
VII. A.         ND         NC         NC       PC        PC         PC         PC            PC         PC
VI. B. (H.)     NC         NC         NC       NC        NC         NC         PC            PC         PC
VI. C. (I.)     NC         NC         SC       SC        NC         SC         SC            NC         PC
VI. D. (J.)     ND         NC         NC       PC        PC         PC         PC            NC         NC
VIII. Reporting Requirements and Right of Access/Susan McCampbell
VIII.A.         ND         PC         NC       PC        PC         PC         PC            NC         NC
VIII.B.         PC         PC         PC       PC        SC         SC         SC            SC         SC
VIII.C.         PC         PC         PC       SC        SC         SC         NC            NC         PC




                                               August 29, 2018
           Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 169 of 174
               Substantial
 Section                     Partial Compliance    NC                             Notes: 8/25/18
               Compliance

Stipulated Agreement 2/11/5
    1.a.           x
    1.b.                             x                     See	also	CJ	VII.	D.,	VIII.A.
    1.c.                             x                     See	also	CJ	VIII.B.		
    2.a.           x                                       See	also	CJ	VII.	A.
    2.b.           x                                       See	also	CJ	VII.	A.
      3            x                                       See	also	CJ	VII.	A.
    4.a.           x                                       See	also	CJ	IV.A.3.
    4.b.           x                                       See	also	CJ	IV.A.3.
    4.c.           x                                       See	also	CJ	IV.A.3.
    5.a.           x                                       See	also	CJ	IV.A.4.b.
    5.b.           x                                       See	also	CJ	IV..4.c.
    6.a.           x                                       See	also	CJ	IV.G.
    6.b.                             x                     See	also	CJ	IV.B.4.a.,7.a.
    7.a.                                            x      See	also	CJ	IV.A.6.
    7.b.                                            x      See	also	CJ	IV.A.6.
    7.c.           x                                       See	also	CJ	IV.A.6.
    7.d.           x
      8            x                                       See	also	CJ	IV.A.7.
    9.a.           x                                       See	also	CJ	IV.A.8.a.
    9.b.           x
     10            x                                       See	also	CJ	IV.A.11.
     11            x                                       See	also	CJ	IV.A.12
     12            x                                       See	also	CJ	IV.A.13
     13                              x                     See	also	CJ	IV.B.,	C.
   14.a.           x
   14.b.                             x                     See	also	CJ	IV.B.2.
     15           NA                                       2/19/16,		Not	applicable	See	also	CJ	VI.
     16                              x                     See	also	CJ	IV.D.f.
   17.a.           x                                       See	also	CJ	IV.G.
   17.b.           x
   17.c.           x                                       See	also	CJ	IV.G.
Stipulated Agreement 4/22/16
      1            x                                       See	also	CJ	IV.B.5.
      2                              x                     See	also	CJ	IV.B.5.
      3                              x                     See	also	CJ	IV.B.5.
Legend:
ND - Not scheduled for review
NC - Non-compliance
PC - Partial Compliance
C - Substantial Compliance
NA - Not Applicable




                                         August 29, 2018
     Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 170 of 174



                Appendix	B	–	Compliance	Report	#	9	-	New	Recommendations	
                                                	
Protection	from	Harm	
	
1.     OJC	and	FIT	work	together	to	assess	the	use	of	force	data	to	determine	what	changes	
       need	to	be	made	to	the	use	of	force	policies	to	eliminate	unnecessary	or	excessive	
       force	and	reduce	the	need	for	use	of	force	in	general.	
2.     Analyze	the	results	of	the	use	of	force	policy	testing	to	determine	changes	that	need	
       to	be	made	to	the	use	of	force	training.	
3.     Assign	a	deputy	to	the	Classification	Unit	or	modify	policy	to	allow	the	classification	
       specialists	to	conduct	the	housing	audits,	interviews,	etc.	
4.     Restart	the	audit	process	as	soon	as	possible	to	verify	the	actual	housing	location	of	
       the	inmate	to	ensure	matches	housing	assignments	generated	by	classification.	
5.     Distribute	the	Classification	and	PREA	Handbooks	to	each	classification	specialists	
       and	place	copy(s)	in	the	classification	interview	area	to	ensure	quick	and	easy	
       access	to	all.	
6.     Implement	ongoing	audit/quality	assurance	protocol	to	ensure	consistent	
       compliance	with	OPSO	classification	policies	and	classification	and	housing	
       procedures	as	defined	in	the	OPSO	Classification	and	PREA	handbooks	and	to	
       ensure	that	race	is	not	used	as	a	housing	criterion.		
7.     Use	the	efficiencies	of	the	automated	workflow	processes	within	the	JMS	to	
       eliminate	duplication	of	effort,	numerous	emails,	and	miscommunication	across	
       divisions/unit	of	the	OPSO.	
8.     Provide	additional	training	as	to	how	to	read	a	NCIC	report	and	to	input	these	data	
       within	the	JMS.	
9.     Require	review	the	criminal	history	rap	sheets	as	part	of	the	custody	review	process	
       to	ensure	data	are	complete	and	up-to-date.	
10.    Develop	written	procedures	and	training	materials	for	the	housing	audit	process;	
       train	those	assigned.	
11.    Re-start	the	housing	audit	process	with	audits	by	Unit	Managers	and	Classification	
       Unit.	
12.    Expand	the	internal	audits	of	the	custody	and	housing	assessments	to	include	a	
       random	sample	of	1-2%	of	the	assessments	completed.	
13.    Address	the	recommendations	by	Lovins	and	Latessa.	
14.    Careful	review	and	analyses	of	the	statistical	reports	to	identify	adjustments	to	the	
       classification	and	housing	processes	are	responsive	to	the	current	OSPO	system	
       needs	and	trends.		
15.    Investigations	-	assure	that	investigations	proceed	and	are	concluded	in	a	timely	
       manner,	revise	standard	operating	procedures	to	conform	investigative	findings	
       with	those	required	by	PREA	standards	and	Bureau	of	Justice	Statistics’	Survey	
       Sexual	Victimization,	and	train	newly	assigned	investigators;	
16.    Review	reporting	to	the	Monitors	regarding	relevant	incidents	to	address	the	
       differences	in	data	(e.g.	18	reports	to	the	Monitors	and	50	investigations	opened);		
17.    Evaluate	staffing	of	the	PREA	initiative	in	OPSO;		
18.    Implement	systems	to	immediately	train	newly	hired	employees,	volunteers,	and	
       contractors;		

            																																		Compliance	Report	#	9	–	August	29,	2018	     167
      Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 171 of 174



19.    Assure	the	data	collected	regarding	incidents	is	analyzed	to	inform	plans	of	action	
       and	other	needed	corrective	measures;	and			
20.    Conduct	reliability	testing	of	the	PREA	hotline	–	to	assess	its	availability	to	and	use	
       by	inmates,	timely	reporting	of	the	information	by	the	vendor	to	OPSO,	compliance	
       with	PREA	standards	(115.51(b)),	and	initiation	of	prompt	investigative	review	of	
       these	calls.	
	
Mental	Health	Care	
	
21.   CCS	must	provide,	track	and	assess	services	to	inmates	on	the	mental	 health	
      caseload	who	have	been	identified	as	victims	of	assault	or	other	crimes	(including	
      sexual	assault)	while	at	OJC	or	Hunt.	
22.   Determine	and	complete	the	number	of	necessary	suicide	resistant	cells.	Inspect	
      housing	areas	to	assure	the	physical	plant	poses	minimal	risk	for	inmates	to	harm	
      themselves.	Increase	the	ratio	of	CNA's	conducting	suicide	watches	to	1:2	and	direct	
      observation	to	1:1.	
23.   Pursuant	to	policies,	continue	at	least	monthly	meetings	of	the	Mental	 Health	
      Review	Committee	to	document	appropriately	any	identified	concerns,	 problems	
      and	opportunities	to	improve	care,	and	to	analyze	performance	 measures	of	mental	
      health	services	and	follow-up	on	implementation	and	 results	of	corrective	actions,	
      including	morbidity	 reviews	inmates	who	have	made	serious	and/or	repeated	
      suicide	attempts.	
24.   OJC	and	CCS	(including	psychiatrists)	implement	performance	 indicators	for	
      medication	management	practices	with	appropriate	data	collection	and	analysis	
      including	inmates	housed	in	OJC,	Hunt,	and	other	correctional	facilities.	
25.   CCS	and	OPSO	must	continue	to	identify	the	levels	of	need	for	mental	 health	and	
      special	population	inmates,	and	develop	performance	 indicators	for	each	group.	
26.   CCS	revise	and	enhance	training	and	supervision	of	CNAs	with	regard	to	direct	
      observation	and	suicide	watch	at	OJC.	 Train	staff	to	 appropriately	interact	and	
      document	observations	of	the	inmate(s).	
27.   CCS	provide	training	to	mental	health	staff	and	corrections	staff	with	 regard	to	direct	
      observation	and	transport/movement	of	inmates	who	have	 been	referred	or	
      presented	with	concerns	for	suicide	or	self-harm,	 and	 document	as	well	as	analyze	
      the	direct	observation/supervision	of	those	inmates	by	corrections	staff	until	they	
      are	seen	and	evaluated	by	mental	 health	staff.	Provide	documentation	that	deputies	
      are	trained,	and	inmates	are	adequately	searched	when	placed	on	suicide	
      precautions.	
28.   OPSO	and	CCS	implement	performance-based	training	to	provide	a	baseline;	
      consider	purchasing	training	packages	to	achieve	these	goals.	
29.   Immediately	develop	a	process	for	which	inmates	on	suicide	precautions	receive	the	
      required	continual	observation	even	when	OPSO	deputies	must	leave	the	unit.		For	
      example,	require	a	supervisor	to	relieve	a	deputy	in	a	housing	unit	rather	than	
      remove	the	medical	staff	who	are	charged	with	helping	assure	the	safety	of	
      vulnerable	inmates.	



            																																		Compliance	Report	#	9	–	August	29,	2018	       168
      Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 172 of 174



30.    OPSO and CCS conduct all suicide precautions and direct observations in suicide
       resistant cells. Limit use of crisis cells to 72 hours, unless active and progressive
       treatment out of cell is conducted to allow a maximum length of stay of 10 days with
       transfer to Hunt or step down/residential as indicated.	
31.    As	part	of	the	Morbidity	and	Mortality	Review	process,	conduct	self-critical	analysis	
       of	all	completed	suicides	and	serious	and/or	repeat	suicide	attempts.	
32.    Implement	recommendations	of	the	CCS	(CSSR)	audit	from	December	 2017.		
33.    Assure	and	document	CCS	participation	in	planned	uses	of	force	at	OJC	and	Hunt	to	
       de-escalate	the	inmate	and	the	situation	prior	to	the	use	of	force,	except	in	an	
       emergency,	as	well	as	medical	clearance.			
34.    Review	OJC	policies	and	reporting	of	two	planned	uses	of	force	from	Jan.			thru	May	
       2018.	
35.    Resolve	differences/conflicts	in	OPSO,	Hunt	and	CCS	Restraint	Policies	to	limit	
       overuse	and	underuse	of	therapeutic	physical	restraints	and	chemical	 restraints,	
       and	escort	of	inmates	on	suicide	precautions.	
36.    OPSO,	in	conjunction	with	CCS,	develop	and	implement	training	for	corrections	staff	
       on	recognition	of	urgent	medical	conditions.	
37.    OPSO	and	CCS	improve	communication	regarding	the	need	for	 rapid	transfer	out	of	
       IPC	to	appropriate	housing	(monitoring,	 bottom	bunk,	etc.)	for	patients	at	risk.	
38.    CCS	should	revise	the	detox	protocols	to	include	practitioner	visits,	especially	for	
       those	at	high	risk.		CCS	should	oversee	implementation	of	the	detox	protocol	to	
       assure	staff	adherence.	
39.    CCS	continue	training	and	supervision	of	all	clinical	staff,	including	cross	 training	for	
       all	nursing	and	administrative	functions.	
40.    CCS	develop	and	implement	an	organized	process	for	evaluation	and	feedback	
       regarding	care	provided	by	mid-level	practitioners	and	staff	physicians.	
41.    CCS,	OPSO	and	Hunt	revisit	the	quality	management	program	and	composition	of	
       committees	to	assure	reliable	data	abstraction,	quantitative	and	qualitative	data	
       analysis,	with	trending,	and	 implementation	of	specific	corrective	action	plans	to	
       remedy	identified	opportunities	for	improvement.	 This	program	should	integrate	
       clinical	performance	measurement,	morbidity	and	mortality	review,	grievance	
       analysis	and	other	elements	of	a	comprehensive	quality	management	program	
       including	a	program	plan	and	annual	evaluation.	
42.    The	need	for	quality	review	of	suicide	attempts	cannot	be	overemphasized.	Inmates	
       in	need	of	treatment	must	be	identified	and	services	provided,	while	those	who	may	
       engage	in	threatening	and/or	self-	destructive	behaviors	require	appropriate	
       management	and	possibly	treatment	to	reduce	the	likelihood	of	harm	to	themselves	
       and	others.	CCS	and	OPSO	should	review	and	assess	these	incidents	and	determine	
       strategies	and	corrective	actions.		
	
Medical	Care	
	
43.   CCS	attend	to	the	matter	of	lost	institutional	memory	with	staff	turnover	by	keeping	
      of	meaningful	and	complete	minutes	of	meetings	and	recording	relevant	procedural	
      information.	


            																																		Compliance	Report	#	9	–	August	29,	2018	        169
     Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 173 of 174



	
Sanitation	and	Environmental	Conditions	
	
44.    OPSO	develop	and	implement	a	process	for	selection	and	training	of	inmate	
       workers.	
45.    OPSO	immediately	consider	options	to	relocate	the	clothes	dryers	located	in	inmate	
       housing	units,	including	removal	to	prevent	vandalism,	fire	risk,	and	fires.	
46.    OPSO	revise	policy	601.02	to	allow	any	staff	member	observing	a	maintenance	issue	
       to	enter	the	work	order	directly	into	the	reporting	system.		
47.    OPSO	develop	specific	training	for	all	line	staff	on	utilizing	the	work	order	system	
       and	provide	evidence	of	deputy	training	regarding	the	entering	work	orders.		
48.    The	Wardens	consult	with	the	Maintenance	Director	to	determine	if	lighting	
       capability	can	be	adjusted	to	ensure	some	level	of	lighting	in	individual	cells	(e.g.	
       “night	light”)	at	all	times	to	ensure	the	safety	and	security	of	the	inmates	and	staff.	
49.    Review	policy	changes/updates	to	ensure	no	conflict	arises	with	other	related	
       policies.	
50.    Devise	and	implement	a	procedure	that	ensures	bio-hazardous	cleanup	incidents	
       are	reported	to	the	Sanitarian	and	Environmental	Officer	within	one	business	day	of	
       the	incident	in	order	to	comply	with	existing	policy	requiring	a	copy	of	bio-hazard	
       incident	reports	be	provided	to	the	Sanitarian.	The	reports	may	be	provided	via	
       manual	copies,	automated	reporting	processes,	or	by	providing	the	Sanitarian	and	
       Environmental	Officer	with	the	necessary	access	and	training	to	obtain	the	reports	
       themselves	from	the	system	on	a	daily	basis.	
51.    Immediately	secure	electrical	breaker	panels	and	disconnects	accessible	to	inmates;	
       develop	a	system	for	daily	checking	of	the	security	of	the	areas.	
	
Fire	and	Life	Safety	
	
52.    Add	recurring	issues	to	the	inspection	forms;	specifically,	items	stored	too	close	to	
       the	ceilings	in	storage	areas	and	blocked	access	to	fire	extinguishers/fire	alarm	
       pulls.	
53.    Paint,	tape	or	otherwise	mark	all	storage	room	and	warehouse	walls	with	the	
       maximum	height	items	can	be	stored	in	a	given	area	to	ensure	fire	suppression	
       systems	are	not	compromised.	
54.    Require	that	inspection	form	“remarks”	indicate	the	person	responsible	for	
       corrective	action/due	date/re-inspection	date	and	result.	
55.    Document	corrective	action	plan(s)	for	any	deficiencies	that	are	reviewed/signed	by	
       supervisory	personnel	in	the	quarterly/monthly	reports.		
56.    Devise	a	bracket	or	brace	system	that	can	be	installed	on	the	dryers	and	washers	in	
       the	housing	units	effectively	anchoring	the	appliances	to	the	floor	at	the	optimal	
       distance	from	the	wall	to	allow	the	vent	lines	to	work	but	not	allow	easy	access	to	
       back	of	the	machines	by	inmates;	or	identify	other	options.	
57.    Conduct	timely	critical	reviews/root	cause	analysis	of	fire	and	fire-related	events	
       and	responses.		Develop	specific	corrective	action	plans	to	address	identified	
       deficiencies.	


            																																		Compliance	Report	#	9	–	August	29,	2018	     170
      Case 2:12-cv-00859-LMA Document 1188 Filed 08/29/18 Page 174 of 174



58.    Identify	specific	corrective	actions	based	on	the	May	and	subsequent	fire	incidents	
       in	the	OJC,	identifying	supervisors,	training,	response,	and	equipment	issues.	
59.    Hire	two	full	time	equivalents	to	perform	the	role	of	Fire	Safety	Officer.		Off	duty	
       NOFD	firefighters	could	be	hired	part	time.	




            																																		Compliance	Report	#	9	–	August	29,	2018	    171
